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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


       In re: NEC Holdings Corp.                                      §    Case No. 10-11890
              n/k/a P&S Liquidating Company1,Corp                     §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Alfred T. Giuliano, Trustee (DE), chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,046,622.03                        Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$49,714.23            Claims Discharged
                                                       Without Payment: N/A

 Total Expenses of Administration:$8,325.27


         3) Total gross receipts of $     58,039.50      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $58,039.50
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                     $150,245,170.00    $152,191,513.61             $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00          13,681.27          8,325.27           8,325.27

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00      38,263,268.17               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00         628,073.62          39,956.09         39,956.09
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                          0.00      56,325,666.79      50,426,607.97          9,758.14

                                      $150,245,170.00    $247,422,203.46     $50,474,889.33        $58,039.50
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 11 on June 10, 2010
  and it was converted to Chapter 7 on December 13, 2011.The case was pending for 134 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 01/27/2023                 By: /s/Alfred T. Giuliano, Trustee (DE)
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                $ AMOUNT
               DESCRIPTION
                                                                                         TRAN. CODE 1                            RECEIVED
     Tax Refunds                                                                        1224-000                                   44,152.20

     Litigation/Settlements - McKesson Case                                             1249-000                                    5,835.47

     Permanent Seat License (PSL RS)                                                    1229-000                                    5,500.00

     Settlement(s)                                                                      1229-000                                    2,551.83


    TOTAL GROSS RECEIPTS                                                                                                          $58,039.50

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                 PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                              $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS          CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED           PAID
                                                       CODE                6D)
           1      City of Frisco                       4800-000            N/A                                            0.00                 0.00

           3      City of Ennis                        4800-000            N/A                                            0.00                 0.00

           4      Ennis Independent School             4800-000            N/A                                            0.00                 0.00
                  District
          22      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation
          23      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation
          24      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation
          25      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation
          26      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation
          27      General Electric Capital             4210-000            N/A                                            0.00                 0.00
                  Corporation



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     28    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     29    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     30    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     31    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     32    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     33    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     34    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     35    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     36    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     37    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     38    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     39    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     40    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     41    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     42    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     43    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     44    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     45    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     46    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     47    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     48    General Electric Capital    4210-000       N/A                                       0.00   0.00
           Corporation
     49    General Electric Capital    4210-000     150,245,170.00   150,809,197.52             0.00   0.00
           Corporation
     52    Ellis County                4220-000       N/A                                       0.00   0.00

     65S   Indiana Department of       4800-000       N/A                                       0.00   0.00
           Revenue
     66S   Indiana Department of       4800-000       N/A                                       0.00   0.00
           Revenue
     67S   Indiana Department of       4800-000       N/A                                       0.00   0.00
           Revenue
     87    Adams County Treasurer      4800-000       N/A                                       0.00   0.00

    127    Harris County, et al.       4220-000       N/A                                       0.00   0.00

    170S   M & T Bank                  4220-000       N/A                   458.22              0.00   0.00

    235    A-1 Pallet Co. of           4220-000       N/A                                       0.00   0.00
           Clarksville, Inc.
    242S   Hampton Office Products     4220-000       N/A                                       0.00   0.00

    287S   Metal Magic                 4220-000       N/A                                       0.00   0.00

    298S   Green Seal, Inc.            4220-000       N/A                                       0.00   0.00

    314S   Noreast Capital Corporation 4220-000       N/A                                       0.00   0.00




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    325    Brenner Industrial Sales &   4220-000       N/A                                   0.00   0.00
           Supply
    351S   Township of Union            4220-000       N/A                                   0.00   0.00

    411S   Keen Compressed Gas          4220-000       N/A                                   0.00   0.00

    425    Cobb County Commissioner     4220-000       N/A                                   0.00   0.00

    530S   Caliz Pallets Inc.           4220-000       N/A                                   0.00   0.00

    554S   Linda Pelletier, Ph.D., CI & 4220-000       N/A                                   0.00   0.00
           CT, NAD5
    567    US Bancorp Business Equip. 4220-000         N/A             63,846.78             0.00   0.00
           Finance Group
    611S   John Bouchard & Sons Co.     4220-000       N/A              6,771.27             0.00   0.00

    615S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    616S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    617S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    618S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    619S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    620S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    621S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    622S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    623S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    624S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    625S   Paper Converting Machine     4220-000       N/A                                   0.00   0.00
           Company
    658S   Premier Converting, Inc.     4220-000       N/A                                   0.00   0.00

    675S   Ford Motor Credit Company,   4210-000       N/A             10,125.00             0.00   0.00
           LLC
    682S   Strategic Market Alliance    4220-000       N/A                                   0.00   0.00

    739S   Richard W. Grear             4220-000       N/A             20,000.00             0.00   0.00

    743S   Frisco Independent School    4800-000       N/A               633.46              0.00   0.00
           District
    744    Collin County Tax            4800-000       N/A               149.84              0.00   0.00

    777    Praxair Surface              4220-000       N/A                                   0.00   0.00
           Technologies, Inc.
    864S   Gunther H. Hadamovsky        4220-000       N/A                                   0.00   0.00

    935S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    936S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    937S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    938S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    939S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    942S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00

    943S   INX International Ink Co.    4220-000       N/A                                   0.00   0.00




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    1033S   Envelope Mart USA            4220-000       N/A                                   0.00   0.00

    1034    Olmstead-Kirk Paper Company 4220-000        N/A                                   0.00   0.00

    1038S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1039S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1040S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1041S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1042S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1043S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1044S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1045S   National Union Fire Ins Co   4220-000       N/A                                   0.00   0.00
            of Pittsburgh, PA
    1256    Ford Motor Credit Company,   4210-000       N/A             10,125.00             0.00   0.00
            LLC
    1315    Wells Fargo Financial        4220-000       N/A                                   0.00   0.00
            Capital Finance
    1353S   Iron Mountain Information    4220-000       N/A                                   0.00   0.00
            Management, Inc.
    1374    Ris Paper Company, Inc.      4220-000       N/A                                   0.00   0.00

    1398S   ESIS, Inc.                   4220-000       N/A                                   0.00   0.00

    1400    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1401    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1402    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1403    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1404    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1405    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1406    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1407    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1408    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1409    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1410    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1411    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1412    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1413    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1414    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1415    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1416    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1417    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company
    1418    Ace American Insurance       4220-000       N/A                                   0.00   0.00
            Company



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    1419    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1420    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1421    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1422    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1423    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1424    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1425    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1426    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1427    Ace American Insurance       4220-000         N/A                                           0.00        0.00
            Company
    1482S   Frisco Independent School    4800-000         N/A                    6,280.92               0.00        0.00
            District
    1485S   International Business       4210-000         N/A                                           0.00        0.00
            Systems, Inc.
    1488    City of Ennis                4800-000         N/A                                           0.00        0.00

    1489    Ennis Independent School     4800-000         N/A                                           0.00        0.00
            District
    1495S   Frank Parsons, Inc.          4220-000         N/A                   30,239.08               0.00        0.00

    1614    Wells Farbo Bank, N.A.       4220-000         N/A                                           0.00        0.00

    1634S   Colorado Department of       4800-000         N/A                        592.90             0.00        0.00
            Revenue
    1635S   ESIS, Inc.                   4220-000         N/A                                           0.00        0.00

    1645S   US Bancorp Business Equip.   4220-000         N/A                   34,428.99               0.00        0.00
            Finance Group
    1686    Ennis Independent School     4800-000         N/A                  659,206.93               0.00        0.00
            District
    1687    City of Ennis                4800-000         N/A                  151,443.28               0.00        0.00

    1717S   Anita Martinez               4220-000         N/A                                           0.00        0.00

    1718S   Crittenden Regional Hospital 4220-000         N/A                    2,072.00               0.00        0.00

    1771    Metropolitan Government      4800-000         N/A                        456.53             0.00        0.00

    1772    Metropolitan Government      4800-000         N/A                  145,056.97               0.00        0.00

    1777    New York City Department of 4800-000          N/A                  240,428.92               0.00        0.00
            Finance
    1778    Colorado Department of      4220-000          unknown              N/A                    N/A           0.00
            Revenue

 TOTAL SECURED CLAIMS                                 $150,245,170.00     $152,191,513.61              $0.00       $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                             CLAIMS                CLAIMS                CLAIMS       CLAIMS
                                          TRAN.
                                                     SCHEDULED             ASSERTED              ALLOWED        PAID
                                          CODE
 Other - Catafago Law Firm, P.C.             3210-000           N/A                    0.00             0.00        0.00

 Other - The Justis Law Firm LLC             3210-000           N/A                    0.00             0.00        0.00




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 Other - Milberg LLP                        3210-000   N/A                0.00              0.00       0.00

 Other - Milberg LLP                        3220-000   N/A                0.00              0.00       0.00

 Other - The Whitman Companies Inc.         3731-000   N/A             4,616.00             0.00       0.00

 Other - The Whitman Companies Inc.         3732-000   N/A               90.00              0.00       0.00

 Other - Archer & Greiner, PC               3210-000   N/A                0.00              0.00       0.00

 Other - Archer & Greiner, PC               3220-000   N/A                0.00              0.00       0.00

 Other - John Henrich                       3731-000   N/A                0.00              0.00       0.00

 Other - Mark Podgainy                      3731-000   N/A                0.00              0.00       0.00

 Other - Transfer Marketplace               3991-000   N/A              275.00            275.00     275.00

 Other - Ace Payroll Services Inc.          2990-000   N/A                0.00              0.00       0.00

 Trustee Compensation - A. T. Giuliano,     2100-000   N/A             6,151.98          6,151.98   6,151.98
 P.C.
 Trustee Expenses - A. T. Giuliano, P.C.    2200-000   N/A               32.38             32.38      32.38

 Other - Getzler Henrich & Associates LLC   3731-000   N/A                0.00              0.00       0.00

 Other - Getzler Henrich & Associates LLC   3732-000   N/A                0.00              0.00       0.00

 Accountant for Trustee Fees (Trustee Firm) 3310-000   N/A                0.00              0.00       0.00
 - Giuliano Miller & Co LLC
 Accountant for Trustee Expenses (Trustee   3320-000   N/A                0.00              0.00       0.00
 Firm) - Giuliano Miller & Co LLC
 Other - Internal Revenue Service/ Ravis    2990-000   N/A                0.01              0.01       0.01
 Team
 Other - New York State Corporation Tax     2820-000   N/A                0.00              0.00       0.00

 U.S. Trustee Quarterly Fees - U. S.        2950-000   N/A              650.00              0.00       0.00
 Trustee Payment Center
 Other - International Sureties LTD         2300-000   N/A               20.21             20.21      20.21

 Other - HILL ARCHIVE                       2410-000   N/A                0.00              0.00       0.00

 Other - HILL ARCHIVE                       2420-000   N/A                0.00              0.00       0.00

 Other - Dale Nissenbaum Esquire            3991-000   N/A                0.00              0.00       0.00

 Other - Rabobank, N.A.                     2600-000   N/A                0.01              0.01       0.01

 Other - Rabobank, N.A.                     2600-000   N/A              933.10            933.10     933.10

 Other - Rabobank, N.A.                     2600-000   N/A               93.86             93.86      93.86

 Other - Rabobank, N.A.                     2600-000   N/A               87.66             87.66      87.66

 Other - Rabobank, N.A.                     2600-000   N/A               96.49             96.49      96.49

 Other - Rabobank, N.A.                     2600-000   N/A               90.23             90.23      90.23

 Other - Rabobank, N.A.                     2600-000   N/A               87.01             87.01      87.01

 Other - Rabobank, N.A.                     2600-000   N/A               98.80             98.80      98.80

 Other - Mechanics Bank                     2600-000   N/A               86.82             86.82      86.82

 Other - Mechanics Bank                     2600-000   N/A               83.59             83.59      83.59

 Other - Mechanics Bank                     2600-000   N/A               98.39             98.39      98.39




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 Other - TriState Capital Bank          2600-000         N/A                89.73              89.73       89.73

 TOTAL CHAPTER 7 ADMIN. FEES                       N/A                 $13,681.27          $8,325.27    $8,325.27
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                    UNIFORM
       PAYEE                                     CLAIMS              CLAIMS              CLAIMS        CLAIMS
                                     TRAN.
                                                SCHEDULED           ASSERTED            ALLOWED         PAID
                                     CODE
 Gibbons P.C.                       6700-000       N/A                 183,947.75               0.00         0.00

 Gibbons P.C.                       6710-000       N/A                   1,487.53               0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 The Elm Group, Inc.                6700-000       N/A                  10,362.50               0.00         0.00

 Fulbright & Jaworski, LLP          6700-000       N/A                 359,242.88               0.00         0.00

 Fulbright & Jaworski, LLP          6710-000       N/A                   9,807.35               0.00         0.00

 Latham & Watkins LLP               6210-000       N/A                5,342,447.55              0.00         0.00

 Latham & Watkins LLP               6220-000       N/A                 164,526.17               0.00         0.00

 Seyfarth Shaw LLP                  6101-000       N/A                  50,201.50               0.00         0.00

 Seyfarth Shaw LLP                  6102-000       N/A                     582.20               0.00         0.00

 William Blair & Company, LLC       6710-000       N/A                  46,321.97               0.00         0.00

 William Blair & Company, LLC       6700-000       N/A                3,950,000.00              0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 MSC Industrial Supply Company      6990-000       N/A                       0.00               0.00         0.00

 CDW                                6990-000       N/A                       0.00               0.00         0.00

 Rock-Tenn Company                  6990-000       N/A                       0.00               0.00         0.00

 Rock-Tenn Company                  6990-000       N/A                       0.00               0.00         0.00

 Rock-Tenn Company                  6990-000       N/A                       0.00               0.00         0.00

 Packaging Credit Company, LLC      6990-000       N/A                       0.00               0.00         0.00

 Premier Packaging Corporation      6990-000       N/A                       0.00               0.00         0.00

 Garden City Group, Inc.            6700-000       N/A                  49,719.24               0.00         0.00

 Garden City Group, Inc.            6710-000       N/A                  10,178.91               0.00         0.00

 Getzler Henrich & Associates LLC   6700-000       N/A                1,868,655.50              0.00         0.00

 Getzler Henrich & Associates LLC   6710-000       N/A                 101,004.61               0.00         0.00




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 Morgan Joseph TriArtisan, LLC           6710-000        N/A             17,069.29         0.00   0.00

 Morgan Joseph TriArtisan, LLC           6700-000        N/A            450,000.00         0.00   0.00

 New York City Department of Finance     6820-000        N/A                  0.00         0.00   0.00

 RSM McGladrey, Inc.                     6700-000        N/A            502,934.80         0.00   0.00

 RSM McGladrey, Inc.                     6710-000        N/A              6,778.00         0.00   0.00

 American Paper & Twine                  6990-000        N/A                  0.00         0.00   0.00

 The Flesh Company                       6990-000        N/A                  0.00         0.00   0.00

 Bennett Packaging                       6990-000        N/A             10,988.92         0.00   0.00

 IBM Credit, LLC                         6990-000        N/A                  0.00         0.00   0.00

 Piedmont Natural Gas Company            6990-000        N/A               855.20          0.00   0.00

 Dell Marketing, L.P.                    6990-000        N/A                  0.00         0.00   0.00

 Dell Marketing, L.P.                    6990-000        N/A             12,689.45         0.00   0.00

 Illinois Dept. of Employment Security   6950-000        N/A                  0.00         0.00   0.00

 Unicast, Inc.                           6990-000        N/A             29,538.14         0.00   0.00

 Univar USA, Inc.                        6990-000        N/A               475.00          0.00   0.00

 Dell Marketing, L.P.                    6990-000        N/A                  0.00         0.00   0.00

 Dell Marketing, L.P.                    6990-000        N/A             12,689.45         0.00   0.00

 Sierra Liquidity Fund, LLC              6990-000        N/A                  0.00         0.00   0.00

 Envelopes Unlimited, Inc.               6990-000        N/A              1,179.71         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Henkel Corporation                      6990-000        N/A                  0.00         0.00   0.00

 Rand-Whitney Container, LLC             6990-000        N/A                  0.00         0.00   0.00

 The Conwell Company, LLC                6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC              6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC              6990-000        N/A                  0.00         0.00   0.00

 All-Pack-Co. Inc.                       6990-000        N/A                  0.00         0.00   0.00




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 Hampton Office Products                 6990-000        N/A                  0.00         0.00   0.00

 Rodgers A-1 Signs                       6990-000        N/A                  0.00         0.00   0.00

 Angstrom Technologies                   6990-000        N/A               281.08          0.00   0.00

 Hyspeco-Sturgis Equipment               6990-000        N/A                  0.00         0.00   0.00

 David R. Northup Electric               6990-000        N/A                  0.00         0.00   0.00

 Nieman Printing, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 FC Meyer Packaging, LLC                 6990-000        N/A             60,444.56         0.00   0.00

 Calkins Electric Supply Co., Inc.       6990-000        N/A                  0.00         0.00   0.00

 Freeman Woods Products, Inc.            6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Janiserve                               6990-000        N/A                  0.00         0.00   0.00

 Boncraft                                6990-000        N/A                  0.00         0.00   0.00

 Pioneer Credit Opportunities Fund, LP   6990-000        N/A                  0.00         0.00   0.00

 Pioneer Credit Opportunities Fund, LP   6990-000        N/A                  0.00         0.00   0.00

 Freedom Graphic Systems, Inc.           6990-000        N/A                  0.00         0.00   0.00

 Taylor Impressions Parts & Service,     6990-000        N/A                  0.00         0.00   0.00
 LLC
 Air Filtration Service                  6990-000        N/A                  0.00         0.00   0.00

 Liquidity Solutions, Inc.               6990-000        N/A                  0.00         0.00   0.00

 New England Pallets & Skids, Inc.       6990-000        N/A                  0.00         0.00   0.00

 American Solutions for Business         6990-000        N/A                  0.00         0.00   0.00

 Louisiana Department of Revenue         6990-000        N/A                  0.00         0.00   0.00

 Athens Paper Company                    6990-000        N/A                  0.00         0.00   0.00

 Scantek Infrared Services               6990-000        N/A                  0.00         0.00   0.00

 Fair Liquidity Partners, LLC            6990-000        N/A                  0.00         0.00   0.00

 Matik, Inc.                             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.             6990-000        N/A                  0.00         0.00   0.00




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 Hain Capital Holdings, Ltd.          6990-000        N/A                  0.00         0.00   0.00

 Hain Capital Holdings, Ltd.          6990-000        N/A                  0.00         0.00   0.00

 Hampden Papers, Inc.                 6990-000        N/A                  0.00         0.00   0.00

 The Tripp Company                    6990-000        N/A                  0.00         0.00   0.00

 Nakai International Corp.            6990-000        N/A                  0.00         0.00   0.00

 WE Energies                          6990-000        N/A                  0.00         0.00   0.00

 Liquidity Solutions, Inc.            6990-000        N/A                  0.00         0.00   0.00

 Fuse Graphics                        6990-000        N/A                  0.00         0.00   0.00

 Custom Printing, Inc.                6990-000        N/A                  0.00         0.00   0.00

 Marco Chemicals, Inc.                6990-000        N/A                  0.00         0.00   0.00

 RR Donnelley - Bailey Lowery         6990-000        N/A                  0.00         0.00   0.00

 Caliz Pallets Inc.                   6990-000        N/A                  0.00         0.00   0.00

 PSI Packaging Services               6990-000        N/A                  0.00         0.00   0.00

 Cascades Fine Papers Group, Inc.     6990-000        N/A             15,156.52         0.00   0.00

 Cascades East Angus                  6990-000        N/A             18,191.37         0.00   0.00

 Sierra Liquidity Fund, LLC           6990-000        N/A                  0.00         0.00   0.00

 Smart Papers Holdings, LLC           6990-000        N/A                  0.00         0.00   0.00

 RGA/Allied Belting                   6990-000        N/A                  0.00         0.00   0.00

 Sandler Brothers                     6990-000        N/A                  0.00         0.00   0.00

 Merritt Interpreting Services        6990-000        N/A                  0.00         0.00   0.00

 Boise White Paper, LLC               6990-000        N/A             34,774.74         0.00   0.00

 Motion Industries, Inc.              6990-000        N/A                  0.00         0.00   0.00

 Motion Industries, Inc.              6990-000        N/A                  0.00         0.00   0.00

 Business Ink                         6990-000        N/A                  0.00         0.00   0.00

 Duerr Packaging Co., Inc.            6990-000        N/A                  0.00         0.00   0.00

 Bana Box                             6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC           6990-000        N/A                  0.00         0.00   0.00

 Dell Marketing, L.P.                 6990-000        N/A                  0.00         0.00   0.00

 Cascades Fine Papers Group, Inc.     6990-000        N/A             15,156.52         0.00   0.00

 Paper Converting Machine Company     6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company     6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company     6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company     6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company     6990-000        N/A                  0.00         0.00   0.00




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 Paper Converting Machine Company      6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company      6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company      6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company      6990-000        N/A                  0.00         0.00   0.00

 Paper Converting Machine Company      6990-000        N/A                  0.00         0.00   0.00

 Brilliant Studios, Inc.               6990-000        N/A                  0.00         0.00   0.00

 Tacknologies Ltd.                     6990-000        N/A                  0.00         0.00   0.00

 Tacknologies Ltd.                     6990-000        N/A                  0.00         0.00   0.00

 Tacknologies Ltd.                     6990-000        N/A                  0.00         0.00   0.00

 Tacknologies Ltd.                     6990-000        N/A                  0.00         0.00   0.00

 Tacknologies Ltd.                     6990-000        N/A                  0.00         0.00   0.00

 Peck Engraving Company                6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC            6990-000        N/A                  0.00         0.00   0.00

 Fastenal Company                      6990-000        N/A                  0.00         0.00   0.00

 Chase Coating & Laminating            6990-000        N/A                  0.00         0.00   0.00

 CE Printed Products, Inc.             6990-000        N/A                  0.00         0.00   0.00

 FUJI Film North America Corporation   6990-000        N/A                  0.00         0.00   0.00

 Flxon Incorporated                    6990-000        N/A                  0.00         0.00   0.00

 Flxon Incorporated                    6990-000        N/A                  0.00         0.00   0.00

 Flxon Incorporated                    6990-000        N/A                  0.00         0.00   0.00

 Flxon Incorporated                    6990-000        N/A                  0.00         0.00   0.00

 Euler Hermes ACI                      6990-000        N/A                  0.00         0.00   0.00

 Integrated Filing Solutions           6990-000        N/A                  0.00         0.00   0.00

 Blue Ridge Paper Products, Inc.       6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC            6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC            6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC            6990-000        N/A                  0.00         0.00   0.00

 Liquidity Solutions, Inc.             6990-000        N/A                  0.00         0.00   0.00

 All-Size Corrugated Products          6990-000        N/A                  0.00         0.00   0.00

 Liquidity Solutions, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Cra-Wal, Inc.                         6990-000        N/A                  0.00         0.00   0.00

 All-Size Box and Packaging            6990-000        N/A                  0.00         0.00   0.00

 Liquidity Solutions, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Papercone Corporation                 6990-000        N/A             78,742.74         0.00   0.00




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 Unicast, Inc.                          6990-000        N/A             29,538.14         0.00   0.00

 Boise White Paper, LLC                 6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Pallett Companies d/b/a IFCO Systems   6990-000        N/A                  0.00         0.00   0.00

 Curbell Plastics, Inc.                 6990-000        N/A                  0.00         0.00   0.00

 E. I. du Pont de Nemours and Company   6990-000        N/A                  0.00         0.00   0.00

 E. I. du Pont de Nemours and Company   6990-000        N/A                  0.00         0.00   0.00

 Black Box Network Services             6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                  6990-000        N/A                  0.00         0.00   0.00

 MRO Supply Company                     6990-000        N/A                  0.00         0.00   0.00

 Quality Roller Supply, Inc.            6990-000        N/A                  0.00         0.00   0.00

 Hybrid Integration, Inc.               6990-000        N/A                  0.00         0.00   0.00

 29-10 Hunters Point Avenue Co., LLC    6920-000        N/A                  0.00         0.00   0.00

 29-10 Hunters Point Avenue Co., LLC    6920-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC             6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC             6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC             6990-000        N/A                  0.00         0.00   0.00

 W. W. Grainger, Inc.                   6990-000        N/A              9,823.38         0.00   0.00

 333 Earl Ovington Boulevard SPE, LLC   6920-000        N/A                  0.00         0.00   0.00

 Papercone Corporation                  6990-000        N/A                  0.00         0.00   0.00

 Papercone Corporation                  6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company               6990-000        N/A                  0.00         0.00   0.00




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 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Best Cutting Die Company            6990-000        N/A                  0.00         0.00   0.00

 Highlands Ridge TIC                 6920-000        N/A                  0.00         0.00   0.00

 Highlands Ridge TIC                 6920-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 S & W Manufacturing, Inc.           6990-000        N/A                  0.00         0.00   0.00

 CTI Paper USA                       6990-000        N/A                  0.00         0.00   0.00

 CTI Paper USA                       6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc..          6990-000        N/A                  0.00         0.00   0.00

 W + D Machinery Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 Appleton Coated, LLC                6990-000        N/A              1,189.63         0.00   0.00

 Appleton Coated, LLC                6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A            531,933.46         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A            531,933.46         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00




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 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Gadge USA, Inc.                     6990-000        N/A                  0.00         0.00   0.00

 Appleton Coated, LLC                6990-000        N/A                  0.00         0.00   0.00

 PAC Worldwide Corp.                 6990-000        N/A                  0.00         0.00   0.00

 PAC Worldwide Corp.                 6990-000        N/A                  0.00         0.00   0.00

 INX International Ink Co.           6920-000        N/A                  0.00         0.00   0.00

 INX International Ink Co.           6920-000        N/A                  0.00         0.00   0.00

 INX International Ink Co.           6920-000        N/A                  0.00         0.00   0.00

 INX International Ink Co.           6920-000        N/A                  0.00         0.00   0.00

 Connemara Converting, LLC           6990-000        N/A                  0.00         0.00   0.00

 Connemara Converting, LLC           6990-000        N/A             15,730.86         0.00   0.00

 Connemara Converting, LLC           6990-000        N/A                  0.00         0.00   0.00

 Finch Paper, LLC                    6990-000        N/A                  0.00         0.00   0.00

 Finch Paper, LLC                    6990-000        N/A                  0.00         0.00   0.00

 Finch Paper, LLC                    6990-000        N/A                  0.00         0.00   0.00

 Halm Industries Co., Inc.           6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A            820,180.92         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                  6990-000        N/A                  0.00         0.00   0.00

 Pachulski Stang Ziehl & Jones LLP   6700-000        N/A            971,935.25         0.00   0.00

 Pachulski Stang Ziehl & Jones LLP   6710-000        N/A             27,244.75         0.00   0.00




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 Young Conaway Stargatt & Taylor      6210-000        N/A            752,697.50         0.00   0.00

 Young Conaway Stargatt & Taylor      6220-000        N/A             67,189.25         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Neenah Paper, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Borders Folding Carton, Inc.         6990-000        N/A                  0.00         0.00   0.00

 Borders Folding Carton, Inc.         6990-000        N/A                  0.00         0.00   0.00

 Borders Folding Carton, Inc.         6990-000        N/A                  0.00         0.00   0.00

 Borders Folding Carton, Inc.         6990-000        N/A                  0.00         0.00   0.00

 Borders Folding Carton, Inc.         6990-000        N/A                  0.00         0.00   0.00

 Northeast Wholesale Lumber, Inc.     6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                6990-000        N/A                  0.00         0.00   0.00

 Contrarian Funds, LLC                6990-000        N/A                  0.00         0.00   0.00

 Envelope Mart USA                    6990-000        N/A                  0.00         0.00   0.00

 Cascades Fine Papers Group, Inc.     6990-000        N/A                  0.00                0.00

 Cascades East Angus                  6990-000        N/A                  0.00         0.00   0.00

 Cascades East Angus                  6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC           6990-000        N/A                  0.00         0.00   0.00

 Sierra Liquidity Fund, LLC           6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.              6990-000        N/A            382,456.63         0.00   0.00

 Plastic Suppliers, Inc.              6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.              6990-000        N/A                  0.00         0.00   0.00




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 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 Plastic Suppliers, Inc.             6990-000        N/A                  0.00         0.00   0.00

 American Eagle Paper Mills          6990-000        N/A                  0.00         0.00   0.00

 Westfield Gas & Electric Light      6990-000        N/A                  0.00         0.00   0.00

 Marathon Cutting Die Co             6990-000        N/A                  0.00         0.00   0.00

 Marathon Cutting Die Co             6990-000        N/A                  0.00         0.00   0.00

 Marathon Cutting Die Co             6990-000        N/A                  0.00         0.00   0.00

 Marathon Cutting Die Co             6990-000        N/A                  0.00         0.00   0.00

 J. Glennon Hrdlicka                 6990-000        N/A                  0.00         0.00   0.00

 Print Partners, LLC                 6990-000        N/A             89,725.93         0.00   0.00

 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan
 National Integrated Group Pension   6990-000        N/A                  0.00         0.00   0.00
 Plan



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 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 National Integrated Group Pension      6990-000        N/A                0.00          0.00   0.00
 Plan
 Richard Falk-Wallace                   6990-000        N/A                0.00          0.00   0.00

 Spirit Finance Acquisition, LLC        6920-000        N/A                0.00          0.00   0.00

 Constellation NewEnergy, Inc.          6990-000        N/A                0.00          0.00   0.00

 Constellation NewEnergy, Inc.          6990-000        N/A                0.00          0.00   0.00

 Richard Falk-Wallace                   6990-000        N/A                0.00          0.00   0.00

 Natura Products, Inc.                  6990-000        N/A                0.00          0.00   0.00

 Marathon Cutting Die Co                6990-000        N/A                0.00          0.00   0.00

 Sierra Liquidity Fund, LLC             6990-000        N/A                0.00          0.00   0.00

 Blue Chip Copy & Print                 6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 American Holt Corp.                    6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                0.00          0.00   0.00




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 Pension Benefit Guaranty Corporation   6990-000        N/A                  0.00         0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                  0.00         0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                  0.00         0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                  0.00         0.00   0.00

 Pension Benefit Guaranty Corporation   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A            552,806.48         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Multi-Plastics, Inc.                   6990-000        N/A                  0.00         0.00   0.00

 Frank Parsons, Inc.                    6990-000        N/A             15,418.01         0.00   0.00




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 ELW Manufacturing, Inc.                 6990-000        N/A                  0.00         0.00   0.00

 ELW Manufacturing, Inc.                 6990-000        N/A                  0.00         0.00   0.00

 Pitney Bowes Global Financial           6990-000        N/A               290.10          0.00   0.00
 Services
 Tennessee Department of Revenue         6820-000        N/A                  0.00         0.00   0.00

 Terence Markham d/b/a Unisan Products   6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A             60,000.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 2nd Ungar Trust                         6990-000        N/A                  0.00         0.00   0.00

 Aramark Uniform & Career Apparel, LLC   6990-000        N/A                  0.00         0.00   0.00




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 New York State Dept. of Tax & Finance   6990-000        N/A                   0.00         0.00    0.00

 Georgia Power Company                   6990-000        N/A             153,237.02         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A             302,770.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A             767,534.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A           1,982,006.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A           9,377,974.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A           4,545,911.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A           1,061,250.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A             738,750.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A             536,250.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A                   0.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A               9,502.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A               8,254.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A               2,473.00         0.00    0.00

 Pace Industry Union-Mgmt Pension Fund   6990-000        N/A             148,895.92         0.00    0.00

 National Integrated Group Pension       6990-000        N/A             158,579.00         0.00    0.00
 Plan
 Texas Comptroller of Public Accounts    6990-000        N/A                   0.00         0.00    0.00

 Texas Comptroller of Public Accounts    6990-000        N/A                   0.00         0.00    0.00

 Frisco Independent School District      6820-000        N/A               8,555.32         0.00    0.00

 Frisco Independent School District      6820-000        N/A               1,811.28         0.00    0.00

 Getzler Henrich & Associates LLC        6700-000        N/A               2,920.89         0.00    0.00

 Florette D. Ungar Shaashua              6990-000        N/A                   0.00         0.00    0.00

 Pension Benefit Guaranty Corporation    6990-000        N/A              22,947.00         0.00    0.00

 Young Conaway Stargatt & Taylor         6210-000        N/A                   0.00         0.00    0.00

 Seyfarth Shaw LLP                       6700-000        N/A              11,125.08         0.00    0.00

 Highlands Ridge TIC                     6920-000        N/A                   0.00         0.00    0.00

 Township of Union                       6820-000        N/A             145,310.66         0.00    0.00

 Pitney Bowes Global Financial           6990-000        N/A                687.10          0.00    0.00
 Services
 New York City Department of Finance     6820-000        N/A                   0.00         0.00    0.00

 Nashville Electric Service              6990-000        N/A                   0.00         0.00    0.00

 TOTAL PRIOR CHAPTER ADMIN.                              N/A         $38,263,268.17        $0.00   $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                      UNIFORM         CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS       CLAIMS
    NO.          CLAIMANT              TRAN.          (from Form       (from Proofs of      ALLOWED        PAID
                                       CODE               6E)               Claim)
     70    Oklahoma Tax Commission     5800-000          N/A                 N/A                   0.00       0.00

     72P   Illinois Department of      5800-000          N/A                    1,947.00           0.00       0.00
           Revenue
     73P   Illinois Department of      5800-000          N/A                 N/A                   0.00       0.00
           Revenue
     87    Adams County Treasurer      5800-000          N/A                 N/A                   0.00       0.00

     93    Oklahoma Tax Commission     5800-000          N/A                 N/A                   0.00       0.00

    140    Illinois Dept. of Employment 5800-000         N/A                 N/A                   0.00       0.00
           Security
    159P   New York State Dept. of Tax 5800-000          unknown             N/A                 N/A          0.00
           & Finance
    160    Internal Revenue Service     5800-000         unknown             N/A                 N/A          0.00

    161P   Internal Revenue Service    5800-000          N/A                 N/A                   0.00       0.00

    162P   Internal Revenue Service    5800-000          N/A                 N/A                   0.00       0.00

    164P   Internal Revenue Service    5800-000          N/A                 N/A                   0.00       0.00

    166    Johnson County Board of     5800-000          N/A                 N/A                   0.00       0.00
           Commissioners
    171    Internal Revenue Service    5800-000          N/A                 N/A                   0.00       0.00

    174P   Los Angeles County          5800-000          N/A                 N/A                   0.00       0.00

    175P   Missouri Department of      5800-000          N/A                 N/A                   0.00       0.00
           Revenue
    176P   Missouri Department of      5800-000          N/A                 N/A                   0.00       0.00
           Revenue
    177P   Missouri Department of      5800-000          N/A                 N/A                   0.00       0.00
           Revenue
    179    Johnson County Board of     5800-000          N/A                 N/A                   0.00       0.00
           Commissioners
    180P   Todd F. Blatterman          5300-000          N/A                 N/A                   0.00       0.00

    196    City of Aurora, Colorado    5800-000          N/A                 N/A                   0.00       0.00

    255P   Pamarco Global Marietta     5200-000          N/A                 N/A                   0.00       0.00

    289    Dale E. Bungard             5400-000          N/A                 N/A                   0.00       0.00

    292P   Gene Sasso                  5300-000          N/A                 N/A                   0.00       0.00

    312    Sharon M. Vance             5300-000          N/A                 N/A                   0.00       0.00

    334P   Meyer-Century Labs          5300-000          N/A                 N/A                   0.00       0.00

    351P   Township of Union           5800-000          N/A                 N/A                   0.00       0.00

    373P   K C Photo Engraving Company 5800-000          N/A                 N/A                   0.00       0.00

    375    Michael Talty               5400-000          N/A                 N/A                   0.00       0.00

    409    Assumption Parish           5800-000          N/A                    1,000.00           0.00       0.00




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    416     Uwchlan Township              5800-000        N/A            N/A                    0.00        0.00

    417     Uwchlan Township              5800-000        N/A            N/A                    0.00        0.00

    420P    City of Lone Tree             5800-000        N/A            N/A                    0.00        0.00

    444     Southmoreland School          5800-000        N/A            N/A                    0.00        0.00
            District
    452P    Glenn Abel Masonry            5300-000        N/A            N/A                    0.00        0.00

    466P    Brij Chawla                   5300-000        N/A            N/A                    0.00        0.00

    489P    Massachusetts Department of   5800-000        N/A            N/A                    0.00        0.00
            Revenue
    490P    Massachusetts Department of   5800-000        N/A            N/A                    0.00        0.00
            Revenue
    503     New Jersey Division of        5800-000        N/A            N/A                    0.00        0.00
            Taxation
    504     New Jersey Division of        5800-000        N/A            N/A                    0.00        0.00
            Taxation
    505     New Jersey Division of        5800-000        N/A            N/A                    0.00        0.00
            Taxation
    631     Lenny Sapozhnikov             5200-000        N/A            N/A                    0.00        0.00

    632     Steve Gurden                  5300-000        N/A            N/A                    0.00        0.00

    670P    Pennsylvania Department of    5800-000        N/A            N/A                    0.00        0.00
            Revenue
    671     Pennsylvania Department of    5800-000        N/A            N/A                    0.00        0.00
            Revenue
    672P    Pennsylvania Department of    5800-000        N/A            N/A                    0.00        0.00
            Revenue
    674P    Pennsylvania Department of    5800-000        N/A            N/A                    0.00        0.00
            Revenue
    697P    Connecticut Department of     5800-000        N/A            N/A                    0.00        0.00
            Revenue Services
    717P    John Grymes                   5300-000        N/A            N/A                    0.00        0.00

    739P    Richard W. Grear              5300-000        N/A             11,725.00             0.00        0.00

    743P    Frisco Independent School     5800-000        N/A            N/A                    0.00        0.00
            District
    744     Collin County Tax             5800-000        N/A            N/A                 149.84      147.42

            U.S. Bankruptcy Court -       5800-001        N/A            N/A                 N/A            2.42
            Collin County Tax
    753     Missouri Department of        5800-000        N/A            N/A                    0.00        0.00
            Revenue
    820P    Massachusetts Department of   5800-000        N/A            N/A                    0.00        0.00
            Revenue
    836     Local 807, I.B.T.             5300-000        N/A                  960.00           0.00        0.00

    836     Local 807, I.B.T.             5400-000        N/A            N/A                 960.00      960.00

    840P    Xeric Web Drying Systems      5200-000        N/A            N/A                    0.00        0.00

    843     West Virginia State Tax     5800-000          N/A             23,530.00        23,530.00   23,530.00
            Division
    878     Texas Comptroller of Public 5800-000          N/A            N/A                    0.00        0.00
            Accounts
    913P    Appleton Coated, LLC        5200-000          N/A            N/A                    0.00        0.00

    930     Texas Comptroller of Public 5800-000          N/A            N/A                    0.00        0.00
            Accounts
    FITP    EFTPS                       5300-000          N/A            N/A                2,345.00    2,345.00

    1014P   Borders Folding Carton, Inc. 5200-000         N/A            N/A                    0.00        0.00




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    1017P   Borders Folding Carton, Inc. 5200-000        N/A            N/A               0.00   0.00

    1018P   Borders Folding Carton, Inc. 5200-000        N/A            N/A               0.00   0.00

    1046P   United Steelworkers         5400-000         N/A            N/A               0.00   0.00

    1046P   United Steelworkers         5300-000         N/A            N/A               0.00   0.00

    1055P   Pace Industry Union-Mgmt    5400-000         N/A            N/A               0.00   0.00
            Pension Fund
    1224P   J. Glennon Hrdlicka         5300-000         N/A            N/A               0.00   0.00

    1259P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1260P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1261P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1262P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1263P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1264P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1265P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1266P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1267P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1268P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1269P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1270P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1271P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1272P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1273P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1274P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1275P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1276P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1277P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1278P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1279P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1280P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1281P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1282P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1283P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1284P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1285P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan
    1286P   National Integrated Group   5400-000         N/A            N/A               0.00   0.00
            Pension Plan



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    1428P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1430P   Pension Benefit Guaranty      5400-000        N/A            N/A                0.00       0.00
            Corporation
    1431P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1433U   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1434P   Pension Benefit Guaranty      5400-000        N/A            N/A                0.00       0.00
            Corporation
    1435P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1437P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1438P   Pension Benefit Guaranty      5400-000        N/A            N/A                0.00       0.00
            Corporation
    1439P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1440P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1441P   Pension Benefit Guaranty      5400-000        N/A            N/A                0.00       0.00
            Corporation
    1442P   Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1443    Pension Benefit Guaranty      5800-000        N/A            N/A                0.00       0.00
            Corporation
    1481    Texas Comptroller of Public   5800-000        N/A            N/A                0.00       0.00
            Accounts
    1482P   Frisco Independent School     5800-000        N/A            N/A                0.00       0.00
            District
    1491    Texas Comptroller of Public   5800-000        N/A            N/A                0.00       0.00
            Accounts
    1493P   Kentucky Department of        5800-000        N/A            232,275.33         0.00       0.00
            Revenue
    1497P   ELW Manufacturing, Inc.       5200-000        N/A            N/A                0.00       0.00

    1503    Texas Comptroller of Public 5800-000          N/A            N/A                0.00       0.00
            Accounts
    1505P   Ohio Attorney General       5800-000          N/A            N/A                0.00       0.00

    1510P   Sean O'Callaghan              5300-000        N/A            N/A                0.00       0.00

    1511P   State Board of Equalization 5800-000          N/A            N/A                0.00       0.00

    1512    Wisconsin Workers           5800-000          N/A            N/A                0.00       0.00
            Compensation
    1513    State Board of Equalization 5800-000          N/A            N/A                0.00       0.00

    1517P   Wisconsin Department of      5800-000         N/A            N/A                0.00       0.00
            Revenue
    1521P   Florida Department of        5800-000         N/A            N/A                0.00       0.00
            Revenue
    1524    Delaware Division of         5800-000         N/A              1,356.37      1,356.37   1,334.44
            Corporations
            United States Bankruptcy     5800-001         N/A            N/A              N/A         21.93
            Court - Delaware Division of
    1525    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations
    1526    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations
    1527    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations
    1528    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations
    1529    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations
    1530    Delaware Division of         5800-000         N/A            N/A                0.00       0.00
            Corporations



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    1531    Delaware Division of          5800-000        N/A            N/A                  0.00     0.00
            Corporations
    1532    Delaware Division of          5800-000        N/A            N/A                  0.00     0.00
            Corporations
    1533P   Janet Morgan                  5200-000        N/A            N/A                  0.00     0.00

    1535    City of Ennis                 5800-000        N/A            N/A                  0.00     0.00

    1536    Ennis Independent School      5800-000        N/A            N/A                  0.00     0.00
            District
    1538P   Los Angeles County Fire       5800-000        N/A            N/A                  0.00     0.00
            Department
    1539P   Tennessee Department of       5800-000        N/A            N/A                  0.00     0.00
            Revenue
    1543    California Franchise Tax      5800-000        unknown        N/A                N/A        0.00
            Board
    1544P   California Franchise Tax      5800-000        N/A            N/A                  0.00     0.00
            Board
    1545P   California Franchise Tax      5800-000        N/A            N/A                  0.00     0.00
            Board
    1546P   California Franchise Tax      5800-000        N/A            N/A                  0.00     0.00
            Board
    1553P   Internal Revenue Service      5800-000        N/A            N/A                  0.00     0.00

    1554    Internal Revenue Service      5800-000        N/A            N/A                  0.00     0.00

    1624    New Jersey Division of        5800-000        N/A            N/A                  0.00     0.00
            Taxation
    1625    New Jersey Division of        5800-000        N/A            N/A                  0.00     0.00
            Taxation
    1634P   Colorado Department of        5800-000        unknown        N/A                N/A        0.00
            Revenue
    1638P   Internal Revenue Service      5800-000        N/A            N/A                  0.00     0.00

    1639P   Airgas Safety, Inc.           5200-000        N/A            N/A                  0.00     0.00

    1646    Texas Comptroller of Public   5800-000        N/A            N/A                  0.00     0.00
            Accounts
    1657P   Massachusetts Department of   5800-000        N/A            N/A                  0.00     0.00
            Revenue
    1658    New York State Dept. of Tax   5800-000        N/A            N/A                  0.00     0.00
            & Finance
    1667P   Pension Benefit Guaranty      5400-000        N/A            N/A                  0.00     0.00
            Corporation
    1668P   Pension Benefit Guaranty      5400-000        N/A             20,142.00           0.00     0.00
            Corporation
    1669P   Pension Benefit Guaranty      5400-000        N/A              4,032.00           0.00     0.00
            Corporation
    1670P   Pension Benefit Guaranty      5400-000        N/A              4,154.00           0.00     0.00
            Corporation
    1676    New Jersey Division of        5800-000        N/A            N/A                  0.00     0.00
            Taxation
    1677    New Jersey Division of        5800-000        N/A            N/A                  0.00     0.00
            Taxation
    1679P   National Integrated Group     5400-000        N/A            287,395.00           0.00     0.00
            Pension Plan
    1685    New York State Dept. of Tax   5800-000        N/A                  501.71       501.71   501.71
            & Finance
    1695    Shelby County, Kentucky       5800-000        N/A            N/A                  0.00     0.00

    1701    Phyllis A. Weir               5400-000        N/A            N/A                  0.00     0.00

    1706    New York State of Dept. of    5800-000        N/A            N/A                  0.00     0.00
            Labor
    1710    Frisco Independent School     5800-000        N/A            N/A                  0.00     0.00
            District
    1711    Frisco Independent School     5800-000        N/A            N/A                  0.00     0.00
            District



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    1712    Collin County Tax             5800-000         N/A                       416.21          416.21       416.21
            Assessor/Collection
    1717P   Anita Martinez                5300-000         N/A                 N/A                     0.00          0.00

    1736P   John Grymes                   5300-000         N/A                  11,725.00          8,483.04      8,483.04

    1745P   Pension Benefit Guaranty    5400-000           N/A                  26,914.00              0.00          0.00
            Corporation
    1777    New York City Department of 5800-000           N/A                 N/A                     0.00          0.00
            Finance
    FUTAP   EFTPS                       5800-000           N/A                 N/A                   420.00       420.00

  FICAEEP   EFTPS                         5300-000         N/A                 N/A                   726.95       726.95

  FICAERP   EFTPS                         5800-000         N/A                 N/A                   726.95       726.95

  MEDIEEP   EFTPS                         5300-000         N/A                 N/A                   170.01       170.01

  MEDIERP   EFTPS                         5800-000         N/A                 N/A                   170.01       170.01

 91/0004    City of New York-Department   5800-000         N/A                 N/A                     0.00          0.00
            of Finance
 DOC1940    City of New York-Department   5800-000         N/A                 N/A                     0.00          0.00
            of Finance
 NOTFILED   New York City Department of   5800-000         unknown             N/A                   N/A             0.00
            Finance
 NOTFILED   Illinois Secretary of State   5800-000         unknown             N/A                   N/A             0.00

 NOTFILED   Kansas Department of Revenue 5800-000          unknown             N/A                   N/A             0.00

 NOTFILED   Delaware Division of          5800-000         unknown             N/A                   N/A             0.00
            Corporations
 TOTAL PRIORITY UNSECURED                                        $0.00        $628,073.62        $39,956.09    $39,956.09
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM       CLAIMS              CLAIMS
   CLAIM                                               SCHEDULED           ASSERTED            CLAIMS         CLAIMS
    NO.             CLAIMANT               TRAN.        (from Form       (from Proofs of      ALLOWED          PAID
                                           CODE             6F)               Claim)
      2     MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
      5U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
      6U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
      7U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
      8U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
      9     MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
     10     McMaster Carr Supply          7100-000         N/A                 N/A                     0.00          0.00

     11     Randstad USA, LP              7100-000         N/A                 N/A                     0.00          0.00

     12     Landstar Global Logistics     7100-000         N/A                 N/A                     0.00          0.00

     13     MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
     14U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company
     15U    MSC Industrial Supply         7100-000         N/A                 N/A                     0.00          0.00
            Company



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     16    U.S. Bankruptcy Court - TIN, 7100-001        N/A              2,884.21      2,884.21   0.57
           Inc. d/b/a Temple-Inland
     17    MSC Industrial Supply        7100-000        N/A            N/A                0.00    0.00
           Company
     18    Corporation Service Company 7100-000         N/A            N/A                0.00    0.00

     19U   CDW                          7100-000        N/A            N/A                0.00    0.00

     20    MSC Industrial Supply        7100-000        N/A            N/A                0.00    0.00
           Company
     21    MSC Industrial Supply        7100-000        N/A            N/A                0.00    0.00
           Company
     50    Qwest Corporation            7100-000        N/A            N/A                0.00    0.00

     51    Qwest Corporation            7100-000        N/A            N/A                0.00    0.00

     53    New York State Dept. of Tax 7300-000         N/A              2,096.56         0.00    0.00
           & Finance
     54    FedEx Freight, Inc.         7100-000         N/A            N/A                0.00    0.00

     55    Safety Short Production,     7100-000        N/A            N/A                0.00    0.00
           Inc.
     56    FedEx National LTL           7100-000        N/A            N/A                0.00    0.00

     57    Greenleaf Compaction, Inc.   7100-000        N/A            N/A                0.00    0.00

     58    Krystal Kleer Corporation    7100-000        N/A            N/A                0.00    0.00

     59    Southern California Edison   7100-000        N/A            N/A                0.00    0.00
           Company
     60    Ryder Truck Rental, Inc.     7100-000        N/A             24,392.19         0.00    0.00

     61    Southern Graphic Systems,    7100-000        N/A            N/A                0.00    0.00
           Inc.
     62    OEC Graphics, Inc.           7100-000        N/A            N/A                0.00    0.00

     63    OEC Graphics, Inc.           7100-000        N/A            N/A                0.00    0.00

     64    Nieman Printing, Inc.        7100-000        N/A             43,257.58         0.00    0.00

     65U   Indiana Department of        7100-000        N/A            N/A                0.00    0.00
           Revenue
     66U   Indiana Department of        7100-000        N/A            N/A                0.00    0.00
           Revenue
     67U   Indiana Department of        7100-000        N/A            N/A                0.00    0.00
           Revenue
     68    Black Box Network Services   7100-000        N/A            N/A                0.00    0.00

     69    U. S. Security Associates,   7100-000              0.00     N/A               N/A      0.00
           Inc.
     71    Voided Claim - Not Used      7100-000        N/A            N/A                0.00    0.00

     72U   Illinois Department of       7300-000        N/A              6,856.00         0.00    0.00
           Revenue
     73U   Illinois Department of       7300-000        N/A            N/A                0.00    0.00
           Revenue
     74    Ferrellgas                   7100-000        N/A            N/A                0.00    0.00

     75    Ferrellgas                   7100-000        N/A            N/A                0.00    0.00

     76    Ferrellgas                   7100-000        N/A            N/A                0.00    0.00

     77    Rock-Tenn Company            7100-000        N/A            N/A                0.00    0.00

     78U   Rock-Tenn Company            7100-000              0.00     N/A               N/A      0.00

     79    Rock-Tenn Company            7100-000        N/A            N/A                0.00    0.00




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     79    U.S. Bankruptcy Court -     7100-001         N/A             14,124.21       14,124.21       2.75
           National Fuel Gas
     80    Rock-Tenn Company           7100-000         N/A            N/A                    0.00      0.00

     81U   Rock-Tenn Company           7100-000               0.00     N/A                 N/A          0.00

     82U   Rock-Tenn Company           7100-000         N/A            N/A                    0.00      0.00

     83    Ames Safety Envelope        7100-000         N/A            N/A                    0.00      0.00

     84    Southeastern Freight Lines, 7100-000         N/A            N/A                    0.00      0.00
           Inc.
     85    Atmos Energy Corporation    7100-000         N/A            N/A                    0.00      0.00

     86U   Packaging Credit Company,   7100-000         N/A            N/A                    0.00      0.00
           LLC
     88    Local 447 Pension Fund      7100-000         N/A          17,000,234.00   17,000,234.00   3,292.44

     89    CIT Technology Financing    7100-000         N/A            N/A                    0.00      0.00
           Services, Inc.
     90    CIT Technology Financing    7100-000         N/A            N/A                    0.00      0.00
           Services, Inc.
     91    Broadview Networks          7100-000         N/A            N/A                    0.00      0.00

     92    John H. Schlich             7100-000         N/A            N/A                    0.00      0.00

     94    Onestop                     7100-000         N/A            N/A                    0.00      0.00

     95U   Premier Packaging           7100-000         N/A            N/A                    0.00      0.00
           Corporation
     96    Premier Packaging           7100-000         N/A            N/A                    0.00      0.00
           Corporation
     97    Voided Claim - Not Used     7100-000         N/A            N/A                    0.00      0.00

     98    Texas NICUSA, LLC           7100-000         N/A            N/A                    0.00      0.00

     99    Texas NICUSA, LLC           7100-000         N/A            N/A                    0.00      0.00

     SRS   Solution Recovery Services, 7100-000         N/A            N/A                    0.00      0.00
           LLC
    100    Wells Fargo Financial       7100-000         N/A            N/A                    0.00      0.00
           Leasing, Inc.
    101    Landstar Ranger, Inc.       7100-000         N/A            N/A                    0.00      0.00

    102    Archon Bay Capital, LLC     7100-000         N/A            N/A                    0.00      0.00

    102    Accent Wire Products        7100-000         N/A            N/A                    0.00      0.00

    103    Sun Chemical Corporation    7100-000         N/A            N/A                    0.00      0.00

    104    Atmos Energy Corporation    7100-000         N/A            N/A                    0.00      0.00

    105U   American Paper & Twine      7100-000         N/A            N/A                    0.00      0.00

    106    Industrial Packaging        7100-000         N/A            N/A                    0.00      0.00
           Corporation
    107U   The Flesh Company           7100-000         N/A            N/A                    0.00      0.00

    108    Cummings Electrical, Inc.   7100-000         N/A            N/A                    0.00      0.00

    109    Xerox Corp.                 7100-000         N/A            N/A                    0.00      0.00

    110    Lawson Products, Inc., New 7100-000          N/A            N/A                    0.00      0.00
           Jersey
    111    Lawson Products, Inc.,       7100-000        N/A            N/A                    0.00      0.00
           Georgia
    112    Amcor Packaging Distribution 7100-000        N/A            N/A                    0.00      0.00




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    113    Mac Papers Inc.              7100-000        N/A            N/A                  0.00    0.00

    114    Mac Papers, Inc.             7100-000        N/A            N/A                  0.00    0.00

    115    Concentric Sourcing          7100-000        N/A            N/A                  0.00    0.00

    116    Manpower, Inc.               7100-000        N/A            N/A                  0.00    0.00

    117    Burns & Levinson, LLP        7100-000        N/A            N/A                  0.00    0.00

    118    Keren Two, LLC               7100-000        N/A            N/A                  0.00    0.00

    119    Atlas Copco Compressors, LLC 7100-000        N/A            N/A                  0.00    0.00

    120    National Grid                7100-000        N/A             21,690.05           0.00    0.00

    121    Videojet Technologies, Inc. 7100-000         N/A            N/A                  0.00    0.00

    122U   Bennett Packaging            7100-000        N/A            N/A                  0.00    0.00

    123    Certified Laboratories       7100-000        N/A            N/A                  0.00    0.00

    124    W. W. Grainger, Inc.         7100-000        N/A            N/A                  0.00    0.00

    125    ENCO Manufacturing Company, 7100-000         N/A            N/A                  0.00    0.00
           Inc.
    126U   IBM Credit, LLC             7100-000         N/A            N/A                  0.00    0.00

    128    The Whitman Companies, Inc. 7100-000         N/A            N/A                  0.00    0.00

    129U   U.S. Bankruptcy Court -      7100-001        N/A                   85.62       840.82    0.16
           Piedmont Natural Gas Company
    130U   Dell Marketing, L.P.         7100-000        N/A            N/A                  0.00    0.00

    131U   Dell Marketing, L.P.         7100-000        N/A             58,800.07           0.00    0.00

    132    Viburnum Consulting, Inc.    7100-000        N/A            N/A                  0.00    0.00

    133    ITW Dynatec                  7100-000        N/A            N/A                  0.00    0.00

    134    Praxair Distribution, Inc.   7100-000        N/A            N/A                  0.00    0.00

    135    Juanita Birriel              7100-000        N/A            N/A                  0.00    0.00

    136    Jeannette Paper Company      7100-000        N/A            N/A                  0.00    0.00

    137    Cross Globe Group            7100-000        N/A            N/A                  0.00    0.00

    138    U.S. Bankruptcy Court -      7100-001        N/A              1,745.96        1,745.96   0.34
           Pitney Bowes Incorporated
    141    U.S. Bankruptcy Court -      7100-001        N/A              2,176.50        2,176.50   0.42
           Office Depot
    142    U.S. Bankruptcy Court -      7100-001        N/A              3,679.09        3,679.09   0.71
           Office Depot
    143    U.S. Bankruptcy Court -      7100-001        N/A                  786.51       786.51    0.15
           Office Depot
    144    U.S. Bankruptcy Court -      7100-001        N/A              1,067.84        1,067.84   0.21
           Office Depot
    145    U.S. Bankruptcy Court -      7100-001        N/A              7,595.08        7,595.08   1.47
           Office Depot
    146    U.S. Bankruptcy Court -      7100-001        N/A                  677.90       677.90    0.13
           Office Depot
    147    U.S. Bankruptcy Court -      7100-001        N/A              9,737.93        9,737.93   1.89
           Office Depot
    148    U.S. Bankruptcy Court -      7100-001        N/A                  464.32       464.32    0.09
           Office Depot
    149    Office Depot                 7100-000        N/A            N/A                  0.00    0.00




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    150    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    151    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    152    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    153    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    154    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    155    Office Depot                 7100-000        N/A            N/A                 0.00   0.00

    156    Consolidated Edison Company 7100-000         N/A            N/A                 0.00   0.00
           of New York, Inc.
    157    Wausau Paper Corp.          7100-000         N/A            366,900.02          0.00   0.00

    158    H. B. Fuller                 7100-000        N/A            N/A                 0.00   0.00

    159U   New York State Dept. of Tax 7300-000         N/A            N/A                 0.00   0.00
           & Finance
    161U   Internal Revenue Service    7300-000         N/A            N/A                 0.00   0.00

    162U   Internal Revenue Service     7100-000        N/A            N/A                 0.00   0.00

    163    Internal Revenue Service     7100-000        N/A            N/A                 0.00   0.00

    164U   Internal Revenue Service     7300-000        N/A            N/A                 0.00   0.00

    165    Juanita Birriel              7100-000        N/A            N/A                 0.00   0.00

    168    Lithographics, Inc.          7100-000        N/A            N/A                 0.00   0.00

    169    Southeastern Freight Lines, 7100-000         N/A            N/A                 0.00   0.00
           Inc.
    170U   M & T Bank                  7100-000         N/A            N/A                 0.00   0.00

    172    PECO Energy Company          7100-000        N/A            N/A                 0.00   0.00

    173    Southeastern Freight Lines, 7100-000         N/A             68,333.35          0.00   0.00
           Inc.
    174U   Los Angeles County          7100-000         N/A            N/A                 0.00   0.00

    174U   Los Angeles County           7300-000        N/A            N/A                 0.00   0.00

    175U   Missouri Department of       7100-000        N/A            N/A                 0.00   0.00
           Revenue
    175U   Missouri Department of       7300-000        N/A            N/A                 0.00   0.00
           Revenue
    177U   Missouri Department of       7300-000        N/A            N/A                 0.00   0.00
           Revenue
    178    International Forest         7100-000        N/A            N/A                 0.00   0.00
           Products Corporation
    180U   Todd F. Blatterman           7100-000        N/A            N/A                 0.00   0.00

    181    Conversion Technology, Inc. 7100-000         N/A            N/A                 0.00   0.00

    183    Hartford Fire Insurance     7100-000         N/A            N/A                 0.00   0.00
           Company
    184    Hudson Valley Paper Company 7100-000         N/A            N/A                 0.00   0.00

    185    Ricoh Americas Corporation   7100-000        N/A            N/A                 0.00   0.00

    186    Univar USA, Inc.             7100-000        N/A            N/A                 0.00   0.00

    187    Columbia Gas of Pennsylvania 7100-000        N/A            N/A                 0.00   0.00

    188    U.S. Bankruptcy Court -      7100-001        N/A                  99.00        99.00   0.02
           Publitec, Inc. d/b/a



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    189    Blackhawk Equipment          7100-000        N/A            N/A                  0.00    0.00
           Corporation
    190U   Dell Marketing, L.P.         7100-000        N/A            N/A                  0.00    0.00

    191U   Dell Marketing, L.P.         7100-000        N/A             58,800.07           0.00    0.00

    192    Cross Globe Group            7100-000        N/A            N/A                  0.00    0.00

    193    MXenergy, Inc.               7100-000        N/A            N/A                  0.00    0.00

    194    Hudco, Inc. d/b/a            7100-000        N/A            N/A                  0.00    0.00
           Roto-Rooter Services
    195    Baker & Hostetler, LLP       7100-000        N/A             32,957.85      32,957.85    6.38

    199    FC Meyer Packaging, LLC      7100-000        N/A            294,351.17           0.00    0.00

    200    Atmos Energy Corporation     7100-000        N/A            N/A                  0.00    0.00

    201    Public Service Electric &    7100-000        N/A            N/A                  0.00    0.00
           Gas Company
    203    Global Hunter Securities,    7100-000        N/A            N/A                  0.00    0.00
           LLC
    204U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    205U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    206U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    207U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    208U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    209U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    210U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    211U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    212U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    213U   Henkel Corporation           7100-000        N/A            N/A                  0.00    0.00

    214U   Rand-Whitney Container, LLC 7100-000         N/A            N/A                  0.00    0.00

    216    A. J. Lacourse, Inc.         7100-000              0.00     N/A               N/A        0.00

    217    U.S. Bankruptcy Court -     7100-001         N/A              1,154.56       1,154.56    0.22
           Human Resources of Auburn,
    218    RTR Business Products, Inc. 7100-000         N/A            N/A                  0.00    0.00

    219    Scott Electric Company       7100-000        N/A            N/A                  0.00    0.00

    220    United States Plastic Corp. 7100-000         N/A            N/A                  0.00    0.00

    221    United States Plastic Corp. 7100-000         N/A            N/A                  0.00    0.00

    222    Johnson Brothers, Inc.       7100-000        N/A            N/A                  0.00    0.00

    223    National Union Fire         7100-000         N/A             94,635.19      94,635.19   18.33
           Insurance Co of
    224    Milman Labuda Law Group,    7100-000         N/A            N/A                  0.00    0.00
           PLLC
    225    Beckart Environmental, Inc. 7100-000         N/A            N/A                  0.00    0.00

    226    Beckart Environmental, Inc. 7100-000         N/A              5,430.43           0.00    0.00

    226    Sierra Liquidity Fund, LLC   7100-000        N/A            N/A                  0.00    0.00




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    227    GEI International, Inc.      7100-000        N/A            N/A               0.00    0.00

    228    Osterman Gas Service, Inc.   7100-000        N/A            N/A               0.00    0.00

    229    Rumsey Electric Co.          7100-000        N/A            N/A               0.00    0.00

    230    Johnson Brothers, Inc.       7100-000        N/A            N/A               0.00    0.00

    232U   Sierra Liquidity Fund, LLC   7100-000        N/A            N/A               0.00    0.00

    233    Rensenhouse Electric Supply 7100-000         N/A            N/A               0.00    0.00

    234    Action Supply Products, Inc. 7100-000        N/A            N/A               0.00    0.00

    234    Sierra Liquidity Fund, LLC   7100-000        N/A            N/A               0.00    0.00

    235    A-1 Pallet Co. of            7100-000        N/A            N/A               0.00    0.00
           Clarksville, Inc.
    236    Bortek Industries            7100-000        N/A            N/A               0.00    0.00

    237U   All-Pack-Co. Inc.            7100-000        N/A            N/A               0.00    0.00

    238    Capitol City Bolt Screw,     7100-000        N/A            N/A               0.00    0.00
           Inc.
    239    Reeves-Wiedeman Company      7100-000        N/A            N/A               0.00    0.00

    240    U.S. Bankruptcy Court -      7100-001        N/A             4,557.24      4,557.24   0.88
           Miami Systems/Print South
    241    Concentra Medical Centers    7100-000        N/A             1,513.00         0.00    0.00

    242U   Hampton Office Products      7100-000        N/A            N/A               0.00    0.00

    243    Filter Sales & Services,     7100-000        N/A            N/A               0.00    0.00
           Inc.
    244    S V C A M P                  7100-000        N/A            N/A               0.00    0.00

    246    Trailer Service & Rental Co. 7100-000        N/A            N/A               0.00    0.00

    247    Lindenmeyr Munroe-Carol     7100-000         N/A            N/A               0.00    0.00
           Stream
    248    Pennwest Industrial Trucks, 7100-000         N/A            N/A               0.00    0.00
           LLC
    249    C. H. Reed                  7100-000         N/A            N/A               0.00    0.00

    250    Transply, Inc.               7100-000        N/A            N/A               0.00    0.00

    251    Butler Dearden Paper         7100-000        N/A            N/A               0.00    0.00
           Services, Inc.
    253    mindSHIFT Technologies, Inc. 7100-000        N/A            N/A               0.00    0.00

    254    Chem-Tech Solutions, Inc.    7100-000        N/A            N/A               0.00    0.00

    255U   Pamarco Global Marietta      7100-000        N/A            N/A               0.00    0.00

    256    Bearings, Belts & Chain,     7100-000        N/A            N/A               0.00    0.00
           Inc.
    257    Solo Horton Brushed, Inc.    7100-000        N/A            N/A               0.00    0.00

    258U   Hyspeco-Sturgis Equipment    7100-000        N/A            N/A               0.00    0.00

    260    Entre Computer Center        7100-000        N/A            N/A               0.00    0.00

    261    Falcetti & Clark Electrical 7100-000         N/A            N/A               0.00    0.00
           Supply Co., Inc.
    262    Archon Bay Capital, LLC     7100-000         N/A            N/A               0.00    0.00

    262U   Nieman Printing, Inc.        7100-000        N/A            N/A               0.00    0.00




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    263U   FC Meyer Packaging, LLC      7100-000        N/A            N/A               0.00   0.00

    264    International Paper Products 7100-000        N/A            N/A               0.00   0.00
           Corp.
    265    City of Smyrna Tax Collector 7100-000        N/A            N/A               0.00   0.00

    266    G & K Services               7100-000        N/A            N/A               0.00   0.00

    267    Koger Air Corporation        7100-000        N/A            N/A               0.00   0.00

    268    Forbo Siegling               7100-000        N/A            N/A               0.00   0.00

    269    Western Converting           7100-000        N/A            N/A               0.00   0.00
           Specialties
    270    New England Dirves &         7100-000        N/A            N/A               0.00   0.00
           Controls
    271    Harry Guckert Company        7100-000        N/A            N/A               0.00   0.00

    272    Flowers by Sharon            7100-000        N/A            N/A               0.00   0.00

    274    Ethington Building Supply,   7100-000        N/A            N/A               0.00   0.00
           Inc.
    275    Elec-Tech Electrical         7100-000        N/A            N/A               0.00   0.00
           Services, Inc.
    276    Benton Express               7100-000        N/A            N/A               0.00   0.00

    277    Bottcher American            7100-000        N/A            N/A               0.00   0.00
           Corporation
    278U   Freeman Woods Products, Inc. 7100-000        N/A            N/A               0.00   0.00

    279    Flexo Wash, LLC              7100-000        N/A            N/A               0.00   0.00

    280    Ace Hardware Shelbyville     7100-000        N/A            N/A               0.00   0.00

    281    Am-Tech, Inc.                7100-000        N/A            N/A               0.00   0.00

    282    Am-Tech, Inc.                7100-000        N/A            N/A               0.00   0.00

    283    Am-Tech, Inc.                7100-000        N/A            N/A               0.00   0.00

    284    Am-Tech, Inc.                7100-000        N/A            N/A               0.00   0.00

    285    Norsal Distribution          7100-000        N/A            N/A               0.00   0.00
           Associates, Inc.
    286    Cook County Photocopy Co.,   7100-000        N/A            N/A               0.00   0.00
           Inc.
    287U   Metal Magic                  7100-000        N/A            N/A               0.00   0.00

    288    Holt Plumbing Company, LLC   7100-000        N/A            N/A               0.00   0.00

    290    Koorsen Fire & Security      7100-000        N/A            N/A               0.00   0.00

    291    Mid-South Roof Systems, Inc. 7100-000        N/A            N/A               0.00   0.00

    292U   Gene Sasso                   7100-000        N/A            N/A               0.00   0.00

    293U   Janiserve                    7100-000        N/A            N/A               0.00   0.00

    294    Cole Electric Motor          7100-000        N/A            N/A               0.00   0.00
           Services, Inc.
    295    Richard Falk-Wallace         7100-000        N/A            N/A               0.00   0.00

    296    Gard Specialists Company,    7100-000        N/A            N/A               0.00   0.00
           Inc.
    297U   Boncraft                     7100-000        N/A            N/A               0.00   0.00

    298U   Green Seal, Inc.             7100-000        N/A            N/A               0.00   0.00




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    299U   Pioneer Credit Opportunities 7100-000        N/A            N/A               0.00   0.00
           Fund, LP
    300U   Pioneer Credit Opportunities 7100-000        N/A            N/A               0.00   0.00
           Fund, LP
    301    Sprague Energy Corp.         7100-000        N/A            N/A               0.00   0.00

    302    H-O-H Water Technology, Inc. 7100-000        N/A            N/A               0.00   0.00

    303    API Foils, Inc.              7100-000        N/A            N/A               0.00   0.00

    304    Freedom Graphic Systems,     7100-000        N/A            N/A               0.00   0.00
           Inc.
    305U   Freedom Graphic Systems,     7100-000        N/A            N/A               0.00   0.00
           Inc.
    306    A & M Compressed Air         7100-000        N/A            N/A               0.00   0.00
           Products, Inc.
    307    ATCAM                        7100-000        N/A            N/A               0.00   0.00

    308    Hydraulic Controls, Inc.     7100-000        N/A            N/A               0.00   0.00

    309    Mitchell Instrument Co.,     7100-000        N/A            N/A               0.00   0.00
           Inc.
    310    Runge Paper Company, Inc.    7100-000        N/A            N/A               0.00   0.00

    311    Distribution West,           7100-000        N/A            N/A               0.00   0.00
           Inc./Poolside Litho
    311    Fair Liquidity Partners, LLC 7100-000        N/A            N/A               0.00   0.00

    313    L.A. Grinding                7100-000        N/A            N/A               0.00   0.00

    314U   Noreast Capital Corporation 7100-000         N/A            N/A               0.00   0.00

    315    Papa Ninny's                 7100-000        N/A            N/A               0.00   0.00

    316    Kansas City Power & Light    7100-000        N/A            N/A               0.00   0.00

    317    Analytical Services, Inc.    7100-000        N/A            N/A               0.00   0.00

    318    Industrial Tape & Supply     7100-000        N/A            N/A               0.00   0.00
           Company
    319    G & T Truck Service, Inc.    7100-000        N/A            N/A               0.00   0.00

    320    Thal Mor Associates          7100-000        N/A            N/A               0.00   0.00

    321U   Taylor Impressions Parts &   7100-000        N/A            N/A               0.00   0.00
           Service, LLC
    322    Hunt Cleaners, Inc.          7100-000        N/A            N/A               0.00   0.00

    323    Shingle & Gibb               7100-000        N/A            N/A               0.00   0.00

    324    Ennis, Inc.                  7100-000        N/A            N/A               0.00   0.00

    325    Brenner Industrial Sales &   7100-000        N/A            N/A               0.00   0.00
           Supply
    326    Ovasco Industries            7100-000        N/A            N/A               0.00   0.00

    327    RJ Kampo Plumbing & Htg,     7100-000        N/A            N/A               0.00   0.00
           Inc.
    328    Meca Technology Machine,     7100-000        N/A            N/A               0.00   0.00
           Inc.
    329    Shred-It Kansas City         7100-000        N/A            N/A               0.00   0.00

    330    Georgia Control Center       7100-000        N/A            N/A               0.00   0.00

    331    Marr Scaffolding Co., Inc.   7100-000        N/A            N/A               0.00   0.00

    332    Groggy Dog Sportswear        7100-000        N/A            N/A               0.00   0.00




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    333    City Laser Service           7100-000        N/A            N/A                 0.00   0.00

    334U   Meyer-Century Labs           7100-000        N/A            N/A                 0.00   0.00

    335    Flexo Concepts               7100-000        N/A            N/A                 0.00   0.00

    336    Flexo Concepts               7100-000        N/A            N/A                 0.00   0.00

    337    Flexo Concepts               7100-000        N/A            N/A                 0.00   0.00

    338U   Air Filtration Service       7100-000        N/A            N/A                 0.00   0.00

    339    Endagraph, Inc.              7100-000        N/A            N/A                 0.00   0.00

    340    Advantage Commercial Supply 7100-000         N/A            N/A                 0.00   0.00

    341    Actega Wit, Inc.             7100-000        N/A            N/A                 0.00   0.00

    342    Keren Two, LLC               7100-000        N/A            N/A                 0.00   0.00

    343    Keren Two, LLC               7100-000        N/A            N/A                 0.00   0.00

    344    Prime Industrial Products,   7100-000        N/A            N/A                 0.00   0.00
           Inc.
    345    Next Day Toner Supplies,     7100-000        N/A            N/A                 0.00   0.00
           Inc.
    346    Crellin Handling Equipment   7100-000        N/A            N/A                 0.00   0.00

    347    Precise Machine Company,     7100-000        N/A            N/A                 0.00   0.00
           Inc.
    348    Double E Company, Inc.       7100-000        N/A            N/A                 0.00   0.00

    349    Imperial Litho Services,     7100-000        N/A            N/A                 0.00   0.00
           Inc.
    350U   New England Pallets & Skids, 7100-000        N/A            N/A                 0.00   0.00
           Inc.
    351U   Township of Union            7100-000        N/A            N/A                 0.00   0.00

    352    FC Meyer Packaging, LLC      7100-000        N/A             60,444.56          0.00   0.00

    353    Hill Manufacturing Co., Inc. 7100-000        N/A            N/A                 0.00   0.00

    354U   American Solutions for       7100-000        N/A            N/A                 0.00   0.00
           Business
    355    Standard Register Company    7100-000        N/A            N/A                 0.00   0.00

    357    Global Specialties Cleaners 7100-000         N/A            N/A                 0.00   0.00

    358    Westmoreland County          7100-000        N/A            N/A                 0.00   0.00
           Municipal Auth
    359    Estes Forwarding Worldwide   7100-000        N/A            N/A                 0.00   0.00

    360    United Worth Hydrochem Corp. 7100-000        N/A            N/A                 0.00   0.00

    361    Archon Bay Capital, LLC      7100-000        N/A            N/A                 0.00   0.00

    362    Motive Energy, Inc.          7100-000        N/A            N/A                 0.00   0.00

    363    Custom Coffee Plan           7100-000        N/A                  57.39         0.00   0.00

    364    U. S. Security Associates,   7100-000        N/A            N/A                 0.00   0.00
           Inc.
    365    McNaughton-McKay Electric    7100-000        N/A            N/A                 0.00   0.00
           Company
    366    Lab Safety Supply            7100-000        N/A            N/A                 0.00   0.00

    367    Lab Safety Supply            7100-000        N/A            N/A                 0.00   0.00




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    368    Lab Safety Supply            7100-000        N/A            N/A               0.00   0.00

    369    Lab Safety Supply            7100-000        N/A            N/A               0.00   0.00

    370    Lab Safety Supply            7100-000        N/A            N/A               0.00   0.00

    371U   Athens Paper Company         7100-000        N/A            N/A               0.00   0.00

    372    Lewis Fire Protection, Inc. 7100-000         N/A            N/A               0.00   0.00

    373U   K C Photo Engraving Company 7100-000         N/A            N/A               0.00   0.00

    374    Buckeye Business Products,   7100-000        N/A            N/A               0.00   0.00
           Inc.
    376    PropanePower Corporation     7100-000        N/A            N/A               0.00   0.00

    377    Anaheim Heating and Air      7100-000        N/A            N/A               0.00   0.00
           Conditioning
    378    Veterans Oil, Inc.           7100-000              0.00     N/A              N/A     0.00

    379    Ellis County Medical         7100-000        N/A            N/A               0.00   0.00
           Associates
    380    Air System Design, Inc.      7100-000        N/A            N/A               0.00   0.00

    381    Alpha-Prime, Inc.            7100-000        N/A            N/A               0.00   0.00

    382    W. C. Wiedenmann & Son, Inc. 7100-000        N/A            N/A               0.00   0.00

    383U   Scantek Infrared Services    7100-000        N/A            N/A               0.00   0.00

    384    Olympic Printing             7100-000        N/A            N/A               0.00   0.00

    385    Rossini North America, Inc. 7100-000         N/A            N/A               0.00   0.00

    386    Standard Lithograph, LLC     7100-000        N/A            N/A               0.00   0.00

    387    All-Lift Systems, Inc.       7100-000        N/A            N/A               0.00   0.00

    388    Evans Enterprises, Inc. -    7100-000        N/A            N/A               0.00   0.00
           OKC
    389    East Penn Manufacturing      7100-000        N/A            N/A               0.00   0.00
           Company, Inc.
    390    Retroflex, Inc.              7100-000        N/A            N/A               0.00   0.00

    391    Affordable Buckets, LLC      7100-000        N/A            N/A               0.00   0.00

    392    Monarch Color Corporation    7100-000        N/A            N/A               0.00   0.00

    393    Industrial Air Centers, Inc. 7100-000        N/A            N/A               0.00   0.00

    394    On-Site Kentucky, Inc.       7100-000        N/A            N/A               0.00   0.00

    395    State Industrial Products    7100-000        N/A            N/A               0.00   0.00

    396    Kiwi Coders COrporation      7100-000        N/A            N/A               0.00   0.00

    397    Northeast Battery            7100-000        N/A            N/A               0.00   0.00

    398    American Environmental      7100-000         N/A            N/A               0.00   0.00
           Supply
    399    Badger Laboratories & Eng., 7100-000         N/A            N/A               0.00   0.00
           Co., Inc.
    400U   Matik, Inc.                 7100-000         N/A            N/A               0.00   0.00

    401    Key People Company           7100-000        N/A            N/A               0.00   0.00

    402    Millet the Printer, Inc.     7100-000        N/A            N/A               0.00   0.00




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    403    Sound Solutions              7100-000        N/A            N/A               0.00    0.00

    404    Producers Chemical Company   7100-000        N/A            N/A               0.00    0.00

    405    Sikes Paper Company          7100-000        N/A            N/A               0.00    0.00

    406    Bonita Pioneer Packaging     7100-000        N/A            N/A               0.00    0.00

    407    Falcon Laboroatories, Inc.   7100-000        N/A            N/A               0.00    0.00

    408    Mid Atlantic Appraisal       7100-000        N/A            N/A               0.00    0.00
           Consultants, Inc.
    410    Olympic Graphics Int'l       7100-000        N/A            N/A               0.00    0.00
           Kansas City
    411U   Keen Compressed Gas          7100-000        N/A            N/A               0.00    0.00

    412    Puget Sound Envelope         7100-000        N/A            N/A               0.00    0.00

    413    Deschner Corporation         7100-000        N/A            N/A               0.00    0.00

    414    Power Transmission          7100-000         N/A            N/A               0.00    0.00
           Specialties
    415    Kundinger Fluid Power, Inc. 7100-000         N/A            N/A               0.00    0.00

    418    Alar Engineering Corp.       7100-000        N/A            N/A               0.00    0.00

    419    Westlake Ace Hardware        7100-000        N/A            N/A               0.00    0.00

    420U   City of Lone Tree            7100-000        N/A            N/A               0.00    0.00

    421    International Forest         7100-000        N/A            N/A               0.00    0.00
           Products Corporation
    422    U.S. Bankruptcy Court -      7100-001        N/A             4,460.28      4,460.28   0.86
           Village of Elk Grove
    423    County Heat Treat            7100-000        N/A            N/A               0.00    0.00

    424    Dreisilker Electric Motors   7100-000        N/A            N/A               0.00    0.00

    426    Pacific Packaging Products, 7100-000         N/A            N/A               0.00    0.00
           Inc
    427U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    428U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    429U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    430U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    431U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    432U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    433U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    434U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    435U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    436U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    437    Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    438U   Hain Capital Holdings, Ltd. 7100-000         N/A            N/A               0.00    0.00

    439U   Hampden Papers, Inc.         7100-000        N/A            N/A               0.00    0.00

    440    Conversource                 7100-000        N/A            N/A               0.00    0.00




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    441    Larsen Envelope Co., Inc.    7100-000        N/A            N/A                    0.00    0.00

    442    Elite Coach Limousine, Inc. 7100-000         N/A            N/A                    0.00    0.00

    443    Door Systems, Inc.           7100-000        N/A            N/A                    0.00    0.00

    445    Grace Machine Company, Inc. 7100-000         N/A            N/A                    0.00    0.00

    446U   The Tripp Company            7100-000        N/A            N/A                    0.00    0.00

    447    Grand Chute Utilities        7100-000        N/A            N/A                    0.00    0.00

    448    Town of Grand Chute          7100-000        N/A            N/A                    0.00    0.00

    449    Trupar America               7100-000        N/A            N/A                    0.00    0.00

    450    Accurate Logistics, Ltd      7100-000        N/A            N/A                    0.00    0.00

    451    JA Trucking, inc.            7100-000        N/A            N/A                    0.00    0.00

    452U   Glenn Abel Masonry           7100-000        N/A            N/A                    0.00    0.00

    453    Technotrans America, Inc.    7100-000        N/A            N/A                    0.00    0.00

    454    Solberg Manufacturing, Inc. 7100-000         N/A            N/A                    0.00    0.00

    455    Muzak Northern Musicast,     7100-000        N/A            N/A                    0.00    0.00
           Inc.
    456    Graybar Electric Co., Inc.   7100-000        N/A            N/A                    0.00    0.00

    457    Filters Unlimited            7100-000        N/A            N/A                    0.00    0.00

    458    Communicorp, Inc.            7100-000        N/A            N/A                    0.00    0.00

    459U   Nakai International Corp.    7100-000        N/A            N/A                    0.00    0.00

    460    ECHOtape USA, Inc.           7100-000        N/A            N/A                    0.00    0.00

    461    Master Vend Custom Coffee    7100-000        N/A            N/A                    0.00    0.00
           Service
    462    Old Dominion Freight Line,   7100-000        N/A            N/A                    0.00    0.00
           Inc.
    463    Gully Transportation, Inc.   7100-000        N/A            N/A                    0.00    0.00

    464    Express Envelopes Unlimited, 7100-000        N/A            N/A                    0.00    0.00
           LLP
    465    Seyfarth Shaw, LLP           7100-000        N/A             74,630.37        74,630.37   14.45

    466U   Brij Chawla                  7100-000              0.00     N/A                 N/A        0.00

    467    U.S. Bankruptcy Court - HSBC 7100-001        N/A                  527.02        527.02     0.10
           Bank Nevada, N.A. (Northern
    468    Landstar Global Logistics    7100-000        N/A            N/A                    0.00    0.00

    469    Landstar Ranger, Inc.        7100-000        N/A            N/A                    0.00    0.00

    470    California State Teachers' 7100-000          N/A            N/A                    0.00    0.00
           Retirement System
    471    California State Teachers' 7100-000          N/A            N/A                    0.00    0.00
           Retirement System
    472    Buchanan Ingersoll & Rooney, 7100-000        N/A            N/A                    0.00    0.00
           PC
    473    TMV Packaging Corp.          7100-000        N/A            N/A                    0.00    0.00

    474    Juanita Birriel              7100-000        N/A            N/A                    0.00    0.00

    475    U.S. Bankruptcy Court -      7100-001        N/A                  891.54        891.54     0.17
           Office Depot



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    476    Southern Graphic Systems,   7100-000         N/A            N/A               0.00    0.00
           Inc.
    477    Polman Transfer, Inc.       7100-000         N/A            N/A               0.00    0.00

    478    Master's Supply Inc.        7100-000         N/A            N/A               0.00    0.00

    479U   WE Energies                 7100-000         N/A            N/A               0.00    0.00

    479U   Liquidity Solutions, Inc.   7100-000         N/A            N/A               0.00    0.00

    480    Presto-X, LLC               7100-000         N/A            N/A               0.00    0.00

    481    U.S. Bankruptcy Court -     7100-001         N/A             3,000.00      3,000.00   0.58
           Inovis
    482    Cocks-Clark Engraving       7100-000         N/A            N/A               0.00    0.00
           Company
    483    Kastwell, Inc.              7100-000         N/A            N/A               0.00    0.00

    484    Walt Power Inline, Inc.     7100-000         N/A            N/A               0.00    0.00

    485    Julie Annette Brown         7100-000         N/A            N/A               0.00    0.00

    487    Mathisen Oil Co., Inc.      7100-000         N/A            N/A               0.00    0.00

    488    U. S. Waste Industries, Inc. 7100-000        N/A            N/A               0.00    0.00

    489U   Massachusetts Department of 7300-000         N/A            N/A               0.00    0.00
           Revenue
    490U   Massachusetts Department of 7300-000         N/A            N/A               0.00    0.00
           Revenue
    491    Christopher Verrett         7100-000         N/A            N/A               0.00    0.00

    492    Alisa Y. Sylla              7100-000         N/A            N/A               0.00    0.00

    493    Georgia Pump                7100-000         N/A            N/A               0.00    0.00

    494    Paoli Envelope Printing     7100-000         N/A            N/A               0.00    0.00
           Company
    495    Paoli Envelope Printing     7100-000         N/A            N/A               0.00    0.00
           Company
    496U   Custom Printing, Inc.       7100-000         N/A            N/A               0.00    0.00

    497    Allison Systems Corp.       7100-000         N/A            N/A               0.00    0.00

    498    Allison Systems Corp.       7100-000         N/A            N/A               0.00    0.00

    499    Allison Systems Corp.       7100-000         N/A            N/A               0.00    0.00

    500    Allison Systems Corp.       7100-000         N/A            N/A               0.00    0.00

    501    Wausau Paper Corp.          7100-000         N/A            N/A               0.00    0.00

    502    Crockett Graphics           7100-000         N/A            N/A               0.00    0.00

    506    LaserSave, Inc.             7100-000         N/A            N/A               0.00    0.00

    507    Overhead Door Company of    7100-000         N/A            N/A               0.00    0.00
           Nashville
    508    Concentra Medical Centers   7100-000         N/A            N/A               0.00    0.00

    509    Ram Industrial Services     7100-000         N/A            N/A               0.00    0.00

    510    Joe's Pools & Spas          7100-000         N/A            N/A               0.00    0.00

    511U   Marco Chemicals, Inc.       7100-000         N/A            N/A               0.00    0.00

    512    G F Puhl Company, Inc.      7100-000         N/A            N/A               0.00    0.00




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    513    RR Donnelley - Bailey Lowery 7100-000        N/A            N/A               0.00   0.00

    514    RR Donnelley - Bailey Lowery 7100-000        N/A            N/A               0.00   0.00

    516    Coverall Service Company     7100-000        N/A            N/A               0.00   0.00

    517    Sarchiz Saraidarian          7100-000        N/A            N/A               0.00   0.00

    518    BST Pro Mark, Inc.           7100-000        N/A            N/A               0.00   0.00

    519    W B Mason Company, Inc.      7100-000        N/A            N/A               0.00   0.00

    520    W B Mason Company, Inc.      7100-000        N/A            N/A               0.00   0.00

    521    Professional Welding Supply, 7100-000        N/A            N/A               0.00   0.00
           Inc.
    522    Hohenschild Welders          7100-000        N/A            N/A               0.00   0.00

    523    L. F. Powers Company, Inc.   7100-000        N/A            N/A               0.00   0.00

    524    Northern Safety Co., Inc.    7100-000        N/A            N/A               0.00   0.00

    525    Sid Boedeker Safety Shoes    7100-000        N/A            N/A               0.00   0.00

    526    Pioneer Credit Opportunities 7100-000        N/A            N/A               0.00   0.00
           Fund, LP
    527    Eastern Bearings, Inc.       7100-000        N/A            N/A               0.00   0.00

    528    Work Wear Safety Shoes       7100-000        N/A            N/A               0.00   0.00

    529    Work Wear Safety Shoes       7100-000        N/A            N/A               0.00   0.00

    530U   Caliz Pallets Inc.           7100-000        N/A            N/A               0.00   0.00

    531    William Montgomery           7100-000        N/A            N/A               0.00   0.00

    532U   PSI Packaging Services       7100-000        N/A            N/A               0.00   0.00

    533    Superior Packaging Concepts, 7100-000        N/A            N/A               0.00   0.00
           Inc.
    534    Watkins Development          7100-000        N/A            N/A               0.00   0.00
           Corporation
    535    Toyo Ink Technologies        7100-000        N/A            N/A               0.00   0.00

    536    Toyo Ink Technologies        7100-000        N/A            N/A               0.00   0.00

    537    Toyo Ink Technologies        7100-000        N/A            N/A               0.00   0.00

    538    Toyo Ink Technologies        7100-000        N/A            N/A               0.00   0.00

    542    Terry Rollins                7100-000        N/A            N/A               0.00   0.00

    543    Cintas #22                   7100-000        N/A            N/A               0.00   0.00

    544    J. Glennon Hrdlicka          7100-000        N/A            N/A               0.00   0.00

    545U   Smart Papers Holdings, LLC   7100-000        N/A            N/A               0.00   0.00

    546    Motor & Gear Engineering,    7100-000        N/A            N/A               0.00   0.00
           Inc.
    547    Gluetech, Inc.               7100-000        N/A            N/A               0.00   0.00

    548    Gluetech, Inc.               7100-000        N/A            N/A               0.00   0.00

    549    Gluetech, Inc.               7100-000        N/A            N/A               0.00   0.00

    550    Gluetech, Inc.               7100-000        N/A            N/A               0.00   0.00




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    551    Hyster New England, Inc.     7100-000        N/A            N/A                0.00   0.00

    552    Ross Express                 7100-000        N/A            N/A                0.00   0.00

    553    Zink Safety Equipment Co.    7100-000        N/A            N/A                0.00   0.00

    554U   Linda Pelletier, Ph.D., CI & 7100-000        N/A            N/A                0.00   0.00
           CT, NAD5
    555    Martin Security Systems      7100-000        N/A            N/A                0.00   0.00

    556    Modern Handling Equipment    7100-000        N/A            N/A                0.00   0.00
           Co.
    557U   RGA/Allied Belting           7100-000        N/A            N/A                0.00   0.00

    558U   Sandler Brothers             7100-000        N/A            N/A                0.00   0.00

    559U   Merritt Interpreting         7100-000        N/A            N/A                0.00   0.00
           Services
    560    Titan Laboratories           7100-000        N/A            N/A                0.00   0.00

    561    Juanita Birriel              7100-000        N/A            N/A                0.00   0.00

    562    Queen Beach Printers, Inc.   7100-000        N/A            N/A                0.00   0.00

    563    Bernadette Print Group       7100-000        N/A            N/A                0.00   0.00

    564    Jet Envelope                 7100-000        N/A            N/A                0.00   0.00

    565    Jet Envelope                 7100-000        N/A            N/A                0.00   0.00

    566    Letter Logic, Inc.           7100-000        N/A            N/A                0.00   0.00

    568    BPM, Inc.                    7100-000        N/A            N/A                0.00   0.00

    569    FC Meyer Packaging, LLC      7100-000        N/A             60,444.56         0.00   0.00

    570    Sterling Paper Co.           7100-000        N/A             11,555.94         0.00   0.00

    571    Juanita Birriel              7100-000        N/A            N/A                0.00   0.00

    572    Rutland Tool                 7100-000        N/A            N/A                0.00   0.00

    573U   Boise White Paper, LLC       7100-000        N/A            344,318.16         0.00   0.00

    574U   Motion Industries, Inc.      7100-000        N/A            N/A                0.00   0.00

    575    Motion Industries, Inc.      7100-000        N/A            N/A                0.00   0.00

    576U   Motion Industries, Inc.      7100-000        N/A            N/A                0.00   0.00

    577    USA Blue Book                7100-000        N/A            N/A                0.00   0.00

    578    Daily Routine Cleaning       7100-000        N/A            N/A                0.00   0.00
           Oshkosh
    579    Konz Wood Products           7100-000        N/A            N/A                0.00   0.00

    581    Goodwin Procter, LLC         7100-000        N/A             58,392.68         0.00   0.00

    582    Wethersfield Offset, Inc.    7100-000        N/A            N/A                0.00   0.00

    583    Custom Recycling, Inc.       7100-000        N/A            N/A                0.00   0.00

    584    Belt Power, LLC              7100-000        N/A            N/A                0.00   0.00

    585    Tidland Corporation          7100-000        N/A            N/A                0.00   0.00

    586    Computer Management          7100-000        N/A            N/A                0.00   0.00
           International



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    587    Bruce Leibowitz              7100-000        N/A            N/A                  0.00   0.00

    588    C & H Distributors, LLC      7100-000        N/A            N/A                  0.00   0.00

    589    Gary's Flowerland            7100-000        N/A            N/A                  0.00   0.00

    590    All That Blooms              7100-000        N/A            N/A                  0.00   0.00

    591    U.S. Bankruptcy Court -      7100-001        N/A                  691.10       691.10   0.13
           Regal Plastic Supply Company
    592    Hooker - Ballew Printing Co. 7100-000        N/A            N/A                  0.00   0.00

    593    B & D Pallet Building & Ind 7100-000         N/A            N/A                  0.00   0.00
           Supply Co., Inc.
    594U   Duerr Packaging Co., Inc.   7100-000         N/A            N/A                  0.00   0.00

    595    Pier Electric, Inc.          7100-000        N/A            N/A                  0.00   0.00

    596U   Bana Box                     7100-000        N/A            N/A                  0.00   0.00

    598    Action Supply Products, Inc. 7100-000        N/A            N/A                  0.00   0.00

    599    Branch One Industrial Sales 7100-000         N/A            N/A                  0.00   0.00

    600    Noren Products, Inc.         7100-000        N/A            N/A                  0.00   0.00

    601    Magid Glove & Safety Mfg.,   7100-000        N/A            N/A                  0.00   0.00
           Co.
    602    Magid Glove & Safety Mfg.,   7100-000        N/A            N/A                  0.00   0.00
           Co.
    603    Schaeffer's Oil              7100-000        N/A            N/A                  0.00   0.00

    604    Valley Roller Company, Inc. 7100-000         N/A            N/A                  0.00   0.00

    605    Cellmark Direct, LLC         7100-000        N/A            N/A                  0.00   0.00

    606    Berry Appleman & Leiden, LLP 7100-000        N/A            N/A                  0.00   0.00

    607    Notechnik U.S. Incorporated 7100-000         N/A            N/A                  0.00   0.00

    608    Park Print                   7100-000        N/A            N/A                  0.00   0.00

    609    Hospital Forms & Systems     7100-000        N/A            N/A                  0.00   0.00
           Corp.
    610    GFA Sales & Services         7100-000        N/A            N/A                  0.00   0.00
           Company, Inc.
    611U   John Bouchard & Sons Co.     7100-000        N/A            N/A                  0.00   0.00

    614    Conversource                 7100-000        N/A            N/A                  0.00   0.00

    615U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    616U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    617U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    618U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    619U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    620U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    621U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    622U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company
    623U   Paper Converting Machine     7100-000        N/A            N/A                  0.00   0.00
           Company



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    624U   Paper Converting Machine     7100-000        N/A            N/A               0.00   0.00
           Company
    625U   Paper Converting Machine     7100-000        N/A            N/A               0.00   0.00
           Company
    626    Paper Converting Machine     7100-000        N/A            N/A               0.00   0.00
           Company
    627    Tekkote Corporation          7100-000        N/A            N/A               0.00   0.00

    628    Tekkote Division of          7100-000        N/A            N/A               0.00   0.00
           Jen-Coat, Inc.
    629U   Brilliant Studios, Inc.      7100-000        N/A            N/A               0.00   0.00

    630    Midwest Pallet Co., Inc.     7100-000        N/A            N/A               0.00   0.00

    632    Steve Gurden                 7100-000        N/A            N/A               0.00   0.00

    633    Southern States Gluing       7100-000        N/A            N/A               0.00   0.00
           Services, Inc.
    634    Southern States Gluing       7100-000        N/A            N/A               0.00   0.00
           Services, Inc.
    635    FedEx Customer Information   7100-000        N/A            N/A               0.00   0.00
           Services
    636    FedEx Customer Information   7100-000        N/A            N/A               0.00   0.00
           Services
    637    FedEx Customer Information   7100-000        N/A            N/A               0.00   0.00
           Services
    638    FedEx Customer Information   7100-000        N/A            N/A               0.00   0.00
           Services
    639    Robert DeRosa                7100-000        N/A            N/A               0.00   0.00

    640    Major Business Systems, Inc. 7100-000        N/A            N/A               0.00   0.00

    642U   Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    643U   Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    644    Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    645    Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    646    Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    647    Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    648U   Tacknologies Ltd.            7100-000        N/A            N/A               0.00   0.00

    658U   Premier Converting, Inc.     7100-000        N/A            N/A               0.00   0.00

    659    Battery Shop of NE, Inc.     7100-000        N/A            N/A               0.00   0.00

    660    DKD Solutions d/b/a Ruby     7100-000        N/A            N/A               0.00   0.00
           Electric
    661    AT&T Corp.                   7100-000        N/A            N/A               0.00   0.00

    662U   Peck Engraving Company       7100-000        N/A            N/A               0.00   0.00

    663    Jackson Lewis, LLC           7100-000        N/A            N/A               0.00   0.00

    664    Pallet Maxx                  7100-000        N/A            N/A               0.00   0.00

    665    Ames Safety Envelope         7100-000        N/A             1,019.42         0.00   0.00

    666    Oliver Mechanical            7100-000        N/A            N/A               0.00   0.00

    667    Kleeberg Sheet Metal, Inc.   7100-000        N/A            N/A               0.00   0.00

    669    Pratt Industries             7100-000        N/A            N/A               0.00   0.00




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    670U   Pennsylvania Department of   7100-000        N/A            N/A                    0.00    0.00
           Revenue
    672U   Pennsylvania Department of   7100-000        N/A            N/A                    0.00    0.00
           Revenue
    673    Staples, Inc.                7100-000        N/A            N/A                    0.00    0.00

    674U   Pennsylvania Department of 7100-000          N/A            N/A                    0.00    0.00
           Revenue
    675U   U.S. Bankruptcy Court - Ford 7100-001        N/A            N/A               10,125.00    1.96
           Motor Credit Company, LLC
    676    Bearings Specialty Co., Inc. 7100-000        N/A            N/A                    0.00    0.00

    677    Kevin A. DuPont              7100-000        N/A            N/A                    0.00    0.00

    678    Fluid Ink Tech               7100-000        N/A            N/A                    0.00    0.00

    679    Fluid Ink Tech               7100-000        N/A            N/A                    0.00    0.00

    680    Temple Air Conditioning      7100-000        N/A            N/A                    0.00    0.00

    681    Manchester Industries, Inc. 7100-000         N/A            N/A                    0.00    0.00

    682U   Strategic Market Alliance    7100-000        N/A            N/A                    0.00    0.00

    683    Pengate Handling Systems,    7100-000        N/A            N/A                    0.00    0.00
           Inc.
    684    Pengate Handling Systems,    7100-000        N/A            N/A                    0.00    0.00
           Inc.
    685    Printware, LLC               7100-000        N/A            N/A                    0.00    0.00

    686    Printware, LLC               7100-000        N/A            N/A                    0.00    0.00

    687    Fastenal Company             7100-000        N/A            N/A                    0.00    0.00

    688    Fastenal Company             7100-000        N/A            N/A                    0.00    0.00

    689U   Fastenal Company             7100-000        N/A            N/A                    0.00    0.00

    690    Nashville Electric Service   7100-000        N/A            N/A                    0.00    0.00

    691    Mid-County Mechanical Corp. 7100-000         N/A            N/A                    0.00    0.00

    692    U. S. Water Services, Inc.   7100-000        N/A            N/A                    0.00    0.00

    693U   Chase Coating & Laminating   7100-000        N/A            N/A                    0.00    0.00

    694    Win Pro Solutions            7100-000        N/A            N/A                    0.00    0.00

    695    Martha Guevara               7100-000        N/A            N/A                    0.00    0.00

    696    Esperanza Martinez           7100-000        N/A            N/A                    0.00    0.00

    697U   Connecticut Department of    7300-000        N/A            N/A                    0.00    0.00
           Revenue Services
    698U   CE Printed Products, Inc.    7100-000        N/A            N/A                    0.00    0.00

    699    U.S. Bankruptcy Court -      7100-001        N/A                  246.80        246.80     0.05
           Wikoff Color Corporation
    700    Suzanne M. Strider           7100-000        N/A            N/A                    0.00    0.00

    701    P H Glatfelter Company       7100-000        N/A             96,953.30        96,953.30   18.78

    702    Gruppo Cordenons, Inc.       7100-000        N/A            N/A                    0.00    0.00

    703    Gruppo Cordenons, Inc.       7100-000        N/A            N/A                    0.00    0.00

    704    Gruppo Cordenons, Inc.       7100-000        N/A            N/A                    0.00    0.00




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    705    Gruppo Cordenons, Inc.       7100-000        N/A            N/A                  0.00    0.00

    706U   FUJI Film North America      7100-000        N/A            N/A                  0.00    0.00
           Corporation
    707    FUJI Film North America      7100-000        N/A            N/A                  0.00    0.00
           Corporation
    708    Graybar Electric Co., Inc.   7100-000        N/A            N/A                  0.00    0.00

    709    Culligan Water Conditioning 7100-000         N/A            N/A                  0.00    0.00

    710    Calumet Carton Company       7100-000        N/A            N/A                  0.00    0.00

    711    Freedom Freight Services,    7100-000        N/A            N/A                  0.00    0.00
           Inc.
    712    Freedom Freight Services,    7100-000        N/A            N/A                  0.00    0.00
           Inc.
    713    Manroland, Inc.              7100-000        N/A            N/A                  0.00    0.00

    714    Gruppo Cordenons, Inc.       7100-000        N/A            N/A                  0.00    0.00

    715    Beechmont Press              7100-000        N/A            N/A                  0.00    0.00

    716    American Express Travel      7100-000        N/A            101,106.73     101,106.73   19.58
           Related Services Co., Inc.
    717U   John Grymes                  7100-000              0.00     N/A                N/A       0.00

    718    Admos Engineering            7100-000        N/A            N/A                  0.00    0.00

    719    Excel Die Corporation        7100-000        N/A            N/A                  0.00    0.00

    720    Advanced Coating &           7100-000        N/A            N/A                  0.00    0.00
           Converting Systems, Inc.
    721    Allied Waste Services        7100-000        N/A            N/A                  0.00    0.00

    722    Allied Waste Services        7100-000        N/A            N/A                  0.00    0.00

    723    Graymills Corporation        7100-000        N/A            N/A                  0.00    0.00

    724    Graymills Corporation        7100-000        N/A            N/A                  0.00    0.00

    725    Graymills Corporation        7100-000        N/A            N/A                  0.00    0.00

    726    Resoft International,        7100-000        N/A            N/A                  0.00    0.00
           LLC.Com
    727    Elliott Electric Supply      7100-000        N/A            N/A                  0.00    0.00

    728    U.S. Bankruptcy Court -      7100-001        N/A             21,885.70      21,885.70    4.24
           Richards-Wilcox, Inc.
    729    Admos Engineering            7100-000        N/A            N/A                  0.00    0.00

    730    Fernando Agudelo             7100-000        N/A            N/A                  0.00    0.00

    731U   Flxon Incorporated           7100-000        N/A            N/A                  0.00    0.00

    732U   Flxon Incorporated           7100-000        N/A            N/A                  0.00    0.00

    733U   Flxon Incorporated           7100-000        N/A            N/A                  0.00    0.00

    734U   Flxon Incorporated           7100-000              0.00     N/A                N/A       0.00

    735    Air Now Supply, Inc.         7100-000        N/A            N/A                  0.00    0.00

    736U   Euler Hermes ACI             7100-000        N/A            N/A                  0.00    0.00

    737    Ryzex, Inc.                  7100-000        N/A            N/A                  0.00    0.00

    738    Ryzex, Inc.                  7100-000        N/A            N/A                  0.00    0.00




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    739U   United States Bankruptcy     7100-001        N/A             20,000.00      14,470.00   2.80
           Court - Richard W. Grear
    740    Safety Shoe Distributors     7100-000        N/A            N/A                  0.00   0.00

    741U   Integrated Filing Solutions 7100-000         N/A            N/A                  0.00   0.00

    742    Ferguson Enterprises, Inc.   7100-000        N/A            N/A                  0.00   0.00

    745    Rylie Transport, Inc.        7100-000        N/A            N/A                  0.00   0.00

    746    Business Forms Plus, Inc.    7100-000        N/A            N/A                  0.00   0.00

    747    American Baler Company       7100-000        N/A            N/A                  0.00   0.00

    748    Information Packaging        7100-000        N/A            N/A                  0.00   0.00
           Corporation
    749    U.S. Bankruptcy Court -      7100-001        N/A              1,184.44       1,184.44   0.23
           PAETEC
    750    The Automation Center        7100-000        N/A            N/A                  0.00   0.00

    751    Jackson-Hirsh, Inc.          7100-000        N/A            N/A                  0.00   0.00

    752    Anthony D. Henson            7100-000        N/A            N/A                  0.00   0.00

    754    Dallas Trailer Repair        7100-000        N/A            N/A                  0.00   0.00

    755    Nelson-Putman Propane Gas,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    756    Airtek, Inc.                 7100-000        N/A            N/A                  0.00   0.00

    757    Nova Printing                7100-000        N/A            N/A                  0.00   0.00

    758    Blue Ridge Paper Products,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    759    Blue Ridge Paper Products,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    761    Blue Ridge Paper Products,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    762    Blue Ridge Paper Products,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    763    Blue Ridge Paper Products,   7100-000        N/A            N/A                  0.00   0.00
           Inc.
    767    Air Now Supply, Inc.         7100-000        N/A            N/A                  0.00   0.00

    768    Beckart Environmental, Inc. 7100-000         N/A            N/A                  0.00   0.00

    769    New England Baling Wire,     7100-000        N/A            N/A                  0.00   0.00
           Inc.
    770U   All-Size Corrugated Products 7100-000        N/A            N/A                  0.00   0.00

    771U   Cra-Wal, Inc.                7100-000        N/A            N/A                  0.00   0.00

    772U   All-Size Box and Packaging   7100-000        N/A            N/A                  0.00   0.00

    773    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00

    774    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00

    775    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00

    776    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00

    777    Praxair Surface              7100-000        N/A            N/A                  0.00   0.00
           Technologies, Inc.
    778    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00

    779    JBM Envelope Co.             7100-000        N/A            N/A                  0.00   0.00




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    780    JBM Envelope Co.            7100-000         N/A            N/A               0.00    0.00

    781    JBM Envelope Co.            7100-000         N/A            N/A               0.00    0.00

    782    JBM Envelope Co.            7100-000         N/A            N/A               0.00    0.00

    785    STS Filing Products, Inc.   7100-000         N/A            N/A               0.00    0.00

    786U   Boise White Paper, LLC      7100-000         N/A            N/A               0.00    0.00

    787    Atmos Energy Corporation    7100-000         N/A            N/A               0.00    0.00

    788U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    789U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    790U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    791U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    792U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    793U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    794U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    795U   Pallett Companies d/b/a IFCO 7100-000        N/A            N/A               0.00    0.00
           Systems
    806    U.S. Bankruptcy Court -      7100-001        N/A             4,152.69      4,152.69   0.80
           Airgas Mid America
    807    Atlantic Gas                 7100-000        N/A            N/A               0.00    0.00
           Light/Elizabethtown Gas
    808U   Curbell Plastics, Inc.       7100-000        N/A            N/A               0.00    0.00

    809    Curbell Plastics, Inc.      7100-000         N/A            N/A               0.00    0.00

    810U   E. I. du Pont de Nemours and 7100-000        N/A            N/A               0.00    0.00
           Company
    811U   E. I. du Pont de Nemours and 7100-000        N/A            N/A               0.00    0.00
           Company
    812U   Black Box Network Services 7100-000          N/A            N/A               0.00    0.00

    813    Waste Management - RMC      7100-000         N/A            N/A               0.00    0.00

    814    Allegheny Power             7100-000         N/A            N/A               0.00    0.00

    815    Paoli Envelope Printing     7100-000         N/A            N/A               0.00    0.00
           Company
    816    Concentric Machine &        7100-000         N/A            N/A               0.00    0.00
           Grinding, Inc.
    817    BBF Printing Solutions      7100-000         N/A            N/A               0.00    0.00

    818    Kyana Packaging & Industrial 7100-000        N/A            N/A               0.00    0.00
           Supply
    819    Rene L. Cote Sons, Inc.      7100-000        N/A            N/A               0.00    0.00

    820U   Massachusetts Department of 7300-000         N/A            N/A               0.00    0.00
           Revenue
    821U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    822    Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    823U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    824U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00

    825U   Contrarian Funds, LLC       7100-000         N/A            N/A               0.00    0.00




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    826U   Contrarian Funds, LLC        7100-000        N/A            N/A                   0.00      0.00

    827U   Contrarian Funds, LLC        7100-000        N/A            N/A                   0.00      0.00

    828    Contrarian Funds, LLC        7100-000        N/A            N/A                   0.00      0.00

    829U   Contrarian Funds, LLC        7100-000        N/A            N/A                   0.00      0.00

    830    Stine Gear & Machine Co.,    7100-000        N/A            N/A                   0.00      0.00
           Inc.
    831    Stine Gear & Machine Co.,    7100-000        N/A            N/A                   0.00      0.00
           Inc.
    832    Stine Gear & Machine Co.,    7100-000        N/A            N/A                   0.00      0.00
           Inc.
    833    Stine Gear & Machine Co.,    7100-000        N/A            N/A                   0.00      0.00
           Inc.
    834U   MRO Supply Company           7100-000        N/A            N/A                   0.00      0.00

    835    Local 807 Labor-Management   7100-000        N/A          2,250,251.00     2,250,251.00   435.81
           Pension Fund
    837    ePlus Technology, Inc.       7100-000        N/A            N/A                   0.00      0.00

    838    Rye Barker Fire & Safety,   7100-000         N/A            N/A                   0.00      0.00
           Inc.
    839U   Quality Roller Supply, Inc. 7100-000         N/A            N/A                   0.00      0.00

    840U   Xeric Web Drying Systems     7100-000        N/A            N/A                   0.00      0.00

    841    Faith Technologies, Inc.     7100-000        N/A            N/A                   0.00      0.00

    842    Kaufman Co., Inc.            7100-000        N/A            N/A                   0.00      0.00

    844U   Hybrid Integration, Inc.     7100-000        N/A            N/A                   0.00      0.00

    845    Chapman Computers            7100-000        N/A            N/A                   0.00      0.00

    846    Prime Systems, Inc.          7100-000        N/A            N/A                   0.00      0.00

    847    Olympic Wire & Equipment     7100-000        N/A            N/A                   0.00      0.00
           Co., Inc.
    848    29-10 Hunters Point Avenue   7100-000        N/A            N/A                   0.00      0.00
           Co., LLC
    850    29-10 Hunters Point Avenue   7100-000        N/A            N/A                   0.00      0.00
           Co., LLC
    851    Cenveo Corporation           7100-000        N/A            N/A                   0.00      0.00

    852    Cenveo Corporation           7100-000        N/A            N/A                   0.00      0.00

    853    Cenveo Corporation           7100-000        N/A            N/A                   0.00      0.00

    854    Cenveo Corporation           7100-000        N/A            N/A                   0.00      0.00

    855    Cenveo Corporation           7100-000        N/A            N/A                   0.00      0.00

    856    U.S. Bankruptcy Court -      7100-001        N/A                  37.37          37.37      0.01
           Cenveo Corporation
    860    Shelby Propane Plus          7100-000        N/A            N/A                   0.00      0.00

    860    Sierra Liquidity Fund, LLC   7100-000        N/A            N/A                   0.00      0.00

    861    OEC Graphics, Inc.           7100-000        N/A            N/A                   0.00      0.00

    862    OEC Graphics, Inc.           7100-000        N/A            N/A                   0.00      0.00

    863    Kentucky Utilities Company   7100-000        N/A            N/A                   0.00      0.00

    864U   Gunther H. Hadamovsky        7100-000        N/A            N/A                   0.00      0.00




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    865    Cedar Glade, LP              7100-000        N/A            N/A                  0.00   0.00

    866U   W. W. Grainger, Inc.         7100-000        N/A            N/A                  0.00   0.00

    867    333 Earl Ovington Boulevard 7100-000         N/A            N/A                  0.00   0.00
           SPE, LLC
    869    Papercone Corporaton        7100-000         N/A            N/A                  0.00   0.00

    870    Papercone Corporation        7100-000        N/A            N/A                  0.00   0.00

    871    Papercone Corporation        7100-000        N/A            N/A                  0.00   0.00

    872    Papercone Corporation        7100-000        N/A            N/A                  0.00   0.00

    873    Papercone Corporation        7100-000        N/A            N/A                  0.00   0.00

    874    Papercone Corporation        7100-000        N/A            N/A                  0.00   0.00

    877    Printware, LLC               7100-000        N/A            N/A                  0.00   0.00

    879    Howard Cook                  7100-000        N/A             50,000.00      50,000.00   9.68

    891U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    892U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    893U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    894U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    895U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    896U   W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    897U   S & W Manufacturing, Inc.    7100-000        N/A            N/A                  0.00   0.00

    898    Applied Industrial           7100-000        N/A            N/A                  0.00   0.00
           Technologies - Dixie, Inc.
    899    Applied Industrial           7100-000        N/A            N/A                  0.00   0.00
           Technologies - PA, LLC
    900    Applied Industrial           7100-000        N/A            N/A                  0.00   0.00
           Technologies, Inc.
    901    Applied Industrial           7100-000        N/A            N/A                  0.00   0.00
           Technologies - Mainline
    902    Pallet Central Enterprises   7100-000        N/A            N/A                  0.00   0.00

    903    Pallet Central Enterprises   7100-000        N/A            N/A                  0.00   0.00

    904    CTI Paper USA                7100-000        N/A            N/A                  0.00   0.00

    905    CTI Paper USA                7100-000        N/A            N/A                  0.00   0.00

    906    CTI Paper USA                7100-000        N/A            N/A                  0.00   0.00

    907    CTI Paper USA                7100-000        N/A            N/A                  0.00   0.00

    910U   W + D Machinery Co., Inc..   7100-000        N/A            N/A                  0.00   0.00

    911    W + D Machinery Co., Inc.    7100-000        N/A            N/A                  0.00   0.00

    912U   Appleton Coated, LLC         7100-000        N/A            N/A                  0.00   0.00

    913U   Appleton Coated, LLC         7100-000        N/A            N/A                  0.00   0.00

    914U   Gadge USA, Inc.              7100-000        N/A            N/A                  0.00   0.00

    915U   U.S. Bankruptcy Court -      7100-001        N/A          2,546,617.53       1,148.00   0.22
           Gadge USA, Inc.



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    916U   Gadge USA, Inc.             7100-000        N/A          2,546,617.53         0.00   0.00

    917U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    918U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    919U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    920U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    921U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    922U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    923U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    924U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    925U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    926U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    927U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    928U   Gadge USA, Inc.             7100-000        N/A            N/A                0.00   0.00

    929U   Appleton Coated, LLC        7100-000        N/A            N/A                0.00   0.00

    931    PAC Worldwide Corp.         7100-000        N/A            N/A                0.00   0.00

    932U   PAC Worldwide Corp.         7100-000        N/A            N/A                0.00   0.00

    933U   PAC Worldwide Corp.         7100-000        N/A            N/A                0.00   0.00

    934    PAC Worldwide Corp.         7100-000        N/A            N/A                0.00   0.00

    935U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    936U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    937U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    938U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    939U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    940    Printing Specialties and    7100-000        N/A            N/A                0.00   0.00
           Paper Products
    941    Liberty Mutual Insurance    7100-000        N/A            N/A                0.00   0.00
           Company
    942U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    943U   INX International Ink Co.   7100-000        N/A            N/A                0.00   0.00

    944    R & S Saw & Knife Co.       7100-000        N/A            N/A                0.00   0.00

    945    Stork Cellramic, Inc.       7100-000        N/A            N/A                0.00   0.00

    946U   Connemara Converting, LLC   7100-000        N/A            N/A                0.00   0.00

    947U   Connemara Converting, LLC   7100-000        N/A             44,977.24         0.00   0.00

    948U   Connemara Converting, LLC   7100-000        N/A            N/A                0.00   0.00

    949U   Finch Paper, LLC            7100-000        N/A            N/A                0.00   0.00

    950    Finch Paper, LLC            7100-000        N/A            N/A                0.00   0.00




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    951U   Finch Paper, LLC             7100-000        N/A            N/A               0.00   0.00

    952U   Finch Paper, LLC             7100-000        N/A            N/A               0.00   0.00

    953    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    954    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    955    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    956    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    957    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    958    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    959    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    960    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    961    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    962    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    963    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    964    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    965    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    966    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    967    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    968    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    969    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    970    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    971    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    972    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    973    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    974    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    975    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    976    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    977    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    978    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    979    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    980    Florette D. Ungar Shaashua   7100-000        N/A            N/A               0.00   0.00

    981    Halm Industries Co., Inc.    7100-000        N/A            N/A               0.00   0.00

    982U   Halm Industries Co., Inc.    7100-000        N/A            N/A               0.00   0.00

    983    Halm Industries Co., Inc.    7100-000        N/A            N/A               0.00   0.00

    984    Halm Industries Co., Inc.    7100-000        N/A            N/A               0.00   0.00




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    985     Halm Industries Co., Inc.   7100-000         N/A            N/A                  0.00      0.00

    986U    Neenah Paper, Inc.          7100-000         N/A          1,052,987.53    1,052,987.53   203.93

    987U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    988U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    989U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    990U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    991U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    992U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    993U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    994U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    995U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    996U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    997U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    998U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    999U    Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    FITU    EFTPS                       7100-000         N/A            N/A            413,078.40     80.00

    1000U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1001U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1002U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1003U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1004U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1005U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1006U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1007U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1008U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1009U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1010U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1011U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1012U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1013U   Neenah Paper, Inc.          7100-000         N/A            N/A                  0.00      0.00

    1014U   Borders Folding Carton, Inc. 7100-000        N/A            N/A                  0.00      0.00

    1015U   Borders Folding Carton, Inc. 7100-000        N/A            N/A                  0.00      0.00

    1016    Borders Folding Carton, Inc. 7100-000        N/A            N/A                  0.00      0.00

    1017U   Borders Folding Carton, Inc. 7100-000        N/A            N/A                  0.00      0.00




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    1018U   Borders Folding Carton, Inc. 7100-000         N/A            N/A               0.00    0.00

    1019U   Borders Folding Carton, Inc. 7100-000         N/A            N/A               0.00    0.00

    1020    AA Truck Renting Corp.        7100-000        N/A            N/A               0.00    0.00

    1021    U.S. Bankruptcy Court -      7100-001         N/A             6,000.00      6,000.00   1.16
            Thomson Reuters (Property
    1022    Pak West Paper and Packaging 7100-000         N/A            N/A               0.00    0.00

    1023    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1024    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1025    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1026    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1027    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1028    Sumner Group, Inc. d/b/a      7100-000        N/A            N/A               0.00    0.00
            Datamax of Texas
    1029U   Northeast Wholesale Lumber,   7100-000        N/A            N/A               0.00    0.00
            Inc.
    1030U   Contrarian Funds, LLC         7100-000        N/A            N/A               0.00    0.00

    1031U   Contrarian Funds, LLC         7100-000        N/A            N/A               0.00    0.00

    1032U   Contrarian Funds, LLC         7100-000        N/A            N/A               0.00    0.00

    1033U   Envelope Mart USA             7100-000        N/A            N/A               0.00    0.00

    1035U   Cascades Fine Papers Group, 7100-000          N/A            N/A               0.00    0.00
            Inc.
    1036U   Cascades East Angus         7100-000          N/A            N/A               0.00    0.00

    1037U   Cascades East Angus           7100-000        N/A            N/A               0.00    0.00

    1038U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1039U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1040U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1041U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1042U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1043U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1044U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1045U   National Union Fire Ins Co    7100-000        N/A            N/A               0.00    0.00
            of Pittsburgh, PA
    1047    Pace Industry Union-Mgmt      7100-000        N/A            N/A               0.00    0.00
            Pension Fund
    1048    Dupli Envelope & Graphics     7100-000        N/A            N/A               0.00    0.00

    1049    Anchor Electric, LLC          7100-000        N/A            N/A               0.00    0.00

    1050    Summit Adhesives, Inc.        7100-000        N/A            N/A               0.00    0.00

    1051U   Sierra Liquidity Fund, LLC    7100-000        N/A            N/A               0.00    0.00

    1053    Christopher A. Bowles         7100-000        N/A            N/A               0.00    0.00

    1054    Printers Parts Superstore     7100-000        N/A            N/A               0.00    0.00




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    1055U   Pace Industry Union-Mgmt     7100-000        N/A            N/A                  0.00      0.00
            Pension Fund
    1056    Roger J. Smielecki           7100-000        N/A            N/A                  0.00      0.00

    1057U   Plastic Suppliers, Inc.      7100-000        N/A          1,478,009.11    1,478,009.11   286.25

    1058U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1059U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1060U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1061    Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1062U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1063U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1064U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1065U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1066U   Plastic Suppliers, Inc.      7100-000        N/A            N/A                  0.00      0.00

    1067    American Eagle Paper Mills   7100-000        N/A            N/A                  0.00      0.00

    1068    American Eagle Paper Mills   7100-000        N/A            N/A                  0.00      0.00

    1069U   American Eagle Paper Mills   7100-000        N/A            N/A                  0.00      0.00

    1070    American Eagle Paper Mills   7100-000        N/A            N/A                  0.00      0.00

    1071    H. B. South Printing, Inc.   7100-000        N/A            N/A                  0.00      0.00

    1072    Vernon Morlan                7100-000        N/A            N/A                  0.00      0.00

    1073U   Westfield Gas & Electric     7100-000        N/A            N/A                  0.00      0.00
            Light
    1074    Rareform Carting, Inc.       7100-000        N/A            N/A                  0.00      0.00

    1075    Nathan F. Moser              7100-000        N/A            N/A                  0.00      0.00

    1076    Nathan F. Moser              7100-000        N/A          1,289,294.10           0.00      0.00

    1077U   Marathon Cutting Die Co      7100-000        N/A            N/A                  0.00      0.00

    1078    Marathon Cutting Die Co      7100-000        N/A            N/A                  0.00      0.00

    1079    Marathon Cutting Die Co      7100-000              0.00     N/A                N/A         0.00

    1080U   Marathon Cutting Die Co      7100-000        N/A            N/A                  0.00      0.00

    1081U   Marathon Cutting Die Co      7100-000        N/A            N/A                  0.00      0.00

    1082U   Marathon Cutting Die Co      7100-000        N/A            N/A                  0.00      0.00

    1083    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00

    1084    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00

    1085    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00

    1086    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00

    1087    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00

    1088    Rita Moser                   7100-000        N/A            N/A                  0.00      0.00




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    1089   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1090   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1091   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1092   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1093   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1094   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1095   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1096   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1097   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1098   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1099   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1100   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1101   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1102   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1103   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1104   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1105   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1106   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1107   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1108   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1109   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1110   Rita Moser                7100-000        N/A            N/A               0.00   0.00

    1111   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1112   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1113   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1114   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1115   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1116   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1117   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1118   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1119   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1120   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1121   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00

    1122   Denise U. Stern           7100-000        N/A            N/A               0.00   0.00




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    1123   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1124   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1125   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1126   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1127   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1128   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1129   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1130   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1131   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1132   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1133   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1134   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1135   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1136   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1137   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1138   Denise U. Stern        7100-000        N/A            N/A               0.00   0.00

    1139   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1140   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1141   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1142   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1143   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1144   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1145   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1146   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1147   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1148   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1149   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1150   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1151   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1152   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1153   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1154   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1155   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1156   William Ungar          7100-000        N/A            N/A               0.00   0.00




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    1157   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1158   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1159   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1160   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1161   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1162   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1163   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1164   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1165   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1166   William Ungar          7100-000        N/A            N/A               0.00   0.00

    1167   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1168   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1169   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1170   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1171   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1172   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1173   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1174   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1175   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1176   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1177   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1178   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1179   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1180   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1181   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1182   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1183   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1184   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1185   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1186   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1187   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1188   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1189   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1190   Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00




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    1191    Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1192    Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1193    Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1194    Nathan F. Moser        7100-000        N/A            N/A               0.00   0.00

    1195    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1196    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1197    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1198    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1199    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1200    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1201    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1202    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1203    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1204    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1205    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1206    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1207    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1208    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1209    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1210    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1211    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1212    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1213    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1214    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1215    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1216    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1217    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1218    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1219    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1220    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1221    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1222    Leslie F. Stern        7100-000        N/A            N/A               0.00   0.00

    1223    Susan Hrdlicka         7100-000        N/A            N/A               0.00   0.00

    1224U   J. Glennon Hrdlicka    7100-000        N/A            N/A               0.00   0.00




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    1225    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1226    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1227    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1228    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1229    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1230    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1231    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1232    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1233    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1234    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1235    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1236    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1237    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1238    GCIU - Employer Retirement   7100-000        N/A          6,541,957.00    6,541,957.00   1,266.98
            Fund
    1239    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1240    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1241    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1242    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1243    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1244    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1245    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1246    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1247    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1248    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1249    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1250    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1251    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1252    GCIU - Employer Retirement   7100-000        N/A            N/A                  0.00       0.00
            Fund
    1253    Verizon                      7100-000        N/A            N/A                  0.00       0.00

    1254    U.S. Bankruptcy Court -      7100-001        N/A             4,797.69        4,797.69       0.93
            Verizon
    1255    IWCO Direct                  7100-000        N/A            N/A                  0.00       0.00

    1256    U.S. Bankruptcy Court - Ford 7100-001        N/A            N/A             10,125.00       1.96
            Motor Credit Company, LLC
    1257U   Print Partners, LLC          7100-000        N/A            N/A                  0.00       0.00

    1258    City of Chino                7100-000        N/A            N/A                  0.00       0.00




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    1259U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1260U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1261U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1262U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1263U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1264U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1265U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1266U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1267U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1268U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1269U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1270U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1271U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1272U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1273U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1274U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1275U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1276U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1277U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1278U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1279U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1280U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1281U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1282U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1283U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1284U   National Integrated Group   7100-000        N/A          4,622,804.00    4,192,594.00   811.98
            Pension Plan
    1285U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1286U   National Integrated Group   7100-000        N/A            N/A                  0.00      0.00
            Pension Plan
    1287    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00

    1288    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00

    1289    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00

    1290    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00

    1291    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00

    1292    2nd Ungar Trust             7100-000        N/A            N/A                  0.00      0.00




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    1293   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1294   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1295   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1296   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1297   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1298   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1299   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1300   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1301   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1302   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1303   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1304   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1305   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1306   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1307   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1308   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1309   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1310   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1311   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1312   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1313   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1314   2nd Ungar Trust         7100-000        N/A            N/A               0.00   0.00

    1315   Wells Fargo Financial   7100-000        N/A            N/A               0.00   0.00
           Capital Finance
    1317   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1318   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1319   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1320   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1321   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1322   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1323   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1324   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1325   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1326   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00

    1327   Joan Ungar Levy         7100-000        N/A            N/A               0.00   0.00




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    1328    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1329    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1330    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1331    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1332    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1333    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1334    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1335    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1336    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1337    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1338    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1339    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1340    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1341    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1342    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1343    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1344    Joan Ungar Levy             7100-000         N/A            N/A                  0.00   0.00

    1345    Avery Levy                  7100-000         N/A            N/A                  0.00   0.00

    1346U   Spirit Finance Acquisition, 7100-000         N/A            N/A                  0.00   0.00
            LLC
    1347    Prologis Trust              7100-000         N/A            N/A                  0.00   0.00

    1348U   Constellation NewEnergy,    7100-000         N/A            N/A                  0.00   0.00
            Inc.
    1349U   Constellation NewEnergy,    7100-000         N/A            N/A                  0.00   0.00
            Inc.
    1350    W. C. Industrial Supply     7100-000         N/A            N/A                  0.00   0.00

    1352    Cintas Corporation          7100-000         N/A            N/A                  0.00   0.00

    1353U   Iron Mountain Information   7100-000         N/A            N/A                  0.00   0.00
            Management, Inc.
    1354U   Natura Products, Inc.       7100-000         N/A            N/A                  0.00   0.00

    1355U   Marathon Cutting Die Co     7100-000         N/A            N/A                  0.00   0.00

    1356    AT&T c/o BellSouth           7100-000        N/A            N/A                  0.00   0.00
            Telecommunications, Inc.
    1357    AT&T c/o BellSouth           7100-000        N/A            N/A                  0.00   0.00
            Telecommunications, Inc.
    1358    AT&T c/o BellSouth           7100-000        N/A            N/A                  0.00   0.00
            Telecommunications, Inc.
    1359    AT&T c/o Southwestern Bell 7100-000          N/A            N/A                  0.00   0.00
            Telephone Co.
    1360    AT&T c/o Wisconsin Bell,     7100-000        N/A            N/A                  0.00   0.00
            Inc.
    1361    AT&T c/o Wisconsin Bell,     7100-000        N/A            N/A                  0.00   0.00
            Inc.
    1362    U.S. Bankruptcy Court - AT&T 7100-001        N/A                  681.32       681.32   0.13
            c/o Illinois Bell Telephone



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    1363    U.S. Bankruptcy Court - AT&T 7100-001        N/A                  76.90         76.90    0.01
            c/o Wisconsin Bell, Inc.
    1364    U.S. Bankruptcy Court - AT&T 7100-001        N/A             10,359.48       10,359.48   2.01
            c/o Southwestern Bell
    1365U   Sierra Liquidity Fund, LLC 7100-000          N/A            N/A                   0.00   0.00

    1366    Graphic Associates           7100-000        N/A            N/A                   0.00   0.00

    1366    Sierra Liquidity Fund, LLC   7100-000        N/A            N/A                   0.00   0.00

    1367    Fleet Business Products,     7100-000        N/A            N/A                   0.00   0.00
            Inc.
    1368    Solutions Network, Inc.      7100-000        N/A            N/A                   0.00   0.00

    1369    Solutions Network, Inc.      7100-000        N/A            N/A                   0.00   0.00

    1370    GE Commercial Finance        7100-000        N/A            N/A                   0.00   0.00
            Busines Property Corp.
    1372    Crossroad Carriers           7100-000        N/A            N/A                   0.00   0.00

    1373    Fulbright & Jaworski, LLP    7100-000        N/A            N/A                   0.00   0.00

    1374    Ris Paper Company, Inc.      7100-000        N/A            N/A                   0.00   0.00

    1375U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1376U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1377U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1378U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1379U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1380U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1381U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1382U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1383U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1384U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1385U   American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1386    American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1387    American Holt Corp.          7100-000        N/A            N/A                   0.00   0.00

    1388    UNITE-HERE & Its Local 2654 7100-000         N/A            N/A                   0.00   0.00

    1389    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1390    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1391    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1392    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1393    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1394    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00

    1395    Domtar Industries, Inc.      7100-000        N/A            N/A                   0.00   0.00

    1396    Domtar Paper Company, LLC    7100-000        N/A            N/A                   0.00   0.00




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    1397    Helena Kikta, et al.       7100-000        N/A            N/A                0.00   0.00

    1398U   ESIS, Inc.                 7100-000        N/A            N/A                0.00   0.00

    1399    Hall 3211 Internet, Ltd.   7100-000        N/A            N/A                0.00   0.00

    1429    Pension Benefit Guaranty   7100-000        N/A            N/A                0.00   0.00
            Corporation
    1432    Pension Benefit Guaranty   7100-000        N/A            N/A                0.00   0.00
            Corporation
    1436    Pension Benefit Guaranty   7100-000        N/A            N/A                0.00   0.00
            Corporation
    1444U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1445U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1446U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1447U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1448U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1449U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1450U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1451U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1452U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1453U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1454U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1455U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1456U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1457U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1458U   Multi-Plastics, Inc.       7100-000        N/A          2,682,376.83         0.00   0.00

    1459U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1460U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1461U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1462U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1463U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1464U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1465U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1466U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1467U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1468U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1469U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1470U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00

    1471U   Multi-Plastics, Inc.       7100-000        N/A            N/A                0.00   0.00




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    1472    John Dicken                 7100-000        N/A            N/A                  0.00   0.00

    1473    Design Packaging, Inc.      7100-000        N/A            N/A                  0.00   0.00

    1474    Printers Service Co.        7100-000        N/A            N/A                  0.00   0.00

    1475    Printers Service Co.        7100-000        N/A            N/A                  0.00   0.00

    1476    Printers Service Co.        7100-000        N/A            N/A                  0.00   0.00

    1477    Maybury Associates, Inc.    7100-000        N/A            N/A                  0.00   0.00

    1478    UNITE-HERE & Its Local 2654 7100-000        N/A            N/A                  0.00   0.00

    1479    Sergey V. Morgun            7100-000        N/A            N/A                  0.00   0.00

    1480    Sergey Nikitin              7100-000        N/A            N/A                  0.00   0.00

    1483    Beaver Drill & Tool Company 7100-000        N/A            N/A                  0.00   0.00

    1484    Power Motion Sales, Inc.    7100-000        N/A            N/A                  0.00   0.00

    1485U   International Business      7100-000        N/A            N/A                  0.00   0.00
            Systems, Inc.
    1486    Daedal Group, Inc.          7100-000        N/A            N/A                  0.00   0.00

    1487    SimplexGrinnell             7100-000        N/A            N/A                  0.00   0.00

    1490    Level 3 Communications, LLC 7100-000        N/A            N/A                  0.00   0.00

    1492    Excel Transportation        7100-000        N/A            N/A                  0.00   0.00
            Services, Inc.
    1493U   Kentucky Department of      7300-000        N/A             92,271.70           0.00   0.00
            Revenue
    1494    MBO America, Inc.           7100-000        N/A            N/A                  0.00   0.00

    1495U   Frank Parsons, Inc.         7100-000        N/A            N/A                  0.00   0.00

    1496U   ELW Manufacturing, Inc.     7100-000        N/A            N/A                  0.00   0.00

    1497U   ELW Manufacturing, Inc.     7100-000        N/A            N/A                  0.00   0.00

    1498    ELW Manufacturing, Inc.     7100-000        N/A            N/A                  0.00   0.00

    1499    Rimini Street, Inc.         7100-000        N/A            N/A                  0.00   0.00

    1500    Amidon Graphics             7100-000        N/A            N/A                  0.00   0.00

    1501    Amidon Graphics             7100-000        N/A            N/A                  0.00   0.00

    1502    PetroCard Systems           7100-000        N/A            N/A                  0.00   0.00

    1504    Ryder Truck Rental, Inc.    7100-000        N/A            N/A                  0.00   0.00

    1505U   Ohio Attorney General       7100-000        N/A            N/A                  0.00   0.00

    1505U   Ohio Attorney General       7300-000        N/A            N/A                  0.00   0.00

    1506    Custom Index, Inc.          7100-000        N/A            N/A                  0.00   0.00

    1507    New Leaf Paper, LLC         7100-000        N/A            N/A                  0.00   0.00

    1508    Con-Way Freight, Inc.       7100-000        N/A                  528.69         0.00   0.00

    1509    McKenneys, Inc.             7100-000        N/A            N/A                  0.00   0.00

    1511U   State Board of Equalization 7100-000        N/A            N/A                  0.00   0.00




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    1514    Magnum Builders, Inc.         7100-000        N/A            N/A                  0.00    0.00

    1515    Executive Management          7100-000        N/A            N/A                  0.00    0.00
            Services
    1516    Rocky's Hardware, Inc.        7100-000        N/A            N/A                  0.00    0.00

    1517U   Wisconsin Department of       7300-000        N/A            N/A                  0.00    0.00
            Revenue
    1518    Mastermans, LLP               7100-000        N/A            N/A                  0.00    0.00

    1519    Mastermans, LLP               7100-000        N/A            N/A                  0.00    0.00

    1520    U.S. Bankruptcy Court -       7100-001        N/A              5,088.93       5,088.93    0.99
            Pitney Bowes Global
    1521U   Florida Department of         7300-000        N/A            N/A                  0.00    0.00
            Revenue
    1522    U.S. Bankruptcy Court -       7100-001        N/A              5,406.61       5,406.61    1.05
            Pitney Bowes Global
    1523    333 Earl Ovington Boulevard   7100-000        N/A            N/A                  0.00    0.00
            SPE, LLC
    1534    U.S. Bankruptcy Court -       7100-001        N/A             23,763.48      23,763.48    4.60
            Pitney Bowes Global
    1539U   Tennessee Department of       7100-000        N/A            N/A                  0.00    0.00
            Revenue
    1540    Tennessee Department of       7100-000        N/A            N/A                  0.00    0.00
            Revenue
    1541    New Jersey Dept. of           7100-000        N/A            N/A                  0.00    0.00
            Environmental Protection
    1542    New Jersey Dept. of           7100-000        N/A            N/A                  0.00    0.00
            Environmental Protection
    1544U   California Franchise Tax      7300-000        N/A            N/A                  0.00    0.00
            Board
    1545U   California Franchise Tax      7300-000        N/A            N/A                  0.00    0.00
            Board
    1546U   California Franchise Tax      7300-000        N/A            N/A                  0.00    0.00
            Board
    1547    Kathleen Zaffina, Tax         7100-000        N/A            N/A                  0.00    0.00
            Collector
    1548    Eastman Kodak Company         7100-000        N/A            N/A                  0.00    0.00

    1549    U.S. Bankruptcy Court - Key 7100-001          N/A              5,668.79       5,668.79    1.10
            Equipment Finance, Inc.
    1550    Hyrum Douglas Evans         7100-000          N/A            N/A                  0.00    0.00

    1551    United States Bankruptcy      7100-001        N/A             86,975.20      86,975.20   16.84
            Court - Mary Agnes Overton
    1553U   Internal Revenue Service      7300-000        N/A            N/A                  0.00    0.00

    1555    Midwest Industrial Rubber, 7100-000           N/A            N/A                  0.00    0.00
            Inc.
    1556    Midwest Industrial Rubber, 7100-000           N/A            N/A                  0.00    0.00
            Inc.
    1557U   Terence Markham d/b/a Unisan 7100-000         N/A            N/A                  0.00    0.00
            Products
    1558    2nd Ungar Trust              7100-000         N/A            N/A                  0.00    0.00

    1559    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00

    1560    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00

    1561    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00

    1562    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00

    1563    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00

    1564    2nd Ungar Trust               7100-000        N/A            N/A                  0.00    0.00




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    1565    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1566    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1567    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1568    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1569    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1570    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1571    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1572    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1573    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1574    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1575    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1576    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1577    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1578    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1579    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1580    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1581    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1582    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1583    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1584    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1585    2nd Ungar Trust              7100-000        N/A            N/A                  0.00   0.00

    1615    ADP, Inc.                    7100-000        N/A            N/A                  0.00   0.00

    1616    ADT Security Services, Inc. 7100-000         N/A                  929.91         0.00   0.00

    1617    ADT Security Services, Inc. 7100-000         N/A             7,491.68            0.00   0.00

    1618    Associated Bag Company       7100-000        N/A            N/A                  0.00   0.00

    1619    California State Teachers'   7100-000        N/A            N/A                  0.00   0.00
            Retirement System
    1620    California State Teachers'   7100-000        N/A            N/A                  0.00   0.00
            Retirement System
    1621    GE Commercial Finance        7100-000        N/A            N/A                  0.00   0.00
            Busines Property Corp.
    1622    Sign Studios                 7100-000        N/A            N/A                  0.00   0.00

    1623U   Aramark Uniform & Career     7100-000        N/A            N/A                  0.00   0.00
            Apparel, LLC
    1626    Southern California Gas      7100-000        N/A            N/A                  0.00   0.00
            Company
    1627    Getty Images                 7100-000        N/A            N/A                  0.00   0.00

    1628    General Electric Capital     7100-000        N/A            N/A                  0.00   0.00
            Corporation
    1629    Duplicator Sales & Services, 7100-000        N/A            N/A                  0.00   0.00
            Inc.



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    1630    Duplicator Sales & Services, 7100-000         N/A            N/A                   0.00      0.00
            Inc.
    1631    Masterpiece Litho, Inc.      7100-000         N/A            N/A                   0.00      0.00

    1632    Cintas Corporation            7100-000        N/A            N/A                   0.00      0.00

    1633    Cintas Corporation            7100-000        N/A            N/A                   0.00      0.00

    1634U   Colorado Department of        7100-000              0.00     N/A                N/A          0.00
            Revenue
    1635U   ESIS, Inc.                    7100-000        N/A            N/A                   0.00      0.00

    1636    U.S. Bankruptcy Court - Ford 7100-001         N/A              6,087.99        6,087.99      1.18
            Motor Credit Company, LLC
    1637    U.S. Bankruptcy Court - Ford 7100-001         N/A              6,087.99        6,087.99      1.18
            Motor Credit Company, LLC
    1638U   Internal Revenue Service     7300-000         N/A            N/A                   0.00      0.00

    1639U   Airgas Safety, Inc.           7100-000        N/A            N/A                   0.00      0.00

    1640    George R. Rediker             7100-000        N/A            N/A                   0.00      0.00

    1642U   Georgia Power Company         7100-000        N/A            N/A                   0.00      0.00

    1643    Pace Industry Union-Mgmt      7100-000        N/A            N/A                   0.00      0.00
            Pension Fund
    1644    U.S. Bankruptcy Court -       7100-001        N/A              2,008.91        2,008.91      0.39
            Verizon
    1645U   US Bancorp Business Equip.    7100-000        N/A             13,006.56      47,435.55       9.19
            Finance Group
    1647    Ballabox Company, Inc.        7100-000        N/A            N/A                   0.00      0.00

    1648    AT&T Corp.                    7100-000        N/A            N/A                   0.00      0.00

    1650    Zep Manufacturing Company     7100-000        N/A            N/A                   0.00      0.00

    1651    Robert Edwards                7100-000        N/A            N/A                   0.00      0.00

    1652    Robert Edwards                7100-000        N/A            N/A                   0.00      0.00

    1653    Robert Edwards                7100-000        N/A            N/A                   0.00      0.00

    1654    Debra Edwards                 7100-000        N/A            N/A                   0.00      0.00

    1655    Debra Edwards                 7100-000        N/A            N/A                   0.00      0.00

    1656    Debra Edwards                 7100-000        N/A            N/A                   0.00      0.00

    1657U   Massachusetts Department of   7300-000        N/A            N/A                   0.00      0.00
            Revenue
    1667U   Pension Benefit Guaranty      7100-000        N/A            N/A                   0.00      0.00
            Corporation
    1668U   Pension Benefit Guaranty      7100-000        N/A            579,020.00            0.00      0.00
            Corporation
    1669U   Pension Benefit Guaranty      7100-000        N/A             15,613.00   12,331,866.00   2,388.31
            Corporation
    1670U   Pension Benefit Guaranty      7100-000        N/A             68,432.00            0.00      0.00
            Corporation
    1671    Pension Benefit Guaranty      7100-000        N/A          3,589,385.00            0.00      0.00
            Corporation
    1672    Pension Benefit Guaranty      7100-000        N/A            580,446.00            0.00      0.00
            Corporation
    1673    Pension Benefit Guaranty      7100-000        N/A            180,852.00            0.00      0.00
            Corporation
    1674    Pension Benefit Guaranty      7100-000        N/A            291,527.00            0.00      0.00
            Corporation
    1675    Precise Rotary Die, Inc.      7100-000        N/A            N/A                   0.00      0.00




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    1679U   National Integrated Group   7100-000         N/A            N/A                    0.00    0.00
            Pension Plan
    1682    ADT Security Services, Inc. 7100-000         N/A            N/A                    0.00    0.00

    1683    ADT Security Services, Inc. 7100-000         N/A            N/A                    0.00    0.00

    1684    American Arbitration         7100-000        N/A            N/A                    0.00    0.00
            Association
    1688    Mac Papers, Inc.             7100-000        N/A                  321.75           0.00    0.00

    1689    Larsen Envelope Co., Inc.    7100-000        N/A             10,009.42             0.00    0.00

    1690    AT&T Corp.                   7100-000        N/A             86,765.98             0.00    0.00

    1691    L. F. Powers Company, Inc.   7100-000        N/A            N/A                    0.00    0.00

    1692    Georgia Control Center       7100-000        N/A            N/A                    0.00    0.00

    1693    Jan-Pro of Atlanta           7100-000        N/A            N/A                    0.00    0.00

    1694    Noren Products Inc           7100-000        N/A            N/A                    0.00    0.00

    1696    Paul S. Amidon & Associates, 7100-000        N/A            199,007.80       199,007.80   38.54
            Inc.
    1697    Westlake Hardware, Inc.      7100-000        N/A            N/A                    0.00    0.00

    1698    Can-Do National Tape         7100-000        N/A            N/A                    0.00    0.00

    1699    Reeves-Wiedeman Company      7100-000        N/A                  798.64           0.00    0.00

    1700    Mid-South Roof Systems, Inc. 7100-000        N/A            N/A                    0.00    0.00

    1702    Sterling Paper Co.           7100-000        N/A            N/A                    0.00    0.00

    1703    Ames Safety Envelope         7100-000        N/A              1,019.42             0.00    0.00

    1704    Gemini Value Sales & Service 7100-000        N/A            N/A                    0.00    0.00

    1705    Scantek Infrared Services    7100-000        N/A            N/A                    0.00    0.00

    1707    New England Pallets & Skids, 7100-000        N/A            N/A                    0.00    0.00
            Inc.
    1708    Goodwin Procter, LLC         7100-000        N/A             58,392.68             0.00    0.00

    1709    BR Plumbing & Heating Inc.   7100-000        N/A            N/A                    0.00    0.00

    1713    Retroflex Inc                7100-000        N/A                  633.32           0.00    0.00

    1714    Kentucky Department of       7100-000        N/A            N/A                    0.00    0.00
            Revenue
    1715    EB Stimpson Company, Inc.    7100-000        N/A             10,640.00             0.00    0.00

    1716    Daedal Group, Inc.           7100-000        N/A            N/A                    0.00    0.00

    1718U   Crittenden Regional Hospital 7100-000        N/A            N/A                    0.00    0.00

    1719    Martha Guevara               7100-000        N/A            N/A                    0.00    0.00

    1720    Premier Printing Impressions 7100-000        N/A            N/A                    0.00    0.00

    1721    Rocky's Hardware, Inc.       7100-000        N/A            N/A                    0.00    0.00

    1722    Lithographics, Inc.          7100-000        N/A             36,838.51             0.00    0.00

    1723    Gully Transportation, Inc.   7100-000        N/A            N/A                    0.00    0.00

    1724    Wagner Industries, Inc       7100-000        N/A            N/A                    0.00    0.00




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    1725    National Grid                 7100-000        N/A            N/A                    0.00      0.00

    1726    Rene L. Cote Sons, Inc,       7100-000        N/A            N/A                    0.00      0.00

    1727    New Jersey Dept. of         7100-000          N/A          3,700,000.00             0.00      0.00
            Environmental Protection
    1728    Consulting Audiological     7100-000          N/A              5,341.80             0.00      0.00
            Associates, Inc.
    1729    Potomac Environmental, Inc. 7100-000          N/A            N/A                    0.00      0.00

    1730    Newark                        7100-000        N/A            N/A                    0.00      0.00

    1731    Newark                        7100-000        N/A            N/A                    0.00      0.00

    1732    Newark                        7100-000        N/A            N/A                    0.00      0.00

    1733    Ace Marketing Services        7100-000        N/A            N/A                    0.00      0.00

    1734    U.S. Bankruptcy Court - ADT 7100-001          N/A              3,114.62         3,114.62      0.60
            Security Services, Inc.
    1735    U.S. Bankruptcy Court - ADT 7100-001          N/A              7,545.30         7,545.30      1.46
            Security Services, Inc.
    1736U   John Grymes                 7100-000          N/A          2,045,392.00      1,623,785.55   314.48

    1736U   John Grymes                   7100-000        N/A             31,339.00             0.00      0.00

    1737    Ballabox Company, Inc.        7100-000        N/A              2,644.52             0.00      0.00

    1738    U.S. Bankruptcy Court -     7100-001          N/A              1,539.52         1,539.52      0.30
            Pitney Bowes Global
    1739    K C Photo Engraving Company 7100-000          N/A             18,954.28             0.00      0.00

    1740    U.S. Bankruptcy Court - IBM 7100-001          N/A             12,664.82        12,664.82      2.45
            Credit, LLC
    1741    Environmental Coordination 7100-000           N/A            N/A                    0.00      0.00
            Services
    1742    W B Mason Company, Inc.     7100-000          N/A            N/A                    0.00      0.00

    1743    U.S. Bankruptcy Court -      7100-001         N/A            N/A                1,020.37      0.20
            Getzler Henrich & Associates
    1745U   Pension Benefit Guaranty     7100-000         N/A             59,432.00             0.00      0.00
            Corporation
    1747    Concentric Machine &         7100-000         N/A              4,314.40             0.00      0.00
            Grinding, Inc.
    1748    Dianne M. Binder             7100-000         N/A             15,000.00             0.00      0.00

    1749    U.S. Bankruptcy Court - JB 7100-001           N/A                  770.00         770.00      0.15
            Hunt Transport, Inc.
    1750    Monarch Color Corporation of 7100-000         N/A            N/A                    0.00      0.00
            New Jersey
    1751    Accurate Printing Supply Co. 7100-000         N/A            N/A                    0.00      0.00

    1752    Monarch Color Corporation -   7100-000        N/A            N/A                    0.00      0.00
            Nashville
    1753    Olympic Wire & Equipment      7100-000        N/A            N/A                    0.00      0.00
            Co., Inc.
    1754    Majestic Realty Co. &         7100-000        N/A            N/A                    0.00      0.00
            Spectrum Sub C, LLC
    1756    Tennessee Football, Inc.      7100-000        N/A            N/A                    0.00      0.00

    1757    Service Experts Heating &     7100-000        N/A            N/A                    0.00      0.00
            Air Conditioning
    1758    U.S. Bankruptcy Court -       7100-001        N/A                  236.60         236.60      0.05
            Priority Envelope, Inc.
    1759    Liberty Mutual Insurance      7100-000        N/A             81,215.00        81,215.00     15.73
            Group
    1760    Helmsman Management           7100-000        N/A            N/A                    0.00      0.00
            Services, LLC



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    1761    Freedom Graphic Systems,    7100-000         N/A               102,122.24               0.00        0.00
            Inc.
    1762    U.S. Bankruptcy Court - Aon 7100-001         N/A                14,994.00          14,994.00        2.90
            Risk Services Owings Mill
    1763    Joan Ungar Levy             7100-000         N/A               N/A                      0.00        0.00

    1764    AT&T c/o Wisconsin Bell,    7200-000         N/A                     905.84          905.84         0.00
            Inc.
    1765    Illinois Bell Telephone     7200-000         N/A                     681.32          681.32         0.00
            Company
    1766    AT&T c/o BellSouth          7200-000         N/A               N/A                      0.00        0.00
            Telecommunications, Inc.
    1767    AT&T Corp.                  7100-000         N/A                87,956.32          87,956.32      17.03

    1768    AT&T c/o Southwestern Bell 7200-000          N/A                36,888.91          36,888.91        0.00
            Telephone Co.
    1770    Terence Markham d/b/a Unisan 7200-000        N/A               N/A                      0.00        0.00
            Products
    1774    JC Ehrlich                   7200-000        N/A                     696.44          696.44         0.00

    1775    Pitney Bowes Global         7200-000         N/A                 2,008.09           2,008.09        0.00
            Financial Services
    1776    U.S. Bankruptcy Court -     7100-001         N/A               N/A                   687.10         0.13
            Pitney Bowes Global
    FUTAU   EFTPS                       7100-000         N/A               N/A                   420.00         0.08

   HENKEL   Henkel Corporation          7100-000         N/A               N/A              2,276,118.84     440.82

  FICAEEU   EFTPS                       7100-000         N/A               N/A                  9,366.65        1.81

  FICAERU   EFTPS                       7100-000         N/A               N/A                  9,366.65        1.81

  MEDIEEU   EFTPS                       7100-000         N/A               N/A                  4,691.40        0.91

  MEDIERU   EFTPS                       7100-000         N/A               N/A                  4,691.40        0.91

 TOTAL GENERAL UNSECURED                                       $0.00   $56,325,666.79     $50,426,607.97   $9,758.14
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
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                                                                                                                                                                 Exhibit 8


                                                                           Form 1                                                                                Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 10-11890                                                              Trustee:         (500670)    Alfred T. Giuliano, Trustee (DE)
Case Name:        NEC Holdings Corp.                                               Filed (f) or Converted (c): 12/13/11 (c)
                  n/k/a P&S Liquidating Company1,Corp                              §341(a) Meeting Date:        02/14/12
Period Ending: 01/27/23                                                            Claims Bar Date:             05/14/12

                                1                                    2                         3                     4                  5                   6

                    Asset Description                             Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                             Remaining Assets

 1       Tax Refunds (u)                                            44,152.62                   44,152.62                               44,152.20                    FA
          The Commonwealth of Massachusetts, Dept of
         Revenue - Combined Period Ending 12/31/10
         $34,132.00
         Manitoba Taxation Division, Account No.: RST
         817002157MT0001 [Retail Sales Tax]
         Refund of Commission that was never taken on
         December 2009 Retail Sales Tax Monthly Return
         $20.62 Canadian Funds
         State of Colorado - Corporate Income Tax Refund for
         Period of December 2008 $10,000.00

 2       Stock & Interests in Incorporated/Unincorporated            Unknown                           0.00                                  0.00                    FA
          National Envelope Corporation 100% of Common
         Stock Ownership

 3       Litigation/Settlements - McKesson Case (u)                  5,835.47                      5,835.47                              5,835.47                    FA
          CIGNA [Connecticut General Life Insurance Co]
         Share of Settlement funds from antitrust litigation
         [2005 McKesson Case] involving pharmaceutical price
         fixing [Total Settlement $288M] $5,835.47

 4       Bank Account - Citibank, N.A. (u)                       2,921,239.18                 2,921,239.18                                   0.00                    FA

 5       Bank Account - JPMorgan Chase (u)                           1,852.61                      1,852.61                                  0.00                    FA

 6       Permanent Seat License (PSL RS) (u)                         5,500.00                      5,500.00                              5,500.00                    FA
          (4) Permanent seat licenses to the Tennessee Titans
         Licensee: Atlantic Envelope Company, 888 Elm Hill
         Pike, Nashville, TN 37210
         Order signed authorizing the sale of Permanent Seat
         Licenses (PSL) [Docket No.: 2024]
         $5,500.00 less 5% ($275.00) = $5,225.00

 7       Settlement(s) (u)                                           2,551.83                      2,551.83                              2,551.83                    FA
          LewisPaper International, Inc. Settlement [Docket
         No.: 470] $2,551.83

 8       Litigation vs. Former Owner of the Union r/e (u)           50,000.00                   50,000.00                                    0.00                    FA
          Litigation commenced and the estate as co-plaintiff
         lost a summary judgment motion. The case is in the
         process of being appealed. The trustee value is a



                                                                                                                                  Printed: 01/27/2023 11:54 AM    V.20.45
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                                                                                        Form 1                                                                                    Page: 2

                                               Individual Estate Property Record and Report
                                                                Asset Cases
Case Number: 10-11890                                                                           Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
Case Name:          NEC Holdings Corp.                                                          Filed (f) or Converted (c): 12/13/11 (c)
                    n/k/a P&S Liquidating Company1,Corp                                         §341(a) Meeting Date:        02/14/12
Period Ending: 01/27/23                                                                         Claims Bar Date:             05/14/12

                                   1                                             2                          3                      4                    5                     6

                     Asset Description                                      Petition/             Estimated Net Value         Property             Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                        Unscheduled        (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                             Values             Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                              and Other Costs)                                                Remaining Assets

          placeholder since a value needs to be entered on the
          form 1. At this point, it is very difficult to estimate the a
          realistic value.
          This case was lost on appeal.

 9        Amended Tax Returns (u)                                                     0.00                        0.00                                       0.00                     FA

10        Unclaimed Property (u)                                                 73,530.24                  73,530.24                                        0.00                     FA
            Texas Comptroller's Office is disputing claim
          (Estimated @ $73,530.24 BG)
          After research, asset #10 ultimately wasn't an asset
          belonging to NEC Holdings Corp. (BG)

 10      Assets       Totals (Excluding unknown values)                    $3,104,661.95                $3,104,661.95                                  $58,039.50                  $0.00



      Major Activities Affecting Case Closing:

      Initial Projected Date Of Final Report (TFR):             March 31, 2016                    Current Projected Date Of Final Report (TFR):       May 18, 2021 (Actual)




                                                                                                                                                  Printed: 01/27/2023 11:54 AM     V.20.45
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                                                                                        Form 2                                                                                           Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                             Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                   Bank Name:          Capital One Bank
                     n/k/a P&S Liquidating Company1,Corp                                                  Account:            ******9033 - Checking
Taxpayer ID #: **-***6395                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                   Separate Bond: N/A

   1            2                             3                                         4                                                 5                    6                     7

 Trans.     {Ref #} /                                                                                                                 Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                  T-Code              $                    $       Account Balance
01/04/12       {1}        The Commonwealth of                  Refund for Period Ending 12/31/10                     1224-000             34,132.00                                  34,132.00
                          Massachusetts
02/06/12      101         Ace Payroll Services Inc.            Invoice No.: 13340 Year End Processing                2990-000                                      169.75            33,962.25
02/07/12       {3}        Connecticut General Life Insurance   Share of Settlement funds from antitrust              1249-000              5,835.47                                  39,797.72
                                                               litigation [2005 McKesson Case] involving
                                                               pharmaceutical price fixing
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182968 Professional            1229-000                    0.10                                39,797.82
                                                               Fee Account
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182984 Avoidance               1229-000            653,919.36                              693,717.18
                                                               Action Account
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182802 DIP - Savings 1229-000                       52,684.54                              746,401.72
                                                               Account
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182861 Wind Down               1229-000            569,360.16                            1,315,761.88
                                                               Checking Account
02/07/12       {4}        Citibank, N. A.                      Close Account No.: 9983182781 DIP Account             1229-000             51,689.93                            1,367,451.81
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182722 Avoidance               1229-000             26,151.67                            1,393,603.48
                                                               Actions Proceeds Account
02/07/12       {4}        Citibank, N.A.                       Close Account No.: 9983182888 Operating               1229-000          1,567,433.42                            2,961,036.90
                                                               Account
02/20/12      102         Ace Payroll Services Inc.            Invoice No.: 13340 Year-End Processing                2990-004                                      169.75      2,960,867.15
                                                               Reversal Check Voided - Not Printed
                                                               Voided on 02/20/12
02/20/12      102         Ace Payroll Services Inc.            Invoice No.: 13340 Year-End Processing                2990-004                                      -169.75     2,961,036.90
                                                               Reversal Check Voided - Not Printed
                                                               Voided: check issued on 02/20/12
02/23/12       {1}        State of Colorado                    Corporate Income Tax Refund for Period of             1224-000             10,000.00                            2,971,036.90
                                                               December 2008
02/23/12       {1}        Manitoba Finance Taxation Division   Invoice No.: RST 817002157MT001 Refund                1224-000                 20.62                            2,971,057.52
                                                               $20.62 Canadian Funds - Capital One debited
                                                               account and will credit the account when the
                                                               Canadian Bank forwards the funds less the
                                                               difference in the exchange rate [$ .42].
03/01/12     ADJ {1}      Manitoba Finance Taxation Divison    Exchange Rate re: Invoice No.: RST                    1224-000                  -0.42                           2,971,057.10
                                                               817002157MT001 Refund $20.62 Canadian
                                                               Funds - Capital One debited account and will
                                                               credit the account when the Canadian Bank
                                                               forwards the funds less the difference in the
                                                               exchange rate [$ .42].
03/08/12      103         Dale Nissenbaum Esquire              Services rendered for period of December              3991-000                                    2,502.50      2,968,554.60

                                                                                                           Subtotals :               $2,971,226.85             $2,672.25
{} Asset reference(s)                                                                                                                                 Printed: 01/27/2023 11:54 AM        V.20.45
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                                                    Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                               Bank Name:          Capital One Bank
                     n/k/a P&S Liquidating Company1,Corp                                              Account:            ******9033 - Checking
Taxpayer ID #: **-***6395                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                               Separate Bond: N/A

   1            2                          3                                          4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                             Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                T-Code              $                    $       Account Balance
                                                             2011 [Docket No.: 1885]
06/12/12      104         Dale Nissenbaum Esquire            Services rendered for period of January 2012        3991-000                                    3,447.50      2,965,107.10
                                                             [Docket No.: 1885]
06/19/12      105         New York State Corporation Tax     2011 New York CT-4 General Business                 2820-000                                       300.00     2,964,807.10
                                                             Corporation Franchise Tax Return
07/27/12      106         Getzler Henrich & Associates LLC   Professional Fees and Reimbursment of                                                           7,338.75      2,957,468.35
                                                             Expenses as Management & Financial
                                                             Consultants for Period of January 29, 2012 -
                                                             March 31, 2012 [Docket No.: 1885]
                                                                Invoice No.: 2-03                2,837.25        3731-000                                                  2,957,468.35
                                                                Professional Fees for
                                                                Period of January 29,
                                                                2012 - February 25,
                                                                2012
                                                                Invoice No.: 2-03                   275.00       3732-000                                                  2,957,468.35
                                                                Reimbursement of
                                                                Expenses for Period of
                                                                January 29, 2012 -
                                                                February 25, 2012
                                                                Invoice No.: 2-04                4,219.50        3731-000                                                  2,957,468.35
                                                                Professional Fees for
                                                                Period of February 26,
                                                                2012 - March 31, 2012
                                                                Invoice No.: 2-04                     7.00       3732-000                                                  2,957,468.35
                                                                Reimbursement of
                                                                Expenses for Period of
                                                                February 26, 2012 -
                                                                March 31, 2012
08/21/12                  Transfer Marketplace               Sale of Tennessee Titans Permanent Seat                                   5,225.00                            2,962,693.35
                                                             Licenses Less Commission [Docket No.: 2024]
                             Transfer Marketplace               5% Commission                       -275.00      3991-000                                                  2,962,693.35
                                                                ($5,500.00) on Sale of
                                                                Tennessee Titans
                                                                Permanent Seat
               {6}           Transfer Marketplace               Sale of Tennessee                5,500.00        1229-000                                                  2,962,693.35
                                                                Titans Permanent Seat
                                                                Licenses
08/21/12      107         HILL ARCHIVE                       Invoice No.: 014152 Storage Fees for the                                                           216.09     2,962,477.26
                                                             Period of September 2012 & Initial Input of
                                                             (142) Containers
                                                                                                       Subtotals :                    $5,225.00            $11,302.34
{} Asset reference(s)                                                                                                                             Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                             Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                   Bank Name:          Capital One Bank
                     n/k/a P&S Liquidating Company1,Corp                                                  Account:            ******9033 - Checking
Taxpayer ID #: **-***6395                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                   Separate Bond: N/A

   1            2                          3                                              4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                                 Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                     T-Code              $                    $       Account Balance
                                                                 Invoice No.: 014152                  45.69          2410-000                                                  2,962,477.26
                                                                 Storage Fees for Period
                                                                 of September, 2012
                                                                 Invoice No.: 014152                 170.40          2420-000                                                  2,962,477.26
                                                                 Initial Input of (142)
                                                                 Containers
08/29/12       {7}        Lewis Paper                         Settlement Pursuant to Docket No.: 470                 1229-000              2,551.83                            2,965,029.09
09/11/12     108 {4}      National Envelope Corporation - Eas Transfer from Case No.: 10-11890 to                    1229-000         -1,435,376.00                            1,529,653.09
                                                              10-11904. 10-11890 Asset No.: 4 - Deposit
                                                              No.: 9 re: Citibank Account No.: 9983182888
                                                              Deposited $1,567,433.42 Operating &
                                                              Environmental Fund Account. As of the
                                                              conversion date the total left in the E&R
                                                              $1,435,376.00
09/19/12      109         HILL ARCHIVE                        Invoice No.: 014485 Storage for Period of              2410-000                                       45.69      1,529,607.40
                                                              October 2012
09/20/12      110         Archer & Greiner PC                 First Fee Application for Compensation and                                                       216,089.17      1,313,518.23
                                                              Reimbursement of Expenses for Period fo
                                                              December 21, 2001 - July 21, 2002 [Docket
                                                              No.: 2082]
                                                                 Compensation for Period        206,464.00           3210-000                                                  1,313,518.23
                                                                 of December 21, 2011 -
                                                                 July 31, 2012
                                                                 Reimbursement of                  9,625.17          3220-000                                                  1,313,518.23
                                                                 Expenses for Period of
                                                                 December 21, 2011 -
                                                                 July 31, 2012
09/20/12      111         Giuliano Miller & Co LLC            First Fee Application for Compensation and                                                       152,749.65      1,160,768.58
                                                              Reimbursement of Expenses for Period fo
                                                              December 19, 2001 - July 31, 2002 [Docket
                                                              No.: 2083]
                                                                 Compensation for Period        148,090.00           3310-000                                                  1,160,768.58
                                                                 of December 19, 2011 -
                                                                 July 31, 2012
                                                                 Reimbursement of                  4,659.65          3320-000                                                  1,160,768.58
                                                                 Expenses for Period of
                                                                 December 19, 2011 -
                                                                 July 31, 2012
10/17/12      112         HILL ARCHIVE                        Invoice No.: 014410 Storage for Period of              2410-000                                       45.69      1,160,722.89
                                                              November 2012
                                                                                                          Subtotals :                $-1,432,824.17          $368,930.20
{} Asset reference(s)                                                                                                                                 Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                                Form 2                                                                                          Page: 4

                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                     Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                           Bank Name:          Capital One Bank
                    n/k/a P&S Liquidating Company1,Corp                                          Account:            ******9033 - Checking
Taxpayer ID #: **-***6395                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                          Separate Bond: N/A

   1            2                           3                                     4                                              5                     6                    7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                T-Code              $                    $       Account Balance
11/15/12      113        HILL ARCHIVE                     Invoice No.: 014982 Storage for Period of         2410-000                                       45.69      1,160,677.20
                                                          December 2012
11/29/12      114        The Whitman Companies Inc.       First Interim Compensation and                                                                4,706.00      1,155,971.20
                                                          Reimbursement of Expenses for Period of
                                                          December 28, 2011 - April 30, 2012 [Docket
                                                          No.: 2095]
                                                             First Interim                   4,616.00       3731-000                                                  1,155,971.20
                                                             Compensation for Period
                                                             of December 28, 2011 -
                                                             April 30, 2012
                                                             First Interim                      90.00       3732-000                                                  1,155,971.20
                                                             Reimbursement of
                                                             Expenses for Period of
                                                             December 28, 2011 -
                                                             April 30, 2012
12/20/12      115        HILL ARCHIVE                     Invoice No.: 015134 Storage for Period of         2410-000                                       45.69      1,155,925.51
                                                          January 2013
01/16/13      116        HILL ARCHIVE                     Invoice No.: 015385 Storage for Period of         2410-000                                       45.69      1,155,879.82
                                                          February 2013
01/31/13                 Capital One Bank                 Transfer to Rabobank, N.A.                        9999-000                               1,155,879.82                    0.00

                                                                                ACCOUNT TOTALS                                1,543,627.68         1,543,627.68                   $0.00
                                                                                       Less: Bank Transfers                             0.00       1,155,879.82
                                                                                Subtotal                                      1,543,627.68            387,747.86
                                                                                       Less: Payments to Debtors                                            0.00
                                                                                NET Receipts / Disbursements                $1,543,627.68           $387,747.86




{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                                                                                                                                Exhibit 9


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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                          4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
01/31/13                 Rabobank, N.A.                     Transfer from Capital One Bank                     9999-000          1,155,879.82                         1,155,879.82
02/18/13     10101       HILL ARCHIVE                       Invoice No.: 015687 Storage for Period of          2410-000                                      45.69    1,155,834.13
                                                            March 2013
03/05/13     10102       International Sureties LTD         BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                   1,052.09    1,154,782.04
                                                            BALANCE AS OF 01/01/2013 FOR CASE
                                                            #10-11890, Bond No.: 016026389 Period
                                                            01/01/13 - 01/01/14
03/06/13     10103       Giuliano Miller & Co LLC           2nd Fee Application for Compensation and                                                     45,755.54    1,109,026.50
                                                            Reimbursement of Expenses for Period of
                                                            August 1, 2012 - January 31, 2013 [Docket
                                                            No.: 2140]
                                                               2nd Fee Application for         45,474.00       3310-000                                               1,109,026.50
                                                               Compensation for Period
                                                               of August 1, 2012 -
                                                               January 31, 2013
                                                               2nd Fee Application for            281.54       3320-000                                               1,109,026.50
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               August 1, 2012 - January
                                                               31, 2013
03/06/13     10104       Archer & Greiner PC                2nd Fee Application for Compensation and                                                     80,270.60    1,028,755.90
                                                            Reimbursement of Expenses for Period of
                                                            August 1, 2012 - January 31, 2013 [Docket
                                                            No.: 2141]
                                                               2nd Fee Application for         77,159.30       3210-000                                               1,028,755.90
                                                               Compensation for Period
                                                               of August 1, 2012 -
                                                               January 31, 2013
                                                               2nd Fee Application for          3,111.30       3220-000                                               1,028,755.90
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               August 1, 2012 -
                                                               January 31, 2013
03/25/13     10105       HILL ARCHIVE                       Invoice No.: 015969 Storage for Period of April    2410-000                                      45.69    1,028,710.21
                                                            2013
04/16/13     10106       HILL ARCHIVE                       Invoice No.: 016238 Storage for Period of May      2410-000                                      45.69    1,028,664.52
                                                            2013
04/29/13     10107       Getzler Henrich & Associates LLC   Invoice No.: 2-05 April 2, 2012 - December 29,     3731-000                                   4,365.00    1,024,299.52
                                                            2012 [Docket No.: 1885]


                                                                                                     Subtotals :               $1,155,879.82         $131,580.30
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                          4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
05/20/13     10108       HILL ARCHIVE                       Invoice No.: 016491 Storage for Period of June 2410-000                                           45.69   1,024,253.83
                                                            2013
06/19/13     10109       HILL ARCHIVE                       Invoice No.: 016754 Storage for Period of July     2410-000                                       45.69   1,024,208.14
                                                            2013
07/17/13     10110       HILL ARCHIVE                       Invoice No.: 017030 Storage for Period of          2410-000                                       45.69   1,024,162.45
                                                            August 2013
08/05/13     10111       Internal Revenue Service/ Ravis    Form 4506 Request for tax returns (Year 1999, 2990-000                                           399.00   1,023,763.45
                         Team                               2000, 2001, 2002, 2003, 2004 & 2005
08/20/13     10112       HILL ARCHIVE                       Invoice No.: 017276 Storage for Period of          2410-000                                       45.69   1,023,717.76
                                                            September 2013
09/16/13     10113       HILL ARCHIVE                       Invoice No.: 017521 Storage for Period of          2410-000                                       45.69   1,023,672.07
                                                            October 2013
09/25/13     10114       Getzler Henrich & Associates LLC   Professional Fees and Reimbursment of                                                         1,900.52    1,021,771.55
                                                            Expenses as Management & Financial
                                                            Consultants for Period of December 30, 2012 -
                                                            May 11, 2013 [Docket No.: 1885]
                                                               Invoice No.: 2-06                1,794.50       3731-000                                               1,021,771.55
                                                               Professional Fees for
                                                               Period of December 30,
                                                               2012 - May 11, 2013
                                                               Invoice No.: 2-06                  106.02       3732-000                                               1,021,771.55
                                                               Reimbursment of
                                                               Expenses for Period of
                                                               December 30, 2012 -
                                                               May 11, 2013
10/16/13     10115       HILL ARCHIVE                       Invoice No.: 017800 Storage for Period of          2410-000                                       45.69   1,021,725.86
                                                            November 2013
11/18/13     10116       Internal Revenue Service/ Ravis    Form 4506 Request for tax returns (Year 1999, 2990-000                                           350.00   1,021,375.86
                         Team                               2000, 2001, 2002, 2003, 2004 & 2005) (7) @
                                                            $50.00 each
11/18/13     10117       HILL ARCHIVE                       Invoice No.: 018056 Storage for Period of          2410-000                                       45.69   1,021,330.17
                                                            December 2013
12/17/13     10118       HILL ARCHIVE                       Invoice No.: 018312 Storage for Period of          2410-000                                       45.69   1,021,284.48
                                                            January 2014
01/17/14     10119       International Sureties LTD         Bond Premium on Ledger Balance as of               2300-000                                      865.68   1,020,418.80
                                                            01/01/2014 Bond No.: 016026389 Period
                                                            01/01/14 - 01/01/15
01/17/14     10120       HILL ARCHIVE                       Invoice No.: 018580 Storage for Period of          2410-000                                       45.69   1,020,373.11
                                                            February 2014

                                                                                                    Subtotals :                          $0.00           $3,926.41
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction               T-Code              $                   $       Account Balance
01/27/14     10121       The Justis Law Firm LLC            Compensation for Professional Services for         3210-004                                  275,000.00      745,373.11
                                                            Period of April 28, 2011 - December 12, 2013
                                                            Voided on 01/27/14
01/27/14     10121       The Justis Law Firm LLC            Compensation for Professional Services for         3210-004                                 -275,000.00     1,020,373.11
                                                            Period of April 28, 2011 - December 12, 2013
                                                            Voided: check issued on 01/27/14
03/04/14     10122       HILL ARCHIVE                       Invoice No.: 018838 Storage for Period of          2410-000                                        45.69    1,020,327.42
                                                            March 2014
03/05/14                 Internal Revenue Service/ Ravis    Refund of Photocopy Request Fee [Check No.: 2990-000                                              -350.00   1,020,677.42
                         Team                               10116 11/18/13] re: Form 4506 Request for tax
                                                            returns (Year 1999, 2000, 2001, 2002, 2003,
                                                            2004 & 2005) (7) @ $50.00 each
03/18/14     10123       HILL ARCHIVE                       Invoice No.: 019101 Storage for Period of April    2410-000                                        45.69    1,020,631.73
                                                            2014
04/28/14     10124       HILL ARCHIVE                       Invoice No.: 019356 Storage for Period of May      2410-000                                        45.69    1,020,586.04
                                                            2014
05/20/14     10125       HILL ARCHIVE                       Invoice No.: 019620 Storage for Period of June 2410-000                                            45.69    1,020,540.35
                                                            2014
05/29/14     10126       Getzler Henrich & Associates LLC   Invoice Nos.: 02-01, 02-02 & 02-06 for Period                                                 20,151.83     1,000,388.52
                                                            of December 13, 2011 - June 29, 2013 [Docket
                                                            No.: 1885]
                                                               Invoice No.: 2-01                7,736.50       3731-000                                                 1,000,388.52
                                                               Professional Fees for
                                                               Period of December 13,
                                                               2011 - December 31,
                                                               2013
                                                               Invoice No.: 2-02               10,469.00       3731-000                                                 1,000,388.52
                                                               Professional Fees for
                                                               Period of January 01,
                                                               2012 - January 28, 2012
                                                               Invoice No.: 2-02                   45.81       3732-000                                                 1,000,388.52
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               January 01, 2012 -
                                                               January 28, 2012
                                                               Invoice No.: 2-06                1,794.50       3731-000                                                 1,000,388.52
                                                               Professional Fees for
                                                               Period of December 30,
                                                               2012 - June 29, 2013


                                                                                                     Subtotals :                         $0.00           $19,984.59
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                    Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                            Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                           Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                           Separate Bond: N/A

   1            2                         3                                        4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
                                                             Invoice No.: 2-06                  106.02       3732-000                                               1,000,388.52
                                                             Reimbursement of
                                                             Expenses for Period of
                                                             December 30, 2012 -
                                                             June 29, 2013
06/19/14     10127       HILL ARCHIVE                     Invoice No.: 019896 Storage for Period of July     2410-000                                      45.69    1,000,342.83
                                                          2014
07/16/14     10128       HILL ARCHIVE                     Invoice No.: 020176 Storage for Period of          2410-000                                      45.69    1,000,297.14
                                                          August 2014
07/24/14     10129       Archer & Greiner PC              Third Fee Application for Compensation of                                                    87,401.29      912,895.85
                                                          Professional Fees & Reimbursement of
                                                          Expenses for Period of February 1, 2013 -
                                                          March 31, 2014 [Docket No.: 2241]
                                                             Third Fee Application for      82,728.00        3210-000                                                 912,895.85
                                                             Compensation of
                                                             Professional Fees for
                                                             Period of February 1,
                                                             2013 - March 31, 2014
                                                             Third Fee Application for        4,673.29       3220-000                                                 912,895.85
                                                             Reimbursement of
                                                             Expenses for Period of
                                                             February 1, 2013 -
                                                             March 31, 2014
08/07/14     10130       Giuliano Miller & Co LLC         Third Interim Application for Compensation of                                                96,060.55      816,835.30
                                                          Professional Fees and Reimbursement of
                                                          Expenses for Period of February 1, 2013 -
                                                          March 31, 2014 [Docket No.: 2240]
                                                             Third Interim Application      95,370.25        3310-000                                                 816,835.30
                                                             for Compensation of
                                                             Professional Fees for
                                                             Period of February 1,
                                                             2013 - March 31, 2014
                                                             Third Interim Application          690.30       3320-000                                                 816,835.30
                                                             for Reimbursement of
                                                             Expenses for Period of
                                                             February 1, 2013 -
                                                             March 31, 2014
08/19/14     10131       HILL ARCHIVE                     Invoice No.: 020456 Storage for Period of          2410-000                                      45.69      816,789.61
                                                          September 2014
09/17/14     10132       HILL ARCHIVE                     Invoice No.: 020742 Storage for Period of          2410-000                                      45.69      816,743.92

                                                                                                  Subtotals :                          $0.00       $183,644.60
{} Asset reference(s)                                                                                                                      Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                             Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                            Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                            Separate Bond: N/A

   1            2                         3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
                                                           October 2014
10/20/14     10133       HILL ARCHIVE                      Invoice No.: 021018 Storage for Period of          2410-000                                        45.69    816,698.23
                                                           November 2014
11/17/14     10134       HILL ARCHIVE                      Invoice No.: 021298 Storage for Period of          2410-000                                        45.69    816,652.54
                                                           December 2014
12/15/14     10135       HILL ARCHIVE                      Invoice No.: 0215278 Storage for Period of         2410-000                                        45.69    816,606.85
                                                           January 2015
01/16/15     10136       HILL ARCHIVE                      Invoice No.: 021857 Storage for Period of          2410-000                                        45.69    816,561.16
                                                           February 2015
01/26/15     10137       International Sureties LTD        Chapter 7 Blanket Bond No.: 016026389 for          2300-000                                       794.92    815,766.24
                                                           Period of 01/01/15 - 01/01/16
02/16/15     10138       HILL ARCHIVE                      Invoice No.: 022145 Storage for Period of          2410-000                                        45.69    815,720.55
                                                           March 2015
03/17/15                 International Sureties LTD        Refund re: Premium Adjustment                      2300-000                                       -325.66   816,046.21
03/20/15     10139       HILL ARCHIVE                      Invoice No.: 022423 Storage for Period of April    2410-000                                        45.69    816,000.52
                                                           2015
04/20/15     10140       HILL ARCHIVE                      Invoice No.: 022707 Storage for Period of May      2410-000                                        45.69    815,954.83
                                                           2015
05/20/15     10141       HILL ARCHIVE                      Invoice No.: 022995 Storage for Period of June 2410-000                                            45.69    815,909.14
                                                           2015
06/22/15     10142       HILL ARCHIVE                      Invoice No.: 023278 Storage for Period of July     2410-000                                        45.69    815,863.45
                                                           2015
07/15/15     10143       HILL ARCHIVE                      Invoice No.: 023590 Storage for Period of          2410-000                                        45.69    815,817.76
                                                           August 2015
09/03/15     10144       HILL ARCHIVE                      Invoice No.: 023889 Storage for Period of          2410-000                                        45.69    815,772.07
                                                           September 2015
09/10/15     10145       Archer & Greiner PC               Fourth Fee Application for Compensation of                                                    24,452.29     791,319.78
                                                           Professional Fees & Reimbursement of
                                                           Expenses for Period of 04/01/14 - 06/30/15
                                                           [Docket No.: 2283]
                                                              Fourth Fee Application          22,080.50       3210-000                                                 791,319.78
                                                              for Compensation of
                                                              Professional Fees for
                                                              Period of 04/01/14 -
                                                              06/30/15
                                                              Fourth Fee Application           2,371.79       3220-000                                                 791,319.78
                                                              for Reimbursement of
                                                              Expenses for Period of
                                                              04/01/14 - 06/30/15

                                                                                                    Subtotals :                         $0.00           $25,424.14
{} Asset reference(s)                                                                                                                       Printed: 01/27/2023 11:54 AM        V.20.45
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                                                       Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                 Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                                Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                    T-Code              $                   $       Account Balance
09/16/15     10146       HILL ARCHIVE                       Invoice No.: 024183 Storage for Period of             2410-000                                        45.69    791,274.09
                                                            October 2015
10/19/15     10147       HILL ARCHIVE                       Invoice No.: 024475 Storage for Period of             2410-000                                        45.69    791,228.40
                                                            November 2015
11/23/15     10148       HILL ARCHIVE                       Invoice No.: 024776 Storage for Period of             2410-000                                        45.69    791,182.71
                                                            December 2015
12/16/15     10149       HILL ARCHIVE                       Invoice No.: 025089 Storage for Period of             2410-000                                        45.69    791,137.02
                                                            January 2016
01/05/16     10150       Hilco Real Estate, LLC             BOND PREMIUM PAYMENT ON LEDGER                        2300-004                                       343.71    790,793.31
                                                            BALANCE AS OF 11/30/2015 FOR CASE
                                                            #10-11890, Bond No.: 016026389 for Period of
                                                            01/01/16 - 01/01/17
                                                            Voided on 01/05/16
01/05/16     10150       Hilco Real Estate, LLC             BOND PREMIUM PAYMENT ON LEDGER                        2300-004                                      -343.71    791,137.02
                                                            BALANCE AS OF 11/30/2015 FOR CASE
                                                            #10-11890, Bond No.: 016026389 for Period of
                                                            01/01/16 - 01/01/17
                                                            Voided: check issued on 01/05/16
01/05/16     10151       International Sureties, Ltd        BOND PREMIUM PAYMENT ON LEDGER                        2300-000                                       343.71    790,793.31
                                                            BALANCE AS OF 11/30/2015 FOR CASE
                                                            #10-11890, Bond No.: 016026389 for Period of
                                                            01/01/16 - 01/01/17
01/19/16     10152       HILL ARCHIVE                       Invoice No.: 025395 Storage for Period of             2410-000                                        45.69    790,747.62
                                                            February 2016
02/17/16     10153       HILL ARCHIVE                       Invoice No.: 025706 Storage for Period of                                                             49.01    790,698.61
                                                            March 2016 & Initial Container Input (2)
                                                               Invoice No.: 025706 &                    2.57      2420-000                                                 790,698.61
                                                               Initial Container Input (2)
                                                               Invoice No.: 025706                     46.44      2410-000                                                 790,698.61
                                                               Storage for Period of
                                                               March 2016
03/18/16     10154       HILL ARCHIVE                       Invoice No.: 026024 Storage for Period of April       2410-000                                        46.44    790,652.17
                                                            2016
04/15/16     10155       HILL ARCHIVE                       Invoice No.: 026341 Storage for Period of May         2410-000                                        46.44    790,605.73
                                                            2016
05/18/16     10156       HILL ARCHIVE                       Invoice No.: 026664 Storage for Period of June 2410-000                                               46.44    790,559.29
                                                            2016
06/16/16     10157       HILL ARCHIVE                       Invoice No.: 026990 Storage for Period of July        2410-000                                        46.44    790,512.85
                                                            2016

                                                                                                        Subtotals :                         $0.00               $806.93
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                               Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                              Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                              Separate Bond: N/A

   1            2                         3                                         4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                T-Code              $                   $       Account Balance
07/18/16     10158       HILL ARCHIVE                       Invoice No.: 027310 Storage for Period of           2410-000                                        46.44    790,466.41
                                                            August 2016
08/16/16     10159       HILL ARCHIVE                       Invoice No.: 027636 Storage for Period of           2410-000                                        46.44    790,419.97
                                                            September 2016
09/15/16     10160       HILL ARCHIVE                       Invoice No.: 027961 Storage for Period of           2410-000                                        46.44    790,373.53
                                                            October 2016
10/18/16     10161       HILL ARCHIVE                       Invoice No.: 028302 Storage for Period of           2410-000                                        46.44    790,327.09
                                                            November 2016
11/16/16     10162       HILL ARCHIVE                       Invoice No.: 028643 Storage for Period of           2410-000                                        46.44    790,280.65
                                                            December 2016
12/19/16     10163       HILL ARCHIVE                       Invoice No.: 028986 Storage for Period of           2410-000                                        46.44    790,234.21
                                                            January 2017
01/16/17     10164       HILL ARCHIVE                       Invoice No.: 029336 Storage for Period of           2410-000                                        46.38    790,187.83
                                                            February 2017
01/16/17     10165       International Sureties LTD         Blanket Bond Premium for Bond No.:                  2300-000                                       393.56    789,794.27
                                                            016026389 for Period of 01/01/17 - 01/01/18
02/17/17     10166       HILL ARCHIVE                       Invoice No.: 029686 Storage for Period of           2410-000                                        46.38    789,747.89
                                                            March 2017
03/16/17     10167       HILL ARCHIVE                       Invoice No.: 030025 Storage for Period of April     2410-000                                        46.38    789,701.51
                                                            2017
04/20/17     10168       HILL ARCHIVE                       Invoice No.: 030386 Storage for Period of May       2410-000                                        46.38    789,655.13
                                                            2017
05/16/17     10169       HILL ARCHIVE                       Invoice No.: 030746 Storage for Period of June 2410-000                                             46.38    789,608.75
                                                            2017
06/12/17                 Getzler Henrich & Associates LLC   Turnover of Credit Balance - Additional Funds                                                  -1,900.52     791,509.27
                            Getzler Henrich & Associates       Turnover of Additional          -1,794.50        3731-000                                                 791,509.27
                            LLC                                Funds re: Professional
                                                               Fees
                            Getzler Henrich & Associates       Turnover of Additional              -106.02      3732-000                                                 791,509.27
                            LLC                                Funds re: Expenses
06/16/17     10170       HILL ARCHIVE                       Invoice No.: 031121 Storage for Period of July      2410-000                                        46.38    791,462.89
                                                            2017
07/17/17     10171       HILL ARCHIVE                       Invoice No.: 031485 Storage for Period of           2410-000                                        46.38    791,416.51
                                                            August 2017
08/16/17     10172       HILL ARCHIVE                       Invoice No.: 031880 Storage for Period of           2410-000                                        46.38    791,370.13
                                                            September 2017
09/18/17     10173       HILL ARCHIVE                       Invoice No.: 032285 Storage for Period of           2410-000                                        46.38    791,323.75
                                                            October 2017
09/18/17     10174       Archer & Greiner, PC               Fifth Fee Application for Compensation of                                                      67,192.31     724,131.44
                                                                                                      Subtotals :                         $0.00           $66,381.41
{} Asset reference(s)                                                                                                                         Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                             Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                            Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                            Separate Bond: N/A

   1            2                         3                                         4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
                                                           Professional Fees & Reimbursement of
                                                           Expenses for Period of July 1, 2015 - June 30,
                                                           2017 [Docket No.: 2365]
                                                              Fifth Fee Application for       65,632.50       3210-000                                                 724,131.44
                                                              Compensation of
                                                              Professional Fees for
                                                              Period of July 1, 2015 -
                                                              June 30, 2017
                                                              Fifth Fee Application for        1,559.81       3220-000                                                 724,131.44
                                                              Reimbursement of
                                                              Expenses for Period of
                                                              July 1, 2015 - June 30,
                                                              2017
10/13/17     10175       HILL ARCHIVE                      Invoice No.: 032667 Storage for Period of          2410-000                                        46.38    724,085.06
                                                           November 2017
11/16/17     10176       HILL ARCHIVE                      Invoice No.: 033068 Storage for Period of          2410-000                                        46.38    724,038.68
                                                           December 2017
12/18/17     10177       HILL ARCHIVE                      Invoice No.: 033475 Storage for Period of          2410-000                                        46.38    723,992.30
                                                           January 2018
01/16/18     10178       HILL ARCHIVE                      Invoice No.: 033866 Storage for Period of          2410-000                                        46.28    723,946.02
                                                           February 2018
01/24/18     10179       International Sureties LTD        Blanket Bond Premium for Bond No.:                 2300-000                                       286.69    723,659.33
                                                           016026389 for Period of 01/01/18 - 01/01/19
02/15/18     10180       HILL ARCHIVE                      Invoice No.: 034277 Storage for Period of          2410-000                                        46.28    723,613.05
                                                           March 2018
03/15/18     10181       HILL ARCHIVE                      Invoice No.: 034680 Storage for Period of April    2410-000                                        46.28    723,566.77
                                                           2018
04/16/18     10182       HILL ARCHIVE                      Invoice No.: 035077 Storage for Period of May      2410-000                                        46.28    723,520.49
                                                           2018
05/16/18     10183       HILL ARCHIVE                      Invoice No.: 035468 Storage for Period of June 2410-000                                            46.28    723,474.21
                                                           2018
06/15/18     10184       HILL ARCHIVE                      Invoice No.: 035863 Storage for Period of July     2410-000                                        46.28    723,427.93
                                                           2018
07/16/18     10185       HILL ARCHIVE                      Invoice No.: 036249 Storage for Period of          2410-000                                        46.28    723,381.65
                                                           August 2018
08/14/18     10186       HILL ARCHIVE                      Invoice No.: 036636 Storage for Period of          2410-000                                        46.28    723,335.37
                                                           September 2018
09/17/18     10187       HILL ARCHIVE                      Invoice No.: 037018 Storage for Period of          2410-000                                        46.28    723,289.09
                                                           October 2018

                                                                                                    Subtotals :                         $0.00               $842.35
{} Asset reference(s)                                                                                                                       Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
09/19/18     10188       Archer & Greiner, PC              Voided - Sixth Fee Application for                  3210-004                                   28,380.23     694,908.86
                                                           Compensation of Professional Fees &
                                                           Reimbursement of Expenses for Period of July
                                                           1, 2017 - July 31, 2018 [Docket No.: 2383]
                                                           Voided on 09/26/18
09/26/18     10188       Archer & Greiner, PC              Voided - Sixth Fee Application for                  3210-004                                  -28,380.23     723,289.09
                                                           Compensation of Professional Fees &
                                                           Reimbursement of Expenses for Period of July
                                                           1, 2017 - July 31, 2018 [Docket No.: 2383]
                                                           Voided: check issued on 09/19/18
10/16/18     10189       HILL ARCHIVE                      Invoice No.: 037404 Storage for Period of           2410-000                                        46.28    723,242.81
                                                           November 2018
11/12/18     10190       Archer & Greiner, PC              Sixth Fee Application for Compensation of                                                      28,380.23     694,862.58
                                                           Professional Fees & Reimbursement of
                                                           Expenses for Period of July 1, 2017 - July 31,
                                                           2018 [Docket No.: 2383]
                                                              Sixth Fee Application for         27,920.50      3210-000                                                 694,862.58
                                                              Compensation of
                                                              Professional Fees for
                                                              Period of July 1, 2017 -
                                                              July 31, 2018
                                                              Sixth Fee Application for           459.73       3220-000                                                 694,862.58
                                                              Reimbursement of
                                                              Expenses for Period of
                                                              July 1, 2017 - July 31,
                                                              2018
11/19/18     10191       HILL ARCHIVE                      Invoice No.: 037805 Storage for Period of           2410-000                                        46.28    694,816.30
                                                           December 2018
12/17/18     10192       HILL ARCHIVE                      Invoice No.: 038198 Storage for Period of           2410-000                                        46.28    694,770.02
                                                           January 2019
01/16/19     10193       HILL ARCHIVE                      Invoice No.: 038605 Storage for Period of           2410-000                                        46.28    694,723.74
                                                           February 2019
02/18/19     10194       HILL ARCHIVE                      Invoice No.: 039027 Storage for Period of           2410-000                                        46.28    694,677.46
                                                           March 2019
03/06/19     10195       International Sureties LTD        Blanket Bond Premium for Bond No.:                  2300-000                                       509.49    694,167.97
                                                           016026389 for Period of 01/01/19 - 01/01/20
03/18/19     10196       HILL ARCHIVE                      Invoice No.: 039619 Storage for Period of April 2410-000                                            46.28    694,121.69
                                                           2019
04/15/19     10197       HILL ARCHIVE                      Invoice No.: 040012 Storage for Period of May 2410-000                                              46.28    694,075.41


                                                                                                     Subtotals :                         $0.00           $29,213.68
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
                                                           2019
05/15/19     10198       HILL ARCHIVE                      Invoice No.: 040409 Storage for Period of           2410-000                                        46.28    694,029.13
                                                           June 2019
06/13/19     10199       HILL ARCHIVE                      Invoice No.: 040802 Storage for Period of July      2410-000                                        46.28    693,982.85
                                                           2019
07/18/19     10200       HILL ARCHIVE                      Invoice No.: 041208 Storage for Period of           2410-000                                        46.28    693,936.57
                                                           August 2019
08/19/19     10201       HILL ARCHIVE                      Invoice No.: 041601 Record Storage for              2410-000                                        46.28    693,890.29
                                                           September 2019
09/11/19     10202       Archer & Greiner, PC              Seventh Fee Application for Compensation of                                                    30,369.13     663,521.16
                                                           Professional Fees & Reimbursement of
                                                           Expenses for Period of August 1, 2018 - July
                                                           31, 2019 [Docket No.: 2405]
                                                              Seventh Fee Application         1,616.13         3220-000                                                 663,521.16
                                                              for Reimbursement of
                                                              Expenses for Period of
                                                              August 1, 2018 - July 31,
                                                              2019
                                                              Seventh Fee Application        28,753.00         3210-000                                                 663,521.16
                                                              for Compensation of
                                                              Professional Fees for
                                                              Period of August 1, 2018
                                                              - July 31, 2019
09/16/19     10203       HILL ARCHIVE                      Invoice No.: 041996 Record Storage for              2410-000                                        46.28    663,474.88
                                                           October 2019
10/21/19     10204       HILL ARCHIVE                      Invoice No.: 042396 Storage for Period of           2410-000                                        46.28    663,428.60
                                                           November, 2019
11/19/19     10205       HILL ARCHIVE                      Invoice No.: 042800 Storage for Period of           2410-000                                        46.28    663,382.32
                                                           December, 2019
12/16/19     10206       HILL ARCHIVE                      Invoice No.: 043192 Storage for Period of           2410-000                                        46.28    663,336.04
                                                           January, 2020
01/24/20     10207       HILL ARCHIVE                      Invoice No.: 043607 Storage for Period of           2410-000                                        46.28    663,289.76
                                                           February, 2020
01/29/20     10208       International Sureties LTD        Blanket Bond Premium for Bond No.:                  2300-000                                       268.41    663,021.35
                                                           016026389 for Period of 01/01/20 - 01/01/21
02/19/20     10209       HILL ARCHIVE                      Invoice No.: 044021 Storage for Period of           2410-000                                        46.28    662,975.07
                                                           March, 2020
03/25/20     10210       HILL ARCHIVE                      Invoice No.: 044423 Storage for Period of April, 2410-000                                           46.28    662,928.79
                                                           2020

                                                                                                    Subtotals :                          $0.00           $31,146.62
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                 Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                                Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                 Separate Bond: N/A

   1            2                           3                                           4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                T-Code              $                   $       Account Balance
03/31/20                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                       529.82    662,398.97
04/16/20     10211        HILL ARCHIVE                          Invoice No.: 044774 Storage for Period of May, 2410-000                                            46.28    662,352.69
                                                                2020
04/30/20                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                    1,058.73     661,293.96
05/29/20                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                    1,021.75     660,272.21
06/22/20     10212        National Envelope-City of Industry,   Transfer Funds/Reimburse Expenses From                                                        40,307.76     619,964.45
                          Case No.: 10-11894                    Case No.: 10-11890 to 10-11894 Pursuant to
                                                                Order [Docket No.: 2385]
               {4}                                                Transfer Funds                 99,404.25         1229-000                                                 619,964.45
                                                                  Allocation re: Citibank
                                                                  Deposits
                             HILL ARCHIVE                         Expense Allocation re:               -11.57      2420-000                                                 619,964.45
                                                                  Hill Archive
                             Ace Payroll Services Inc.            Expense Allocation re:               -11.36      2990-000                                                 619,964.45
                                                                  Ace Payroll Services,
                                                                  Inc.
                             New York State Corporation Tax       Expense Allocation re:               -20.07      2820-000                                                 619,964.45
                                                                  New York State
                                                                  Corporation Tax
                             Internal Revenue Service/ Ravis      Expense Allocation re:               -26.69      2990-000                                                 619,964.45
                             Team                                 Internal Revenue Service
                             Getzler Henrich & Associates         Expense Allocation re:               -29.02      3732-000                                                 619,964.45
                             LLC                                  Getzler Henrich &
                                                                  Associates, LLC
                             International Sureties LTD           Expense Allocation re:              -280.25      2300-000                                                 619,964.45
                                                                  International Sureties,
                                                                  Ltd
                             HILL ARCHIVE                         Expense Allocation re:              -286.48      2410-000                                                 619,964.45
                                                                  Hill Archive
                             The Whitman Companies Inc.           Expense Allocation re:                -6.02      3732-000                                                 619,964.45
                                                                  The Whitman
                                                                  Companies, Inc.
                             Giuliano Miller & Co LLC             Expense Allocation re:              -376.75      3320-000                                                 619,964.45
                                                                  Giuliano, Miller & Co.,
                                                                  LLC
                             Dale Nissenbaum Esquire              Expense Allocation re:              -398.06      3991-000                                                 619,964.45
                                                                  Dale Nissenbaum,
                                                                  Esquire
                             Archer & Greiner, PC                 Expense Allocation re:         -1,566.61         3220-000                                                 619,964.45

                                                                                                         Subtotals :                         $0.00           $42,964.34
{} Asset reference(s)                                                                                                                            Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re:         -2,102.12         3731-000                                                 619,964.45
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re:        -19,329.70         3310-000                                                 619,964.45
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Archer & Greiner, PC                Expense Allocation re:        -34,168.36         3210-000                                                 619,964.45
                                                                 Archer & Greiner, PC
                                                                 Expense Allocation re:              -174.62      2600-000                                                 619,964.45
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -308.81      3731-000                                                 619,964.45
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10213        National Envelope-Corsicana, LLC,    Transfer Funds/Reimburse Expenses From                                                        19,340.50     600,623.95
                          Case No.: 10-11895                   Case No.: 10-11890 to 10-11895 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                 47,696.21         1229-000                                                 600,623.95
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:                -5.55      2420-000                                                 600,623.95
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:                -5.45      2990-000                                                 600,623.95
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:                -9.63      2820-000                                                 600,623.95
                                                                 New York State
                                                                 Corporation Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:               -12.81      2990-000                                                 600,623.95
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:               -13.93      3732-000                                                 600,623.95
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          International Sureties,             -134.46      2300-000                                                 600,623.95
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re:              -137.46      2410-000                                                 600,623.95
                                                                 Hill Archive
                             The Whitman Companies Inc.          Expense Allocation re:                -2.89      3732-000                                                 600,623.95
                                                                 The Whitman

                                                                                                        Subtotals :                         $0.00           $19,340.50
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                                 Companies, Inc.
                             Giuliano Miller & Co LLC            Expense Allocation re:              -180.77      3320-000                                                 600,623.95
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Dale Nissenbaum Esquire             Expense Allocation re:              -191.00      3991-000                                                 600,623.95
                                                                 Dale Nissenbaum,
                                                                 Esquire
                             Archer & Greiner, PC                Expense Allocation re:              -751.69      3220-000                                                 600,623.95
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re:         -1,008.64         3731-000                                                 600,623.95
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re:         -9,274.79         3310-000                                                 600,623.95
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Archer & Greiner, PC                Archer & Greiner, PC          -16,394.68         3210-000                                                 600,623.95
                                                                 Expense Allocation re:               -83.79      2600-000                                                 600,623.95
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -148.17      3731-000                                                 600,623.95
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10214        National Envelope- Aurora, LLC,      Transfer Funds/Reimburse Expenses From                                                        2,169.03      598,454.92
                          Case No.: 10-11896                   Case No.: 10-11890 to 10-11896 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                  5,349.11         1229-000                                                 598,454.92
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:                -0.62      2420-000                                                 598,454.92
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:                -0.61      2990-000                                                 598,454.92
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:                -1.08      2820-000                                                 598,454.92
                                                                 New York State
                                                                 Corporation Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:                -1.44      2990-000                                                 598,454.92
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:                -1.56      3732-000                                                 598,454.92
                             LLC                                 Getzler Henrich &

                                                                                                        Subtotals :                         $0.00           $2,169.03
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                              Separate Bond: N/A

   1            2                           3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
                                                               Associates, LLC
                             International Sureties LTD        Expense Allocation re:               -15.08      2300-000                                                 598,454.92
                                                               International Sureties,
                                                               Ltd.
                             HILL ARCHIVE                      Expense Allocation re:               -15.42      2410-000                                                 598,454.92
                                                               Hill Archive
                             The Whitman Companies Inc.        Expense Allocation re:                -0.32      3732-000                                                 598,454.92
                                                               The Whitman
                                                               Companies, Inc.
                             Giuliano Miller & Co LLC          Expense Allocation re:               -20.27      3320-000                                                 598,454.92
                                                               Giuliano, Miller & Co.,
                                                               LLC
                             Dale Nissenbaum Esquire           Expense Allocation re:               -21.42      3991-000                                                 598,454.92
                                                               Dale Nissenbaum,
                                                               Esquire
                             Archer & Greiner, PC              Expense Allocation re:               -84.30      3220-000                                                 598,454.92
                                                               Archer & Greiner, PC
                             Getzler Henrich & Associates      Expense Allocation re:              -113.12      3731-000                                                 598,454.92
                             LLC                               Getzler Henrich &
                                                               Associates, LLC
                             Giuliano Miller & Co LLC          Expense Allocation re:         -1,040.16         3310-000                                                 598,454.92
                                                               Giuliano, Miller &
                                                               Company, LLC
                             Archer & Greiner, PC              Expense Allocation re:         -1,838.66         3210-000                                                 598,454.92
                                                               Archer & Greiner, PC
                                                               Expense Allocation re:                -9.40      2600-000                                                 598,454.92
                                                               Bank & Technology Fees
                             The Whitman Companies Inc.        Fee Allocation re: The               -16.62      3731-000                                                 598,454.92
                                                               Whitman Companies,
                                                               Inc.
06/22/20     10215        National Envelope-Appleton, LLC,   Transfer Funds/Reimburse Expenses From                                                        10,061.88     588,393.04
                          Case No.: 10-11897                 Case No.: 10-11890 to 10-11897 Pursuant to
                                                             Order [Docket No.: 2385]
               {4}                                             Transfer Funds                 24,813.90         1229-000                                                 588,393.04
                                                               Allocation re: Citibank
                                                               Deposits
                             HILL ARCHIVE                      Expense Allocation re:                -2.89      2420-000                                                 588,393.04
                                                               Hill Archive
                             Ace Payroll Services Inc.         Expense Allocation re:                -2.83      2990-000                                                 588,393.04

                                                                                                      Subtotals :                         $0.00           $10,061.88
{} Asset reference(s)                                                                                                                         Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
                                                              Ace Payroll Services,
                                                              Inc.
                            New York State Corporation Tax    Expense Allocation re:                -5.01      2820-000                                                 588,393.04
                                                              New York State
                                                              Corporation Tax
                            Internal Revenue Service/ Ravis   Expense Allocation re:                -6.66      2990-000                                                 588,393.04
                            Team                              Internal Revenue Service
                            Getzler Henrich & Associates      Expense Allocation re:                -7.24      3732-000                                                 588,393.04
                            LLC                               Getzler Henrich &
                                                              Associates, LLC
                            International Sureties LTD        Expense Allocation re:               -69.95      2300-000                                                 588,393.04
                                                              International Sureties,
                                                              Ltd.
                            HILL ARCHIVE                      Expense Allocation re:               -71.51      2410-000                                                 588,393.04
                                                              Hill Archive
                            The Whitman Companies Inc.        Expense Allocation re:                -1.50      3732-000                                                 588,393.04
                                                              The Whitman
                                                              Companies, Inc.
                            Giuliano Miller & Co LLC          Expense Allocation re:               -94.05      3320-000                                                 588,393.04
                                                              Giuliano, Miller & Co.,
                                                              LLC
                            Dale Nissenbaum Esquire           Expense Allocation re:               -99.37      3991-000                                                 588,393.04
                                                              Dale Nissenbaum,
                                                              Esquire
                            Archer & Greiner, PC              Expense Allocation re:              -391.07      3220-000                                                 588,393.04
                                                              Archer & Greiner, PC
                            Getzler Henrich & Associates      Expense Allocation re:              -524.74      3731-000                                                 588,393.04
                            LLC                               Getzler Henrich &
                                                              Associates LLC
                            Giuliano Miller & Co LLC          Expense Allocation re:         -4,825.20         3310-000                                                 588,393.04
                                                              Giuliano, Miller & Co.,
                                                              LLC
                            Archer & Greiner, PC              Expense Allocation re:         -8,529.32         3210-000                                                 588,393.04
                                                              Archer & Greiner, PC
                                                              Expense Allocation re:               -43.59      2600-000                                                 588,393.04
                                                              Bank & Technology Fees
                            The Whitman Companies Inc.        Fee Allocation re: The               -77.09      3731-000                                                 588,393.04
                                                              Whitman Companies,
                                                              Inc.

                                                                                                     Subtotals :                         $0.00               $0.00
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
06/22/20     10216        National Envelope-Scottdale, LLC,    Transfer Funds/Reimburse Expenses From                                                        56,816.48     531,576.56
                          Case No.: 10-11898                   Case No.: 10-11890 to 10-11898 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                140,116.90         1229-000                                                 531,576.56
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:               -16.31      2420-000                                                 531,576.56
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:               -16.01      2990-000                                                 531,576.56
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:               -28.29      2820-000                                                 531,576.56
                                                                 New Yourk Corporation
                                                                 Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:               -37.63      2990-000                                                 531,576.56
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:               -40.91      3732-000                                                 531,576.56
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          Expense Allocation re:              -395.01      2300-000                                                 531,576.56
                                                                 International Sureties,
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re:              -403.81      2410-000                                                 531,576.56
                                                                 Hill Archive
                             The Whitman Companies Inc.          Expense Allocation re:                -8.49      3732-000                                                 531,576.56
                                                                 The Whitman
                                                                 Companies, Inc.
                             Giuliano Miller & Co LLC            Expense Allocation re:              -531.05      3320-000                                                 531,576.56
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Dale Nissenbaum Esquire             Expense Allocation re:              -561.09      3991-000                                                 531,576.56
                                                                 Dale Nissenaum,
                                                                 Esquire
                             Archer & Greiner, PC                Expense Allocation re:         -2,208.24         3220-000                                                 531,576.56
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re:         -2,963.07         3731-000                                                 531,576.56
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re:        -27,246.50         3310-000                                                 531,576.56

                                                                                                        Subtotals :                         $0.00           $56,816.48
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Archer & Greiner, PC                Expense Allocation re:        -48,162.57         3210-000                                                 531,576.56
                                                                 Archer & Greiner, PC
                                                                 Expense Allocation re:              -246.14      2600-000                                                 531,576.56
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -435.30      3731-000                                                 531,576.56
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10217        National Envelope-Ennis, LLC, Case Transfer Funds/Reimburse Expenses From                                                          23,076.05     508,500.51
                          No.: 10-11900                        Case No.: 10-11890 to 10-11900 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                 56,908.56         1229-000                                                 508,500.51
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:                -6.62      2420-000                                                 508,500.51
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re                 -6.50      2990-000                                                 508,500.51
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re                -11.49      2820-000                                                 508,500.51
                                                                 New York Corporation
                                                                 Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re                -15.28      2990-000                                                 508,500.51
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re                -16.62      3732-000                                                 508,500.51
                             LLC                                 Getzler Henrich &
                                                                 Asspcoates, LLC
                             International Sureties LTD          Expense Allocation re               -160.43      2300-000                                                 508,500.51
                                                                 International Sureties,
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re               -164.02      2410-000                                                 508,500.51
                                                                 Hill Archive
                             The Whitman Companies Inc.          Expense Allocation re                 -3.45      3732-000                                                 508,500.51
                                                                 The Whitman
                                                                 Companies, Inc.
                             Giuliano Miller & Co LLC            Expense Allocation re               -215.69      3320-000                                                 508,500.51
                                                                 Giuliano, Miller & Co.,
                                                                 LLC

                                                                                                        Subtotals :                         $0.00           $23,076.05
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                           4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                             Dale Nissenbaum Esquire             Dale Nissenbaum,                    -227.89      3991-000                                                 508,500.51
                                                                 Esquire
                             Archer & Greiner, PC                Expense Allocation re               -896.88      3220-000                                                 508,500.51
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re          -1,203.45         3731-000                                                 508,500.51
                             LLC                                 Getzler Hennrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re         -11,066.18         3310-000                                                 508,500.51
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Archer & Greiner, PC                Expense Allocation re         -19,561.26         3210-000                                                 508,500.51
                                                                 Archer & Greiner, PC
                                                                 Expense Allocation re                -99.96      2600-000                                                 508,500.51
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -176.79      3731-000                                                 508,500.51
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10218        National Envelope-Lenexa, LLC,       Transfer Funds/Reimburse Expenses From                                                        27,534.61     480,965.90
                          Case No.: 10-11902                   Case No.: 10-11890 to 10-11902 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                 67,903.95         1229-000                                                 480,965.90
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:                -7.90      2420-000                                                 480,965.90
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:                -7.76      2990-000                                                 480,965.90
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:               -13.71      2820-000                                                 480,965.90
                                                                 New York State
                                                                 Corportion Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:               -18.23      2990-000                                                 480,965.90
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation                   -19.83      3732-000                                                 480,965.90
                             LLC                                 re:Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          Expense Allocation re:              -191.43      2300-000                                                 480,965.90
                                                                 International Sureties,
                                                                 Ltd.

                                                                                                        Subtotals :                         $0.00           $27,534.61
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                             Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                            Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                           3                                       4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                T-Code              $                   $       Account Balance
                             HILL ARCHIVE                     Expense Allocation re:              -195.70      2410-000                                                 480,965.90
                                                              Hill Archive
                             The Whitman Companies Inc.       Expense Allocation re:                -4.11      3732-000                                                 480,965.90
                                                              The Whitman
                                                              Companies, Inc.
                             Giuliano Miller & Co LLC         Expense Allocation re:              -257.36      3320-000                                                 480,965.90
                                                              Giuliano, Miller, & Co.,
                                                              LLC
                             Dale Nissenbaum Esquire          Expense Allocation re:              -271.92      3991-000                                                 480,965.90
                                                              Dale Nissenbaum,
                                                              Esquire
                             Archer & Greiner, PC             Expense Allocation re:         -1,070.17         3220-000                                                 480,965.90
                                                              Archer & Greiner, PC
                             Getzler Henrich & Associates     Expense Allocation re:         -1,435.97         3731-000                                                 480,965.90
                             LLC                              Getzler Henrich &
                                                              Associates, LLC
                             Giuliano Miller & Co LLC         Expense Allocation re:        -13,204.30         3310-000                                                 480,965.90
                                                              Giuliano, Miller & Co.,
                                                              LLC
                             Archer & Greiner, PC             Expense Allocation re:        -23,340.72         3210-000                                                 480,965.90
                                                              Archer & Greiner, PC
                                                              Expense Allocation re:              -119.28      2600-000                                                 480,965.90
                                                              Bank & Technology Fees
                             The Whitman Companies Inc.       Fee Allocation re: The              -210.95      3731-000                                                 480,965.90
                                                              Whitman Companies,
                                                              Inc.
06/22/20     10219        National Envelope-Elk Grove       Transfer Funds/Reimburse Expenses From                                                        9,218.37      471,747.53
                          Village, Case No.: 10-11903       Case No.: 10-11890 to 10-11903 Pursuant to
                                                            Order [Docket No.: 2385]
               {4}                                            Transfer                       22,733.71         1229-000                                                 471,747.53
                                                              Funds/Reimburse
                                                              Expenses From Case
                                                              No.: 10-11890 to
                                                              10-11903 Pursuant to
                                                              Order [Docket No.: 2385]
                             HILL ARCHIVE                     Expense Allocation re:                -2.65      2420-000                                                 471,747.53
                                                              Hill Archive
                             Ace Payroll Services Inc.        Expense Allocation re:                -2.60      2990-000                                                 471,747.53
                                                              Ace Payroll Services,


                                                                                                     Subtotals :                         $0.00           $9,218.37
{} Asset reference(s)                                                                                                                        Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                               Separate Bond: N/A

   1            2                         3                                           4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                                Inc.
                            New York State Corporation Tax      Expense Allocation re:                -4.59      2820-000                                                 471,747.53
                                                                New York State
                                                                Corporation Tax
                            Internal Revenue Service/ Ravis     Expense Allocation re:                -6.10      2990-000                                                 471,747.53
                            Team                                Internal Revenue Service
                            Getzler Henrich & Associates        Expense Allocation re:                -6.64      3732-000                                                 471,747.53
                            LLC                                 Getzler Henrich &
                                                                Associates, LLC
                            International Sureties LTD          Expense Allocation re:               -64.09      2300-000                                                 471,747.53
                                                                International Sureties,
                                                                Ltd.
                            HILL ARCHIVE                        Expense Allocation re:               -65.52      2410-000                                                 471,747.53
                                                                Hill Archive
                            The Whitman Companies Inc.          Expense Allocation re:                -1.38      3732-000                                                 471,747.53
                                                                The Whitman
                                                                Companies, Inc.
                            Giuliano Miller & Co LLC            Expense Allocation re:               -86.16      3320-000                                                 471,747.53
                                                                Giuliano, Miller & Co.,
                                                                LLC
                            Dale Nissenbaum Esquire             Dale Nissenbaum,                     -91.04      3991-000                                                 471,747.53
                                                                Esquire
                            Archer & Greiner, PC                Expense Allocation re:              -358.28      3220-000                                                 471,747.53
                                                                Archer & Greiner, PC
                            Getzler Henrich & Associates        Expense Allocation re:              -480.75      3731-000                                                 471,747.53
                            LLC                                 Getzler Henrich &
                                                                Associates, LLC
                            Giuliano Miller & Co LLC            Expense Allocation re:         -4,420.69         3310-000                                                 471,747.53
                                                                Giuliano, Miller & Co.,
                                                                LLC
                            Archer & Greiner, PC                Expense Allocation re:         -7,814.29         3210-000                                                 471,747.53
                                                                Archer & Greiner, PC
                                                                Expense Allocation re:               -39.94      2600-000                                                 471,747.53
                                                                Bank & Technology Fees
                            The Whitman Companies Inc.          Fee Allocation re: The               -70.62      3731-000                                                 471,747.53
                                                                Whitman Companies,
                                                                Inc.
06/22/20     10220       National Envelope Corporation-East, Transfer Funds/Reimburse Expenses From                                                         78,265.75     393,481.78
                         Case No.: 10-11904                   Case No.: 10-11890 to 10-11904 Pursuant to

                                                                                                       Subtotals :                         $0.00           $78,265.75
{} Asset reference(s)                                                                                                                          Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                193,013.63         1229-000                                                 393,481.78
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:               -22.47      2420-000                                                 393,481.78
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:               -22.05      2990-000                                                 393,481.78
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:               -38.97      2820-000                                                 393,481.78
                                                                 New York State
                                                                 Corporation Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:               -51.83      2990-000                                                 393,481.78
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:               -56.35      3732-000                                                 393,481.78
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          Expense Allocation re:              -544.14      2300-000                                                 393,481.78
                                                                 International Sureties,
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re:              -556.26      2410-000                                                 393,481.78
                                                                 Hill Archive
                             The Whitman Companies Inc.          Expense Allocation re:               -11.69      3732-000                                                 393,481.78
                                                                 The Whitman
                                                                 Companies, Inc.
                             Giuliano Miller & Co LLC            Expense Allocation re:              -731.52      3320-000                                                 393,481.78
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Dale Nissenbaum Esquire             Expense Allocation re:              -772.91      3991-000                                                 393,481.78
                                                                 Dale Nissenbaum,
                                                                 Esquire
                             Archer & Greiner, PC                Expense Allocation re:         -3,041.90         3220-000                                                 393,481.78
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re:         -4,081.69         3731-000                                                 393,481.78
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re:        -37,532.57         3310-000                                                 393,481.78
                                                                 Giuliano, Miller & Co.,
                                                                 LLC

                                                                                                        Subtotals :                         $0.00               $0.00
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                             Archer & Greiner, PC                Expense Allocation re:        -66,344.84         3210-000                                                 393,481.78
                                                                 Archer & Greiner, PC
                                                                 Expense Allocation re:              -339.07      2600-000                                                 393,481.78
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -599.62      3731-000                                                 393,481.78
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10221        National Envelope-Specialties        Transfer Funds/Reimburse Expenses From                                                        41,151.28     352,330.50
                          Group, Case No.: 10-11905            Case No.: 10-11890 to 10-11905 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                101,484.46         1229-000                                                 352,330.50
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:               -11.81      2420-000                                                 352,330.50
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:               -11.59      2990-000                                                 352,330.50
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:               -20.49      2820-000                                                 352,330.50
                                                                 New York State
                                                                 Corporation Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:               -27.25      2990-000                                                 352,330.50
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:               -29.63      3732-000                                                 352,330.50
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          Expense Allocation re:              -286.10      2300-000                                                 352,330.50
                                                                 International Sureties,
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re:              -292.48      2410-000                                                 352,330.50
                                                                 Hill Archive
                             The Whitman Companies Inc.          Expense Allocation re:                -6.15      3732-000                                                 352,330.50
                                                                 The Whitman
                                                                 Companies, Inc.
                             Giuliano Miller & Co LLC            Expense Allocation re:              -384.63      3320-000                                                 352,330.50
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Dale Nissenbaum Esquire             Expense Allocation re:              -406.39      3991-000                                                 352,330.50
                                                                 Dale Nissenbaum,

                                                                                                        Subtotals :                         $0.00           $41,151.28
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                     Cash Receipts And Disbursements Record
Case Number:         10-11890                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           NEC Holdings Corp.                                                                Bank Name:          Mechanics Bank
                     n/k/a P&S Liquidating Company1,Corp                                               Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
                                                                 Esquire
                             Archer & Greiner, PC                Expense Allocation re:         -1,599.40         3220-000                                                 352,330.50
                                                                 Archer & Greiner, PC
                             Getzler Henrich & Associates        Expense Allocation re:         -2,146.11         3731-000                                                 352,330.50
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             Giuliano Miller & Co LLC            Expense Allocation re:        -19,734.21         3310-000                                                 352,330.50
                                                                 Giuliano, Miller & Co.,
                                                                 LLC
                             Archer & Greiner, PC                Expense Allocation re:        -34,883.39         3210-000                                                 352,330.50
                                                                 Archer & Greiner, PC
                                                                 Expense Allocation re:              -178.28      2600-000                                                 352,330.50
                                                                 Bank & Technology Fees
                             The Whitman Companies Inc.          Fee Allocation re: The              -315.27      3731-000                                                 352,330.50
                                                                 Whitman Companies,
                                                                 Inc.
06/22/20     10222        National Envelope Corporation,       Transfer Funds/Reimburse Expenses From                                                       294,566.02         57,764.48
                          Case No.: 10-11891                   Case No.: 10-11890 to 10-11891 Pursuant to
                                                               Order [Docket No.: 2385]
               {4}                                               Transfer Funds                726,438.50         1229-000                                                     57,764.48
                                                                 Allocation re: Citibank
                                                                 Deposits
                             HILL ARCHIVE                        Expense Allocation re:               -84.58      2420-000                                                     57,764.48
                                                                 Hill Archive
                             Ace Payroll Services Inc.           Expense Allocation re:               -82.99      2990-000                                                     57,764.48
                                                                 Ace Payroll Services,
                                                                 Inc.
                             New York State Corporation Tax      Expense Allocation re:              -146.67      2820-000                                                     57,764.48
                                                                 New York State
                                                                 Corporation Tax
                             Internal Revenue Service/ Ravis     Expense Allocation re:              -195.07      2990-000                                                     57,764.48
                             Team                                Internal Revenue Service
                             Getzler Henrich & Associates        Expense Allocation re:              -212.10      3732-000                                                     57,764.48
                             LLC                                 Getzler Henrich &
                                                                 Associates, LLC
                             International Sureties LTD          Expense Allocation re:         -2,047.95         2300-000                                                     57,764.48
                                                                 International Sureties,
                                                                 Ltd.
                             HILL ARCHIVE                        Expense Allocation re:         -2,093.56         2410-000                                                     57,764.48

                                                                                                        Subtotals :                         $0.00       $294,566.02
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                             Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                            Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                            Separate Bond: N/A

   1            2                         3                                         4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
                                                              Hill Archive
                            The Whitman Companies Inc.        Expense Allocation re:              -44.00      3732-000                                                     57,764.48
                                                              The Whitman
                                                              Companies, Inc.
                            Giuliano Miller & Co LLC          Expense Allocation re:          -2,753.24       3320-000                                                     57,764.48
                                                              Giuliano, Miller & Co.,
                                                              LLC
                            Dale Nissenbaum Esquire           Expense Allocation re:          -2,908.91       3991-000                                                     57,764.48
                                                              Dale Nissenbaum,
                                                              Esquire
                            Archer & Greiner, PC              Expense Allocation re:        -11,448.68        3220-000                                                     57,764.48
                                                              Archer & Greiner, PC
                            Getzler Henrich & Associates      Expense Allocation re:        -15,362.09        3731-000                                                     57,764.48
                            LLC                               Getzler Henrich &
                                                              Associates, LLC
                            Giuliano Miller & Co LLC          Expense Allocation re:       -141,259.95        3310-000                                                     57,764.48
                                                              Giuliano, Miller & Co.,
                                                              LLC
                            Archer & Greiner, PC              Expense Allocation re:       -249,699.71        3210-000                                                     57,764.48
                                                              Archer & Greiner, PC
                                                              Expense Allocation re:          -1,276.22       2600-000                                                     57,764.48
                                                              Bank & Technology Fees
                            The Whitman Companies Inc.        Fee Allocation re: The          -2,256.76       3731-000                                                     57,764.48
                                                              Whitman Companies,
                                                              Inc.
06/30/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                      933.10         56,831.38
07/31/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       93.86         56,737.52
08/18/20     10223       HILL ARCHIVE                      Invoice No.: 046281 Storage for Period of          2410-000                                       46.28         56,691.24
                                                           September, 2020
08/31/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       87.66         56,603.58
09/15/20     10224       HILL ARCHIVE                      Invoice No.: 046670 Storage for Period of          2410-000                                       46.28         56,557.30
                                                           October, 2020
09/30/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       96.49         56,460.81
10/16/20     10225       HILL ARCHIVE                      Invoice No.: 047065 Storage for Period of          2410-000                                       46.28         56,414.53
                                                           November, 2020
10/30/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       90.23         56,324.30
11/17/20     10226       HILL ARCHIVE                      Invoice No.: 047457 Storage for Period of          2410-000                                       46.28         56,278.02
                                                           December, 2020
11/30/20                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       87.01         56,191.01
                                                                                                    Subtotals :                         $0.00           $1,573.47
{} Asset reference(s)                                                                                                                       Printed: 01/27/2023 11:54 AM        V.20.45
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                                                      Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                            Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                  Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                                 Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                 Separate Bond: N/A

   1            2                          3                                             4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                      Description of Transaction                T-Code              $                   $       Account Balance
12/23/20     10227       HILL ARCHIVE                            Invoice No.: 047853 Storage for Period of         2410-000                                        46.28        56,144.73
                                                                 January, 2020
12/31/20                 Rabobank, N.A.                          Bank and Technology Services Fee                  2600-000                                        98.80        56,045.93
01/06/21     10228       International Sureties LTD              Blanket Bond Premium for Bond No.:                2300-000                                        20.21        56,025.72
                                                                 016026389 for Period of 01/01/21 - 01/01/22
01/17/21     10229       HILL ARCHIVE                            Invoice No.: 048252 Storage for Period of         2410-000                                        46.28        55,979.44
                                                                 February, 2021
01/29/21                 Mechanics Bank                          Bank and Technology Services Fee                  2600-000                                        86.82        55,892.62
02/17/21     10230       HILL ARCHIVE                            Invoice No.: 048656 Storage for Period of         2410-000                                        46.28        55,846.34
                                                                 March, 2021
02/26/21                 Mechanics Bank                          Bank and Technology Services Fee                  2600-000                                        83.59        55,762.75
03/26/21                 National Envelope Corporation,          Reimburse Hill Archive re: Rent Expenses          2410-000                                       -158.38       55,921.13
                         Case No.: 10-11891                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - City of Industry,   Reimburse Hill Archive re: Rent Expenses          2410-000                                        -21.67       55,942.80
                         Case No.: 10-11894                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Corsicana LLC,      Reimburse Hill Archive re: Rent Expenses          2410-000                                        -10.40       55,953.20
                         Case No.: 10-11895                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Aurora, LLC,        Reimburse Hill Archive re: Rent Expenses          2410-000                                         -1.17       55,954.37
                         Case No.: 10-11896                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Appleton, LLC,      Reimburse Hill Archive re: Rent Expenses          2410-000                                         -5.41       55,959.78
                         Case No.: 10-11897                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Scottdale, LLC,     Reimburse Hill Archive re: Rent Expenses          2410-000                                        -30.55       55,990.33
                         Case No.: 10-11898                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Ennis, LLC,         Reimburse Hill Archive re: Rent Expenses          2410-000                                        -12.41       56,002.74
                         Case No.: 10-11900                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Lenexa, LLC,        Reimburse Hill Archive re: Rent Expenses          2410-000                                        -14.80       56,017.54
                         Case No.: 10-11902                      Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Elk Grove           Reimburse Hill Archive re: Rent Expenses          2410-000                                         -4.96       56,022.50
                         Village, No.: 10-11903                  Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope Corporation -         Reimburse Hill Archive re: Rent Expenses          2410-000                                        -42.08       56,064.58
                         East, No.: 10-11904                     Pursuant to Allocation [Docket No.: 2385]
03/26/21                 National Envelope - Specialties         Reimburse Hill Archive re: Rent Expenses          2410-000                                        -22.13       56,086.71
                         Group, No.: 10-11905                    Pursuant to Allocation [Docket No.: 2385]
03/31/21                 Mechanics Bank                          Bank and Technology Services Fee                  2600-000                                        98.39        55,988.32
04/28/21                 Transition Transfer Debit               Transition Transfer Debit                         9999-000                                   55,988.32                0.00




                                                                                                         Subtotals :                         $0.00           $56,191.01
{} Asset reference(s)                                                                                                                            Printed: 01/27/2023 11:54 AM        V.20.45
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                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                            Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                  Bank Name:          Mechanics Bank
                    n/k/a P&S Liquidating Company1,Corp                                 Account:            ******2766 - Checking Account
Taxpayer ID #: **-***6395                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                 Separate Bond: N/A

   1            2                        3                              4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                               Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From       Description of Transaction               T-Code              $                   $       Account Balance

                                                                      ACCOUNT TOTALS                                 1,155,879.82        1,155,879.82                 $0.00
                                                                             Less: Bank Transfers                    1,155,879.82            55,988.32
                                                                      Subtotal                                                0.00       1,099,891.50
                                                                             Less: Payments to Debtors                                            0.00
                                                                      NET Receipts / Disbursements                           $0.00      $1,099,891.50




{} Asset reference(s)                                                                                                            Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                 Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                                Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                            3                                        4                                                5                     6                    7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                  T-Code              $                    $       Account Balance
04/28/21                 Transfer Credit                      Transition Transfer Credit from Mechanics           9999-000             55,988.32                                  55,988.32
                                                              Bank
04/30/21                 TriState Capital Bank                Bank and Technology Services Fee                    2600-000                                        89.73           55,898.59
01/25/22     20231       A. T. Giuliano, P.C.                 Trustee Compensation [Docket No.: 2477]             2100-000                                    6,151.98            49,746.61
01/25/22     20232       A. T. Giuliano, P.C.                 Trustee Expenses [Docket No.: 2477]                 2200-000                                        32.38           49,714.23
01/25/22     20233       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5300-004                                    2,345.00            47,369.23
                                                              Voided on 01/25/22
01/25/22     20233       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5300-004                                   -2,345.00            49,714.23
                                                              Voided: check issued on 01/25/22
01/25/22     20234       John Grymes                          Final Distribution [Docket No.: 2478]               5300-000                                    8,483.04            41,231.19
01/25/22     20235       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5300-004                                       726.95           40,504.24
                                                              Voided on 01/25/22
01/25/22     20235       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5300-004                                       -726.95          41,231.19
                                                              Voided: check issued on 01/25/22
01/25/22     20236       EFTPS                                Voided Prior to Printing - Paid via EFTPS          5300-004                                       170.01           41,061.18
                                                              Voided on 01/25/22
01/25/22     20236       EFTPS                                Voided Prior to Printing - Paid via EFTPS          5300-004                                       -170.01          41,231.19
                                                              Voided: check issued on 01/25/22
01/25/22     20237       Local 807, I.B.T.                    Final Distribution [Docket No.: 2478]               5400-000                                       960.00           40,271.19
01/25/22     20238       Collin County Tax                    Stopped Payment - Final Distribution [Docket        5800-005                                       147.42           40,123.77
                                                              No.: 2478]
                                                              Stopped on 04/25/22
01/25/22     20239       West Virginia State Tax Division     Final Distribution [Docket No.: 2478]               5800-000                                   23,149.61            16,974.16
01/25/22     20240       Delaware Division of Corporations    Final Distribution [Docket No.: 2478]               5800-000                                    1,334.44            15,639.72
01/25/22     20241       New York State Dept. of Tax &        Final Distribution [Docket No.: 2478]               5800-000                                       493.60           15,146.12
                         Finance
01/25/22     20242       Frisco Independent School District   Voided - Final Distribution [Docket No.: 2478]      5800-004                                    8,417.01                6,729.11
                                                              Voided on 04/25/22
01/25/22     20243       Frisco Independent School District   Voided - Final Distribution [Docket No.: 2478]      5800-004                                    1,782.00                4,947.11
                                                              Voided on 04/25/22
01/25/22     20244       Collin County Tax                    Stopped Payment - Final Distribution [Docket        5800-005                                       409.48               4,537.63
                         Assessor/Collection                  No.: 2478]
                                                              Stopped on 04/25/22
01/25/22     20245       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5800-004                                       413.21               4,124.42
                                                              Voided on 01/25/22
01/25/22     20245       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5800-004                                       -413.21              4,537.63
                                                              Voided: check issued on 01/25/22
01/25/22     20246       EFTPS                                Voided Prior to Printing - Paid via EFTPS           5800-004                                       715.20               3,822.43


                                                                                                       Subtotals :                    $55,988.32            $52,165.89
{} Asset reference(s)                                                                                                                              Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                             Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                   Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                                  Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                  Separate Bond: N/A

   1            2                            3                                          4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                    T-Code              $                    $       Account Balance
                                                              Voided on 01/25/22
01/25/22     20246       EFTPS                                Voided Prior to Printing - Paid via EFTPS             5800-004                                      -715.20               4,537.63
                                                              Voided: check issued on 01/25/22
01/25/22     20247       EFTPS                                Voided Prior to Printing - Paid via EFTPS             5800-004                                      167.26                4,370.37
                                                              Voided on 01/25/22
01/25/22     20247       EFTPS                                Voided Prior to Printing - Paid via EFTPS             5800-004                                      -167.26               4,537.63
                                                              Voided: check issued on 01/25/22
01/26/22                 EFTPS                                Electronic Payment - Form 941 1st Qtr 2022                                                        4,124.42                 413.21
                                                              (Acknowledgement No.: 71741615)
                                                                 Federal Income Tax                   2,345.00      5300-000                                                             413.21
                                                                 Social Security (EE)                  726.95       5300-000                                                             413.21
                                                                 Social Security (ER)                  715.20       5800-000                                                             413.21
                                                                 Partial
                                                                 Medicare (EE)                         170.01       5300-000                                                             413.21
                                                                 Medicare (ER) Partial                 167.26       5800-000                                                             413.21
01/26/22                 EFTPS                                Electronic Payment - Form 940 2022                    5800-000                                      413.21                    0.00
                                                              (Acknowledgement No.: 35928874)
04/25/22     20238       Collin County Tax                    Stopped Payment - Final Distribution [Docket          5800-005                                      -147.42                147.42
                                                              No.: 2478]
                                                              Stopped: check issued on 01/25/22
04/25/22     20242       Frisco Independent School District   Voided - Final Distribution [Docket No.: 2478]        5800-004                                   -8,417.01                8,564.43
                                                              Voided: check issued on 01/25/22
04/25/22     20243       Frisco Independent School District   Voided - Final Distribution [Docket No.: 2478]        5800-004                                   -1,782.00            10,346.43
                                                              Voided: check issued on 01/25/22
04/25/22     20244       Collin County Tax                    Stopped Payment - Final Distribution [Docket          5800-005                                      -409.48           10,755.91
                         Assessor/Collection                  No.: 2478]
                                                              Stopped: check issued on 01/25/22
04/27/22     20248       United States Bankruptcy Court       Voided Prior to Printing - Turnover of                5800-004                                      556.90            10,199.01
                                                              Unclaimed Funds
                                                              Voided on 05/23/22
05/23/22     20248       United States Bankruptcy Court       Voided Prior to Printing - Turnover of                5800-004                                      -556.90           10,755.91
                                                              Unclaimed Funds
                                                              Voided: check issued on 04/27/22
05/23/22     20249       Collin County Tax                    Final Distribution [Docket No.: 2478]                 5800-000                                      409.48            10,346.43
                         Assessor/Collection
05/23/22     20250       Collin County Tax                    Final Distribution [Docket No.: 2478]                 5800-000                                      147.42            10,199.01
06/07/22     20251       West Virginia State Tax Division     Final Distribution [Docket No.: 341]                  5800-000                                      380.39                9,818.62
06/07/22     20252       Delaware Division of Corporations    Stopped Payment - Final Distribution [Docket          5800-005                                       21.93                9,796.69


                                                                                                          Subtotals :                        $0.00            $-5,974.26
{} Asset reference(s)                                                                                                                                Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                                      Form 2                                                                                          Page: 33

                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                                 Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                                Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                                Separate Bond: N/A

   1            2                             3                                        4                                               5                    6                     7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                    Description of Transaction                 T-Code              $                    $       Account Balance
                                                               No.: 341]
                                                               Stopped on 09/12/22
06/07/22     20253       New York State Dept. of Tax &         Final Distribution [Docket No.: 341]               5800-000                                        8.11                9,788.58
                         Finance
06/07/22     20254       Collin County Tax                     Final Distribution [Docket No.: 341]               5800-000                                        6.73                9,781.85
                         Assessor/Collection
06/07/22     20255       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                        6.79                9,775.06
                                                               FUTA
                                                               Voided on 06/07/22
06/07/22     20255       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                       -6.79                9,781.85
                                                               FUTA
                                                               Voided: check issued on 06/07/22
06/07/22     20256       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                       11.75                9,770.10
                                                               FICA
                                                               Voided on 06/07/22
06/07/22     20256       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                      -11.75                9,781.85
                                                               FICA
                                                               Voided: check issued on 06/07/22
06/07/22     20257       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                        2.75                9,779.10
                                                               Medicare
                                                               Voided on 06/07/22
06/07/22     20257       EFTPS                                 Voided Prior to Printing - Paid Via ACH re:        5800-004                                       -2.75                9,781.85
                                                               Medicare
                                                               Voided: check issued on 06/07/22
06/07/22     20258       Local 447 Pension Fund                Final Distribution [Docket No.: 341]               7100-000                                    3,292.44                6,489.41
06/07/22     20259       Baker & Hostetler, LLP                Final Distribution [Docket No.: 341]               7100-000                                        6.38                6,483.03
06/07/22     20260       National Union Fire Insurance Co of   Final Distribution [Docket No.: 341]               7100-000                                       18.33                6,464.70
                         Pittsburgh,PA
06/07/22     20261       Seyfarth Shaw, LLP                    Final Distribution [Docket No.: 341]               7100-000                                       14.45                6,450.25
06/07/22     20262       P H Glatfelter Company                Final Distribution [Docket No.: 341]               7100-000                                       18.78                6,431.47
06/07/22     20263       American Express Travel Related       Final Distribution [Docket No.: 341]               7100-000                                       19.58                6,411.89
                         Services Co., Inc.
06/07/22     20264       Richard W. Grear                      Stopped Payment - Final Distribution [Docket       7100-005                                        2.80                6,409.09
                                                               No.: 341]
                                                               Stopped on 09/12/22
06/07/22     20265       Local 807 Labor-Management            Final Distribution [Docket No.: 341]               7100-000                                      435.81                5,973.28
                         Pension Fund
06/07/22     20266       Howard Cook                           Final Distribution [Docket No.: 341]               7100-000                                        9.68                5,963.60
06/07/22     20267       Neenah Paper, Inc.                    Final Distribution [Docket No.: 341]               7100-000                                      203.93                5,759.67

                                                                                                        Subtotals :                        $0.00            $4,037.02
{} Asset reference(s)                                                                                                                              Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                                    Form 2                                                                                          Page: 34

                                                    Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                               Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                              Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                              Separate Bond: N/A

   1            2                           3                                        4                                               5                    6                     7

 Trans.     {Ref #} /                                                                                                            Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                 T-Code              $                    $       Account Balance
06/07/22     20268       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                       80.00                5,679.67
                                                             Income Tax
                                                             Voided on 06/07/22
06/07/22     20268       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                      -80.00                5,759.67
                                                             Income Tax
                                                             Voided: check issued on 06/07/22
06/07/22     20269       Plastic Suppliers, Inc.             Final Distribution [Docket No.: 341]               7100-000                                      286.25                5,473.42
06/07/22     20270       GCIU - Employer Retirement Fund     Final Distribution [Docket No.: 341]               7100-000                                    1,266.98                4,206.44
06/07/22     20271       National Integrated Group Pension   Final Distribution [Docket No.: 341]               7100-000                                      811.98                3,394.46
                         Plan
06/07/22     20272       Mary Agnes Overton                  Stopped Payment - Final Distribution [Docket       7100-005                                       16.84                3,377.62
                                                             No.: 341]
                                                             Stopped on 09/12/22
06/07/22     20273       US Bancorp Business Equip.          Final Distribution [Docket No.: 341]               7100-000                                        9.19                3,368.43
                         Finance Group
06/07/22     20274       Pension Benefit Guaranty            Final Distribution [Docket No.: 341]               7100-000                                    2,388.31                 980.12
                         Corporation
06/07/22     20275       Paul S. Amidon & Associates, Inc.   Final Distribution [Docket No.: 341]               7100-000                                       38.54                 941.58
06/07/22     20276       John Grymes                         Final Distribution [Docket No.: 341]               7100-000                                      314.48                 627.10
06/07/22     20277       Liberty Mutual Insurance Group      Final Distribution [Docket No.: 341]               7100-000                                       15.73                 611.37
06/07/22     20278       AT&T Corp.                          Final Distribution [Docket No.: 341]               7100-000                                       17.03                 594.34
06/07/22     20279       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                        0.08                 594.26
                                                             FUTA
                                                             Voided on 06/07/22
06/07/22     20279       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                       -0.08                 594.34
                                                             FUTA
                                                             Voided: check issued on 06/07/22
06/07/22     20280       Henkel Corporation                  Final Distribution [Docket No.: 341]               7100-000                                      440.82                 153.52
06/07/22     20281       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                        1.81                 151.71
                                                             FICA
                                                             Voided on 06/07/22
06/07/22     20281       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                       -1.81                 153.52
                                                             FICA
                                                             Voided: check issued on 06/07/22
06/07/22     20282       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                        1.81                 151.71
                                                             FICA
                                                             Voided on 06/07/22
06/07/22     20282       EFTPS                               Voided Prior to Printing - Paid Via ACH re:        7100-004                                       -1.81                 153.52
                                                             FICA

                                                                                                      Subtotals :                        $0.00            $5,606.15
{} Asset reference(s)                                                                                                                            Printed: 01/27/2023 11:54 AM        V.20.45
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                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                            Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                           Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                           Separate Bond: N/A

   1            2                         3                                       4                                               5                    6                     7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                    $       Account Balance
                                                          Voided: check issued on 06/07/22
06/07/22     20283       EFTPS                            Voided Prior to Printing - Paid Via ACH re:        7100-004                                        0.91                 152.61
                                                          Medicare
                                                          Voided on 06/07/22
06/07/22     20283       EFTPS                            Voided Prior to Printing - Paid Via ACH re:        7100-004                                       -0.91                 153.52
                                                          Medicare
                                                          Voided: check issued on 06/07/22
06/07/22     20284       EFTPS                            Voided Prior to Printing - Paid Via ACH re:        7100-004                                        0.91                 152.61
                                                          Medicare
                                                          Voided on 06/07/22
06/07/22     20284       EFTPS                            Voided Prior to Printing - Paid Via ACH re:        7100-004                                       -0.91                 153.52
                                                          Medicare
                                                          Voided: check issued on 06/07/22
06/07/22     20285       U.S. Bankruptcy Court            COMBINED SMALL CHECK [Docket No.:                                                                 46.71                 106.81
                                                          2489]
                                                             Dividend paid 0.01% on                0.60      7100-001                                                             106.81
                                                             $3,114.62; Claim# 1734;
                                                             Filed: $3,114.62
                                                             Dividend paid 0.01% on                1.46      7100-001                                                             106.81
                                                             $7,545.30; Claim# 1735;
                                                             Filed: $7,545.30
                                                             Dividend paid 0.01% on                0.30      7100-001                                                             106.81
                                                             $1,539.52; Claim# 1738;
                                                             Filed: $1,539.52
                                                             Dividend paid 0.01% on                2.45      7100-001                                                             106.81
                                                             $12,664.82; Claim#
                                                             1740; Filed: $12,664.82
                                                             Dividend paid 0.01% on                0.15      7100-001                                                             106.81
                                                             $770.00; Claim# 1749;
                                                             Filed: $770.00
                                                             Dividend paid 0.01% on                0.05      7100-001                                                             106.81
                                                             $236.60; Claim# 1758;
                                                             Filed: $236.60
                                                             Dividend paid 0.01% on                2.90      7100-001                                                             106.81
                                                             $14,994.00; Claim#
                                                             1762; Filed: $14,994.00
                                                             Dividend paid 0.01% on                0.57      7100-001                                                             106.81
                                                             $2,884.21; Claim# 16;
                                                             Filed: $2,884.21


                                                                                                   Subtotals :                        $0.00                $46.71
{} Asset reference(s)                                                                                                                         Printed: 01/27/2023 11:54 AM        V.20.45
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                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                 Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                       Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                      Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                    Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                      Separate Bond: N/A

   1            2                        3                                      4                                            5                    6                     7

 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                    $       Account Balance
                                                          Dividend paid 0.01% on             0.34       7100-001                                                             106.81
                                                          $1,745.96; Claim# 138;
                                                          Filed: $1,745.96
                                                          Dividend paid 0.01% on             0.42       7100-001                                                             106.81
                                                          $2,176.50; Claim# 141;
                                                          Filed: $2,176.50
                                                          Dividend paid 0.01% on             0.71       7100-001                                                             106.81
                                                          $3,679.09; Claim# 142;
                                                          Filed: $3,679.09
                                                          Dividend paid 0.01% on             0.02       7100-001                                                             106.81
                                                          $99.00; Claim# 188;
                                                          Filed: $99.00
                                                          Dividend paid 0.01% on             0.22       7100-001                                                             106.81
                                                          $1,154.56; Claim# 217;
                                                          Filed: $1,154.56
                                                          Dividend paid 0.01% on             0.88       7100-001                                                             106.81
                                                          $4,557.24; Claim# 240;
                                                          Filed: $4,557.24
                                                          Dividend paid 0.01% on             0.86       7100-001                                                             106.81
                                                          $4,460.28; Claim# 422;
                                                          Filed: $4,460.28
                                                          Dividend paid 0.01% on             0.10       7100-001                                                             106.81
                                                          $527.02; Claim# 467;
                                                          Filed: $527.02
                                                          Dividend paid 0.01% on             0.17       7100-001                                                             106.81
                                                          $891.54; Claim# 475;
                                                          Filed: $891.54
                                                          Dividend paid 0.01% on             0.58       7100-001                                                             106.81
                                                          $3,000.00; Claim# 481;
                                                          Filed: $3,000.00
                                                          Dividend paid 0.01% on             0.13       7100-001                                                             106.81
                                                          $691.10; Claim# 591;
                                                          Filed: $691.10
                                                          Dividend paid 0.01% on             0.05       7100-001                                                             106.81
                                                          $246.80; Claim# 699;
                                                          Filed: $246.80
                                                          Dividend paid 0.01% on             4.24       7100-001                                                             106.81
                                                          $21,885.70; Claim# 728;
                                                          Filed: $21,885.70


                                                                                             Subtotals :                         $0.00                $0.00
{} Asset reference(s)                                                                                                                    Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                              Form 2                                                                                        Page: 37

                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                 Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                       Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                      Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                    Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                      Separate Bond: N/A

   1            2                        3                                      4                                            5                    6                     7

 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                    $       Account Balance
                                                          Dividend paid 0.01% on             0.23       7100-001                                                             106.81
                                                          $1,184.44; Claim# 749;
                                                          Filed: $1,184.44
                                                          Dividend paid 0.01% on             2.75       7100-001                                                             106.81
                                                          $14,124.21; Claim# 79;
                                                          Filed: $14,124.21
                                                          Dividend paid 0.01% on             0.80       7100-001                                                             106.81
                                                          $4,152.69; Claim# 806;
                                                          Filed: $4,152.69;
                                                          Reference: A5V54
                                                          Dividend paid 0.01% on             0.01       7100-001                                                             106.81
                                                          $37.37; Claim# 856;
                                                          Filed: $37.37
                                                          Dividend paid 0.01% on             1.16       7100-001                                                             106.81
                                                          $6,000.00; Claim# 1021;
                                                          Filed: $6,000.00
                                                          Dividend paid 0.01% on             0.93       7100-001                                                             106.81
                                                          $4,797.69; Claim# 1254;
                                                          Filed: $4,797.69
                                                          Dividend paid 0.01% on             0.13       7100-001                                                             106.81
                                                          $681.32; Claim# 1362;
                                                          Filed: $681.32;
                                                          Reference:
                                                          847-364-0287-028
                                                          Dividend paid 0.01% on             0.01       7100-001                                                             106.81
                                                          $76.90; Claim# 1363;
                                                          Filed: $76.90;
                                                          Reference:
                                                          920-830-3896-071
                                                          Dividend paid 0.01% on             2.01       7100-001                                                             106.81
                                                          $10,359.48; Claim#
                                                          1364; Filed: $10,359.48
                                                          Dividend paid 0.01% on             0.99       7100-001                                                             106.81
                                                          $5,088.93; Claim# 1520;
                                                          Filed: $5,088.93
                                                          Dividend paid 0.01% on             1.10       7100-001                                                             106.81
                                                          $5,668.79; Claim# 1549;
                                                          Filed: $5,668.79
                                                          Dividend paid 0.01% on             1.18       7100-001                                                             106.81
                                                          $6,087.99; Claim# 1636;
                                                                                             Subtotals :                         $0.00                $0.00
{} Asset reference(s)                                                                                                                    Printed: 01/27/2023 11:54 AM        V.20.45
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                                                                              Form 2                                                                                        Page: 38

                                                 Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                 Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                       Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                      Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                    Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                      Separate Bond: N/A

   1            2                        3                                    4                                              5                    6                     7

 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                    $       Account Balance
                                                          Filed: $6,087.99
                                                          Dividend paid 0.01% on             1.18       7100-001                                                             106.81
                                                          $6,087.99; Claim# 1637;
                                                          Filed: $6,087.99
                                                          Dividend paid 0.01% on             0.39       7100-001                                                             106.81
                                                          $2,008.91; Claim# 1644;
                                                          Filed: $2,008.91
                                                          Dividend paid 100.00%              2.42       5800-001                                                             106.81
                                                          on $149.84; Claim# 744;
                                                          Filed: $0.00
                                                          Dividend paid 0.01% on             0.22       7100-001                                                             106.81
                                                          $1,148.00; Claim#
                                                          915U; Filed:
                                                          $2,546,617.53
                                                          Dividend paid 0.01% on             0.15       7100-001                                                             106.81
                                                          $786.51; Claim# 143;
                                                          Filed: $786.51
                                                          Dividend paid 0.01% on             0.21       7100-001                                                             106.81
                                                          $1,067.84; Claim# 144;
                                                          Filed: $1,067.84
                                                          Dividend paid 0.01% on             1.47       7100-001                                                             106.81
                                                          $7,595.08; Claim# 145;
                                                          Filed: $7,595.08
                                                          Dividend paid 0.01% on             0.13       7100-001                                                             106.81
                                                          $677.90; Claim# 146;
                                                          Filed: $677.90
                                                          Dividend paid 0.01% on             1.89       7100-001                                                             106.81
                                                          $9,737.93; Claim# 147;
                                                          Filed: $9,737.93
                                                          Dividend paid 0.01% on             0.09       7100-001                                                             106.81
                                                          $464.32; Claim# 148;
                                                          Filed: $464.32
                                                          Dividend paid 0.01% on             0.16       7100-001                                                             106.81
                                                          $840.82; Claim# 129U;
                                                          Filed: $85.62
                                                          Dividend paid 0.01% on             1.05       7100-001                                                             106.81
                                                          $5,406.61; Claim# 1522;
                                                          Filed: $5,406.61
                                                          Dividend paid 0.01% on             4.60       7100-001                                                             106.81


                                                                                             Subtotals :                         $0.00                $0.00
{} Asset reference(s)                                                                                                                    Printed: 01/27/2023 11:54 AM        V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                              Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                             Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                             Separate Bond: N/A

   1            2                           3                                          4                                            5                    6                     7

 Trans.     {Ref #} /                                                                                                           Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                    $       Account Balance
                                                                $23,763.48; Claim#
                                                                1534; Filed: $23,763.48
                                                                Dividend paid 0.01% on              1.96       7100-001                                                             106.81
                                                                $10,125.00; Claim#
                                                                675U; Filed: $0.00
                                                                Dividend paid 0.01% on              1.96       7100-001                                                             106.81
                                                                $10,125.00; Claim#
                                                                1256; Filed: $0.00
                                                                Dividend paid 0.01% on              0.20       7100-001                                                             106.81
                                                                $1,020.37; Claim# 1743;
                                                                Filed: $0.00; Reference:
                                                                DOCKET NO.: 1951
                                                                Dividend paid 0.01% on              0.13       7100-001                                                             106.81
                                                                $687.10; Claim# 1776;
                                                                Filed: $0.00
06/07/22                 EFTPS                               Form 940 (1st & 2nd Qtr) Second Distribution                                                      6.87                  99.94
                                                             (Paid via ACH Acknowledgment No.:
                                                             270255930197243)
                                                                FUTA - Due from First               6.79       5800-000                                                              99.94
                                                                Distribution
                                                                FUTA - Second                       0.08       7100-000                                                              99.94
                                                                Distributioin
06/07/22                 EFTPS                               Form 941 (2nd Qtr) Second Distribution (Paid                                                     99.94                   0.00
                                                             via ACH Acknowledgment No.:
                                                             27025592670469)
                                                                Medicare (ER) Balance               2.75       5800-000                                                               0.00
                                                                Due from First
                                                                Distribution
                                                                Medicare (EE)                       0.91       7100-000                                                               0.00
                                                                Medicare (ER)                       0.91       7100-000                                                               0.00
                                                                Federal Income Tax                 80.00       7100-000                                                               0.00
                                                                Social Security (ER)               11.75       5800-000                                                               0.00
                                                                Social Security (ER)                1.81       7100-000                                                               0.00
                                                                Social Security (EE)                1.81       7100-000                                                               0.00
09/12/22     20252       Delaware Division of Corporations   Stopped Payment - Final Distribution [Docket      5800-005                                      -21.93                  21.93
                                                             No.: 341]
                                                             Stopped: check issued on 06/07/22
09/12/22     20264       Richard W. Grear                    Stopped Payment - Final Distribution [Docket      7100-005                                       -2.80                  24.73
                                                             No.: 341]

                                                                                                     Subtotals :                        $0.00                $82.08
{} Asset reference(s)                                                                                                                           Printed: 01/27/2023 11:54 AM        V.20.45
                                     Case 10-11890-BLS                    Doc 2495              Filed 03/07/23                Page 115 of 115

                                                                                                                                                                                 Exhibit 9


                                                                                 Form 2                                                                                          Page: 40

                                                  Cash Receipts And Disbursements Record
Case Number:        10-11890                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          NEC Holdings Corp.                                                            Bank Name:          TriState Capital Bank
                    n/k/a P&S Liquidating Company1,Corp                                           Account:            ******0597 - Checking Account
Taxpayer ID #: **-***6395                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 01/27/23                                                                           Separate Bond: N/A

   1            2                         3                                        4                                              5                     6                    7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                    $       Account Balance
                                                           Stopped: check issued on 06/07/22
09/12/22     20272       Mary Agnes Overton                Stopped Payment - Final Distribution [Docket      7100-005                                       -16.84                 41.57
                                                           No.: 341]
                                                           Stopped: check issued on 06/07/22
10/31/22     20286       United States Bankruptcy Court    Turnover of Unclaimed Property [Docket No.:                                                      41.57                   0.00
                                                           2492]
                                                              Mary Agnes Overton                 16.84       7100-001                                                               0.00
                                                              Richard W. Grear                    2.80       7100-001                                                               0.00
                                                              Delaware Division of               21.93       5800-001                                                               0.00
                                                              Corporations

                                                                                 ACCOUNT TOTALS                                   55,988.32             55,988.32                  $0.00
                                                                                        Less: Bank Transfers                      55,988.32                  0.00
                                                                                 Subtotal                                               0.00            55,988.32
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                         $0.00            $55,988.32

                               Net Receipts :      1,543,627.68
                     Plus Gross Adjustments :     -1,485,588.18                                                                      Net               Net                   Account
                                                ————————                         TOTAL - ALL ACCOUNTS                              Receipts       Disbursements              Balances
                                 Net Estate :        $58,039.50
                                                                                 Checking # ******9033                         1,543,627.68            387,747.86                   0.00
                                                                                 Checking # ******2766                                 0.00         1,099,891.50                    0.00
                                                                                 Checking # ******0597                                 0.00             55,988.32                   0.00

                                                                                                                             $1,543,627.68         $1,543,627.68                   $0.00




{} Asset reference(s)                                                                                                                         Printed: 01/27/2023 11:54 AM        V.20.45
